 

Case 3:07-cv-00542-RCJ-WGC Document 131-4 Filed 07/06/10 Page 1 of 99

EXHIBIT 9

 

EXHIBIT 9

 

 
 

 

 

1 UNITED STATES DISTRICT COURT 1 ili
2 FOR THE DISTRICT OF NEVADA-RENO 2
3 -COo- 3
4 4 INDEX
5 JOHN CARSTARPHEN, 5 PAGE:
6 Plaintiff, 6 9:15 a.m., Deposition Commenced........cceeeeeeee 1
Case No.: 3:07-cv-00542-ECR-RAM
7 vs. 7 EXAMINATION
By Mr. Hill... eee eee eee ee eee Me 1
8 RICHARD MILSNER, an 8
individual, DOES 1 10:10 a.m., RecesS Taken. ....... eee sees e nerves 41
9 through 10, 9 10:25 a.m., Deposition Resumed............006. tees 42
10 Defendants 10 EXAMINATION
1 Resumed by Mr. Hill... ccc cee cece ee eee 42
11 1
11:35 a.m., Recess Taken..........s sce eee eee eee 82
12 12 11:45 a.m., Deposition Resumed............00e.ceee 83
13 13. EXAMINATION
Resumed by Mr. Hill... . le cece cece eee eee 83
14 14
12:06 p.m., Deposition Adjourned..........0....eee 94
15 DEPOSITION OF JAMES S. PROCTOR 15
16 taken on behalf of the defendant at the offices of 16
17 Richard G. Hill, 652 Forest Street, Reno Nevada, 17
18 Thursday, June 3, 2010, at 9:15 a.m., before Jerry J. 18
19 Silven, Court rter and Not Public, ant to 19
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20 notice. 20 EXHIBITS MARKED FOR IDENTIFICATION
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22 22 Rhea He see e cence renee ween ee enes 51
23 23° «76 A of a one- Past, document
entitled Exhibit 8-12.............. peneeee 75
24 24
ei A copy of a multi- qpase document,
25 Reported by: JERRY J. SILVEN, COR # 56 25 a series of e-mails.:... te eeeaeeeeeee 80
SILVER STATE COURT REPORTERS (775) 329-6323 SILVER STATE COURT REPORTERS (775) 329-6323
1 ii 1 iv
2 2
3 3
4 APPEARANCES: 4 EXHIBITS MARKED FOR IDENTIFICATION: (Cont'd) PAGE:
5 For the Plaintiff: KING & RUSSO, LID 5
Atto: at Law 78 A of a miti-page document,
6 by RUSSO, ESQ 6 on letterhead of & RUSSO,
PATRICK KING, ESQ dated April 2, 2010, to James S.
7 1021 Country Lane 7 Proctor, CPA, CFE, CNA. ccc c ec enecaeeeuees 83
8 ille, Nevada 89460 3
79 A copy of a multi- Ltt page document,
9 9 Invoice, John Carstarphen, dat ed .
For the Defendant: RICHARD G. HILL, ESQ. Oct. 31, 208........... ween cere tare ee eens _ 83
10 Attorney at Law 10
652 Forest Street
1d Reno, Nevada 89509 11 80 Ac of a att -page document,
ed Cars hen v. Milener
12 12 Bocurents to be ed pursuant
Also Present: JOHN © Subpoena ina Civil Case............... 85
13 JACK DAWSON 13
14 RICHARD MILSNER ra a 1,
1 1 A copy of a one-page e-mail.
From: James Proctor, dated’
15 15 November 04, 2009, to Scott Russo......... 91
16 16
82 A of a multi-page document,
17 1? v. Milaner Purchase
of Aircraft - Federal Action... .......c.ee eee 93
18 18
19 19
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1 3

1 RENO, NEVADA, THURSDAY, JUNE 3, 2010, 9:15 A.M. 1 Q They pertain to this case?

2 -000- 2 A Yes.

3 JAMES S. PROCTOR 3 Q And you made the decision to destroy them?
4 being first duly sworm, 4 A Yes.

5 testified as follows: 5 Q How many were there?

6 6 A I can think of two. I can check my records
7 MR. HILL: This is the date, time and place 7 and see if they're actually still there.

8 set for the resumption of the deposition of Mr. Proctor. 8 Q All right. It would be appreciated, sir.
9 EXAMINATION 9 Mr. Russo, would you care to offer copies
10 BY MR. HILL: 10 of those e-mails?

11 Q Good morning, Mr. Proctor 11 MR. RUSSO: I don't know that I still have
12 A Good morning. 12 them. I think they were scheduling e-mails, to tell you
13 Q You've been sworn again? 13. the truth.

14 A Yes. 14 MR. HILL: Well, I don't know. We won't
15 MR. HILL: Okay. The record should reflect 15 know until we see them.

16 that we're at my office at 652 Forest Street. 16 BY MR. HILL:

17 Mr. Carstarphen is present accompanied by 17 Q Are all of e-mails between you and Mr.

18 both of his counsel, Mr. Russo and Mr. King. 18 Russo preserved in your binders?

19 The record should reflect that Jack Dawson 19 A Yes.
20 is present, and that Mr. Milsner is present, although he 20 Q The last time you were here you made some
21 may be in and out of the room. 21 notes. Did you do anything following up on the notes
22 BY MR. HILL: 22 that you made to yourself?
23 Q Mr. Proctor, you were asked to bring with 23 A I reviewed those notes a little bit
24 you this moming some billing records from prior 24 yesterday.
25 litigation. Do you have those with you? 25 Q Did you do anything as a result of that

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2 4

1 A No. 1 review?

2 Q When can we expect to receive those? 2 A No.

3 A You can expect to receive them next week. 3 Q Now, you've reviewed your deposition?

4 I'm in the middle of a trial, I didn't have an 4 A Yes. .

5 oppertumity to go to storage and retrieve them. I 5 Q Has it been signed?

6 thought they had been produced at my deposition in April 6 A Yes.

7 of 2008. 7 Q Are there any changes or corrections?

8 Q My review of the deposition does not 8 A Yes.

9 indicate that, sir, so I'll look forward to receiving 9 Q Where are those?

10 those. 10 As Those are in the deposition binder, or the
11 Have you done any work on this case since 11 package that I left at Bonanza -- is it Bonanza

12 we last got together on April 28th? 12 Reporting?

13 A I reviewed my deposition. And I hada 13 MR. RUSSO: It was Silver State?

14 quick e-mail or two with Mr. Russo or Mr. Russo's office. 14 THE WITNESS: Silver State. They aid not
15 Q Okay. And are those e-mails in your 15 let me take anything out of the office, and so everything
16 binder? 16 was left at their office.

17 A Probably not. 17 I did not receive a copy of my deposition.
18 Q Why not? 18 I had to go to their offices and review it.

19 A I think I deleted them. 19 BY MR. HILL:
20 Q Why? 20 Q Okay. Is that the extent of activities
21 A They weren't really relevant for any 21 that you engaged in in relation to this case since the

. 22 reason. 22 last deposition?

23 Q So you and Mr. Russo you were exchanging 23 A Yes.
24 social e-mails? 24 Q The notes that you took, are they in your
25 A No. 25 binder?

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1 A No. 1 A Not that I recall.
2 Q Where are they? 2 Q Okay. Thank you.
3 A They're sitting on my desk. 3 Do you recall that the February 2010
4 Q Is there anything else that pertains to 4 report, you stated in there the consulting fee. Do you
5 this case that is not in your binders that you brought S yvecall the $5,000 a month consulting fee?
6 with you today? 6 A Yes.
7 A No. 7 Q In your February 2010 report you made the
8 Q Did you do anything to prepare for today? 8 representation, or came to the conclusion - I don't care
9 A Yes. 9 how you want ‘to phrase it - that that fee had been paid
10 Q What? 10 into 2008. Do you recall that in your report?
11 A I reviewed my notes -- since I wasn't 11 A Yes.
12 allowed access to my deposition I reviewed my notes that 12 Q What was your source of information that
13. I took as a part of my deposition. 13. the consulting fee was paid in 2008?
14 I reviewed our reports. I reviewed the 14 A The CPA workpapers that you provided, I
15 experts' reports on the other side and went through my 15 believe in February 2010, had referenced that it had been
16 binders. 16 paid. It was also.a question. I don't think they were
17 Q Which expert report did you review? 17 able to tie that down definitively one way or another.
18 A I reviewed Mr. Zachow's report. I briefly 18 Q So, if I understand correctly, the source
19 looked at Mr. - I think it's Menchetti's report. 19 of information that you relied on were the CPA
20 Q Manginetti. 20 workpapers from the Daoro office?
21 A Manginetti. . Thank you. 21 A Yes.
22 Mr. Turner/Thomas's report. 22 Q And would those be in your binder?
23 T went through my binders, that would 23 A Those would be -- there might be
24 include the various workpapers and various items that 24 extractions of some of those. Otherwise, Mr. Hill, those
25 we've talked about here in the prior deposition. 25 are in the sixty thousand documents that were
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6 8
1 Q I believe the last time we got together you 1 electronically produced.
2 told me that you never exchanged a rough draft of your 2 Q Have you undertaken any independent
3 report or reports in this case with counsel. 3 investigation to verify the faimess of the lease rates
4 Do I correctly recall, or is your testimony 4 applied between -- leaging airplanes between American
S to the contrary? 5 Medflight and Reno Flying Service?
6 A No, I that's true more for Mr. Russo and 6 A No, I don't think that was part of the
7 Mr. King. I think for Mr. Gunderson I had produced 7 issue or part of my assignment.
8 several different drafts which have been produced. 8 Q Okay. So if someone's going to testify
9 Q All right. Did Mr. Carstarphen tell you 9 that those lease rates are fair or unfair, it would be
10 that he had a source of financing that would allow him to 10 someone other than you?
11 buy an airplane -- let me try it again. 11 A Unless Mr. Russo or Mr. King requests me to
12 You recall that one of the assertions in 12 do further work in that area.
13° this case pertains to American Medflight having purchased 13 Q Have you issued any subsequent reports or
14 an airplane as opposed to leasing from Reno Flying 14 letters to them from your April report?
15 Service. Do you recall that? 15 A No, sir.
16 A Yes. 16 Q Have they asked you to do any work
oo Q Had Mr. Carstarphen ever provided you with 17 subsequent to your last deposition?
18 any information to the effect that American Medflight had 18 A No, sir.
19 the financial ability to make a purchase? 19 Q You understand -- or let me put it this
20 A Not that I recall. But, you know, we've 20 way.
21 had six years of conversations, so it could have been 21 In your report you utilized the concept of
22 early on in the case he might have asserted such. I 22 American Medflight hiring two mechanics to perform
23 haven't seen anything recently. 23 service on its planes. Is that a fair summary?
24 Q Have you ever seen any documents to that 24 A Yes, sir.
25 effect? 25 Q On what do you base the determination that

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9 11

1 two mechanics is the correct mumber of employees? 1 A Yes.

2 A Representations from Mr. Carstarphen. 2 Q Anything else that you understood to be

3 Subsequent discussions or depositions or testimony with 3 outside the scope of that game plan?

4 Mr. Dawson. Some of those expert reports. 4 A No.

5 Again, there is some times the assumption 5 Q The original deadline for the production of

6 that that was going to be a stand-alone. I think Mr. 6 expert reports in this case was December 8, 2009. Were

7 Carstarphen's basically taken the position they would 7 you aware of that?

8 share positions like the chief of maintenance. 8 A No.

9 Q So you understood Mr. Carstarphen's game 9 Q What did you understand to be the deadline
10 plan on the mechanics, if you will, to be that American 10 that you had for the production of your report in this
11 Medflight would continue to share facilities, tools and 11 case when Mr. Russo and/or Mr. King discussed that issue
12 some employees of Reno Flying Service? 12 with you for the first time?

13 A Maybe not the tools, but maybe some tools. 13 A Well, I understand there have been many
14 I don't know what the demarcation point of that is. 14 deadlines in this case, Mr. Hill, as the case has
15 But, yes, I mean there are -- as far as 15 continued on. There was some type of deadline in the
16 someone like they could get in house like, I believe, 16 begirming of 2009.
17° Mr. Brown. 17 I know that there were some discussions and
18 Q And they would share location? 18 hearings regarding documents.
19 A Yes. 19 I'm not aware of anything that was due in
20 Q And the work that these mechanics would be 20 2009 when Mr. Russo or Mr. King, I don't remember which,
21 doing, was that everything pertaining to these airplanes, 21 approached m in some time early February 2010 that
22 or were there things that were to be excluded from the 22 something was due by the end of February 2010.
23 work that these in-house people would do? 23 Q So, the first time you became aware that
24 A Well, I understand that there are -- I 24 there was a deadline for the production of -- let me see
25 understood, excuse me, that there are certain items that 25 if I can put it this way.

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10 12

1 would still have to be contracted out, that even Reno 1 . There were early deadlines that you heard

2 Flying Service would have to contract out, you know, sane 2 about in this case that came and went; is that right?

3 type of major repair. 3 A Yes.

4 Q And can you identify for me those things 4 Q And you were unaware of any deadline in

5 that you -- other than -- well, that you believe are S December of 2009?

6 outside the scope of what Mr. Carstarphen contemplated in 6 A That's correct.

7 his two mechanics working in house? 7 Q And the first time you became aware of a

8 A You really have to ask Mr. Carstarphen, 8 real firm deadline was some time in late Jamary, early

9 Q So you have no knowledge about that at all? 9 February 2010?

10 A I can think of one or two instances outside 10 A I believe February 2010.

11 of -- you know, off the top of my head, but.... 11 Q Have you been provided with the

12 Q Well, I want to know what went into your 12 documentation that was made available to Mr. Carstarphen

13° report. 13 in relation to the ESOP prior to the December 5, 2005

14 A Tne fact they would use two mechanics. 14 meeting?

15 Q And that major repairs would be outwide the 15 A I'm sure some of that's in that sixty

16 scoop of work that those employees would do? 16 thousand documents that were provided to me in February

17 A Possibly. 17 of 2010.

18 Q Possibly? 18 Going back to the prior state case, I

19 A Well, I mean right now there's that 19 believe I have some documents with respect to that.

20 arrangement with Reno Flying Service and American 20 Q Do you have an opinion, sir, as to whether

21 Medflight with AeroSolutions to fund some of those major 21 or not the documentation provided to Mr. Carstarphen in

22 repairs. I would imagine that that would still stay the 22 advance of that meeting was adequate or inadequate?

23° same. 23 A I think the last time I testified, Mr.

24 Q You understand AeroSolutions to not be the 24 Hill, there was this discussion back and forth as to what

25 same as Reno Flying Service? 25 Mr. Carstarphen might have needed to be advised about by
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13 15
1 some of the professionals proposing to put this into 1 "Carstarphen prior to the December 5,
2 place. 2 2005 meeting?
3 Q And are you prepared, sir, to express an 3 "ANSWER: Based on the documentation
4 opinion that the documentation provided to Mr. 4 I've seen, it did not appear that he
5 Carstarphen prior to the December 5, 2005 meeting was 5 had an adequate understanding or could
6 adequate or inadequate, or no opinion at all? 6 extrapolate from that information what
7 A No opinion. I can only state what Mr. 7 the effect, the economic effect on him and
8 Carstarphen has stated and what my prior testimony was on 8 his interest in the company was from those
9 April 26th. 9 documents."
10 Q I'm unclear from your testimony, and I just 10 BY MR. HILL:
11 want to be clear. You are not going to be testifying or 11 Q Mr. Proctor, I don't think that answers my
12 expressing an opinion that the documentation provided to 12 question.
13 Mr. Carstarphen prior to the December 5, 2005 was not 13 You want to tell me what you think Mr.
14 adequate in your professional opinion or is it 14 Carstarphen understood. I want to know your opinion as a
15 inadequate? 15 professional. Are you prepared to testify to a
16 A I might testify to that. I haven't been 16 reasonable degree of professional certainty that the
17° asked to. I might testify to that. 17 documentation provided to Mr. Carstarphen prior to that
18 Q So, aS you sit here today that topic is not 18 meeting was inadequate?
19 within the scope of work that you have done; is that 19 A Yes.
20 «correct? 20 Q How many ESOP transactions have you been
21 A Other than again, as I testified on April 21 involved in, sir?
22 26th, the fact of the matter is that he did not have a 22 A Ag I mentioned in my last two testimonies,
23 clear understanding from the professionals as to what the 23 I had at least two clients that I can think of that had
24 ecoromic consequence to him and his interest in the 24 ESOPs in place. We were not involved in implementatian
25 company was. 25 or the reporting of those ESOP plans.
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14 16
1 Q Mr. Proctor, I'm not interested right now 1 Q What specific documentation should have
2 in what Mr. Carstarphen told you. I am interested in the 2 been included in the materials provided to Mr.
3 scope of your assignment to date, and I want a clear 3 Carstarphen, sir?
4 answer from you, sir. 4 A As I testified to on April 26th, some type
5 Have you, as you sit here today, formated 5 of documentation that would have indicated this is the
6 an opinion on the adequacy of documentation provided to 6 effect on the shares of your stock, the value on your
7 Mr. Carstarphen prior to the December 5, 2005 meeting? 7 stock, what you're able to do with that, what are the
8 A Based con the documentation I've geen, it 8 implications again as to the value of that stock and the
9 did not appear that he had an adequate understanding or 9 value of the company.
10 could extrapolate from that information what the effect, 10 Q Anything else?
11 the economic effect on him and his interest in the 11 A Not that I can think of.
12 company was from those documents. 12 Q Is that conclusion in your report?
13 MR. HILL: Will you please read back my 13 A No.
14 question and his answer. 14 Q You testified -- we went over last time
15 {The following question and answer 15 about your draft report to Mr. Gunderson where you had
16 read by the reporter.) 16 normalized earnings. Do you recall that?
17 "QUESTION: Mr. Proctor, I'm not 17 A Yes.
18 interested right now in what Mr. 18 Q I believe that was Exhibit 46. And you
19 Carstarphen told you. I am interested 19 told me that you received new information.
20 in the scope of your assignment to 20 Correct me if I'm wrong, sir, but isn't
21 date, and I want a clear answer from 21 normalization a method to value or is part of a valuation
22 you, sir. 22 process?
23 Have you, as you git here today, 23 A It can be. Normalization can mean all
24 formulated an opinion on the adequacy 24 kinds of different things, Mr. Hill.
25 Of documentation provided to Mr. 25 Q The normalization that you were engaging in
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17 19
1 in your report to Mr. Gunderson - and if you need to see 1 We did double-check his calculations in
2 it, please say so - you would take out nonrecurring 2 those reports. We did trace through some of those
3 expenses; is that fair? 3 murbers. We were not provided with management's
4 A Yes. 4 projections that he used in those reports, again because
5 Q You would take out and put back into your 5 we were not provided his workpapers.
6 calculation of the value of the company things that a 6 As I testified to on April. 26th, same of
7 shareholder had taken out for his benefit, majority 7 what we tried to do when we first started this engagement
8 shareholder? 8 back in, I believe the end of 2004, is we thought we
9 A Yes. 9 could come up with a business valuation to determine the
10 Q Do you continue to believe that that is a 10 - damages on Mr. Carstarphen -- or for Mr. Carstarphen.
11 valid process in arriving at the valuation of a business? 11 That was not possible.
12 A It's one of the processes used in valuing a 12 So then we take the next best information
13 business. 13 available to try to calculate that same amount. That's
14 Q Did you utilize that process in the most 14 when we relied upon Mr. Weinress's two reports.
15 recent reports? 15 Again, had he provided the workpapers we
16 A No. 16 might be able to determine that he did not perform
17 Q Why not? 17 normalization entries that we might have recommended.
18 A Because the methodology in which to arrive 18 Again his conclusions haven't been
19 at the reports was somewhat changed. We had the benefit 19 documented well enough in hig report. We don't know if
20 of wore business valuations in the more recent report. 20 some of those conclusions and the research and his
21 Back when we did the draft of Mr. 21 calculations and methodologies are in his workpapers to
22 Gunderson's report, I believe we only had one or two 22 come up with that.
23 valuations. 23 So what we did in our February 2010 report
24 Q So then tell me how it is -- well, what 24 was critique the differences in his assumptions and
25 methodology did you apply in the report? 25 methodologies in the December 15th report and the
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18 20
1 A Well, we analyzed and reviewed Mr. 1 December 31st report.
2 Weinress's report. That's W-e-i-n-r-e-s-s, I believe. 2 There are items, again, providing full
3 We did independent research looking at 3 disclosure; we might be able to determine that there
4 databases and professional libraries and industry 4 should be some additional normalization or other
5 sources, textbooks. We looked at Mr. Zachow's report. 5 adjusting journal entries or adjustments to information
6 I don't recall that Mr. Thomas's and Mr. 6 that he used in those reports.
7 «Tuner's dealt a lot with that area. 7 MR. HILL: Will you read back my question
8 We didn't again go back through and do as 8 and his answer, please.
9 much normalization and indicate that as an issue as mich 9 (The following question and
10 as raise the issues and the changes in the report fron 10 answer was read by the reporter.)
11 Decenber 15th to December 31st. 11 "QUESTION: Did you perform any
12 Q Do I understand you correctly that you -- 12 analyses on your own to arrive
13 in arriving at what you opined to be Mr. Carstarphen's 13 at the same numbers or different
14 damages as a result of the sales of stock by Mr. Milsner 14 numbers than were provided in any
15 to the ESOP, that in calculating those damages you have 15 of those ESOP valuation reports?
16 relied on the business valuations that were made pursuant 16 "ANSWER: Again as I testified on
17 to the needs of tha ESOP? 17 April 26th, we were not provided
18 A Yes. That's a generalization, but yes. 18 Mr. Weinress's workpapers or how
19 Q Did you perform any analyses on your own to 19 he came up with some of his
20 arrive at the same numbers or different numbers than were 20 conclusions, his research, some of
21 provided in any of those ESOP valuation reports? 21 methodologies.
22 A Again as I testified on April 26th, we were 22 We did double-check his calculations
23 not provided Mr. Weinress's workpapers or how he came up 23 in those reports. We did trace through
24 with some of his conclusions, his research, some of 24 some of those murbers. We were not
25 methodologies. 25 provided with management's projections

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21 23
1 "that he used in those reports, again 1 did. Again, without the benefit and the disclosure
2 because we were not provided his 2 sometimes necessary in a report to determine what his
3 workpapers . 3 assumptions were, and again what his research was and
4 "As I testified to on April 26th, some 4 what his conclusions were to come up with some of the
5 of what we tried to do when we first 5 amounts that he included in his report.
6 started this engagement back in, I 6 Q So you do not know what assumptions he
7 believe the end of 2004, is we thought 7 made?
8 we could come up with a business valuation 8 A We know what some of those assumptions
9 to determine the damages on Mr. 9 were.
10 Carstarphen -- or for Mr. Carstarphen. 10 Q But you don't know what all of them were?
1 Tnat was not possible. 11 A That's correct.
12 “So then we take the next best information 12 Q And conceivably those would affect your
13 available to try to calculate that same 13 work, wouldn't they?
14 amount. That's when we relied upon Mr. 14 A It could. Maybe it could and maybe it
15 Weinress's two reports. 15 could not.
16 "Again, had he provided the workpapers we 16 Q We don't know?
17 might be able to determine that he did not 17 A That's why when people do formal business
18 perform normalization entries that we might 18 valuations, they lay everything out, report everything,
19 have recommended. 19 so that someone else independently can come up, pick it
20 "Again his conclusions haven't been 20 up, say: Yes, we don't agree to that.
21 documented well enough in his report. We 21 As I indicated the last time, when we get
22 don't know if some of those conclusions and 22 accountants in the room and kind of hash this out, you
23 the research and his calculations and 23 know, kind of go back and forth and discuss this and see
24 methodologies are in his workpapers to come 24 whether or not you agree, disagree, somebody wants to
25 up with that. 25 change their mind, whatever, as to what some of those
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22 24
1 "So what we did in our February 2010 report 1 amounts, research, computations are.
2 was Critique the differences in his 2 Q And you don't know what research Mr.
3 assumptions and methodologies in the 3 Weinress did, isn't that correct, is that what you said?
4 December 15th report and the Decenber 31st 4 A I believe that's -- yes, yes.
5 report. 5 Q Do you understand Mr. Weinress's report to
6 "There are items, again, providing full 6 have been prepared for the specific purpose of complying
7 disclosure; we might be able to determine 7 with ESOP regulations?
8 that there should be some additional 8 A Yes.
9 normalization or other adjusting journal 9 Q Was that your purpose in your assignment?
10 entries or adjustments to information that 10 A No.
11 he used in those reports." 1 Q You stated that you were unable to prepare
12 BY MR. HILL: 12 a business evaluation -- my notes say: Business’
13 Q Your testimony is that you have not had 13 evaluation for damages was not possible for Mr.
14 access to or reviewed the projections relied upon by than 14 Carstarphen in this case. Do you recall -- is that a --
15 Mr. Weinress; is that correct? 15 A Yes. Except it's valuation, not
16 A Yes. 16 evaluation.
17 Q If I understand your critique, part of it 17 Q Why?
18 is you do not understand what Mr. Weinress did, and I 18 A As I testified on April 26th, we did not
19 don't mean that in the sense that you're not smart enough 19 have full disclosure back in -- anywhere from 2004 to
20 to understand. What he did was so opaque, if you will, 20 about 2009 or '10. The financial information necessary
21 that you couldn't get inside and see what he did. Is 21 to determine whether there would be normalization entries
22 that a fair statement? 22 or other adjustments did not necessarily have open and
23 A Yes and no. Can I explain? 23 willing cooperation with management --
24 Q Sure. 24 Q Let me interrupt, Mr. Proctor.
25 A We certainly understand what Mr. Weinress 25 A Okay.

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25 27
1 Q You now have all of that data, don't you? 1 would involve a little bit more forensic-type work or
2 A Yes. 2 ferreting out information, maybe substantiating
3 Q And you have not gone back and done a 3 information more than you would than if you had an
4 business valuation for Mr. Carstarphen's damages, have 4 independent business valuation come in and: I want to
5 you? 5 value this company, here's everything, full disclosure,
6 A Well, Mr. Hill, let's back up for just a 6 full cooperation. So I would say it would cost at least
7 minute here. 7 $30,000.
8 The information I have for the most part is 8 Q Are you prepared to opine that Mr.
9 2005, maybe a little bit of 2004 information forward. We 9 Weinress's report does not meet the standard for which it
10 don't have that information back to 1997, 1999, five 10 was issued?
11 years before the time that Mr. Carstarphen was 11 A No.
12 temninated. 12 Q You calculate Mr. Carstarphen's damages by
13 Q Why is that relevant to ascertaining his 13 relying on the two ESOP reports; right?
14 damages from 1/1/2005 forward, gir? 14 A Part of those damages, yes.
15 A Well, we were talking about what I was 15 Q For the ESOPs?
16 doing back in the early part of case. 16 A Yes.
17 Q Now you testified earlier that you were Ww Q And that is the bagis on which you get to
18 unable in this case to prepare a business valuation for 18 those damages, isn't it? What else did you include
19 Mr. Carstarphen's damages. You told me -- you're telling 19 besides --
20 me that you couldn't do it earlier because you didn't 20 Let me rephrase the question.
21 have the data. 21 Aren't your damages the difference --
22 You testified last time you have everything 22 one-third of the difference between the two Weinress
23 except Weinress's workpapers. I am mistaken? 23 appraisal nutbers?
24 A You're mistaken, Mr. Hill. 24 A With the marketability discount added back,
25 Q What else are you missing? 25 yes.
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26 28
i A When we did the original report for Mr. 1 Q The marketability of Mr. Carstarphen's
2 Gunderson, that was in the state court action, which 2 stock has not changed as a result of the AMF ESOP
3 involved prior to 2005. Our information with respect to 3 transaction, has it? Or has it, or do you know?
4 everything that's been disclosed and reported on has to 4 A It could be debated whether it has or not.
5 do with 2005 forward in the federal action. 5 Q Do you have an opinion, sir?
6 Q Let me ask this question, sir. why have 6 A Qn the face of it I don't think it has.
7 you not performed a business valuation for the purposes 7 But I'm not sure who would want to buy a company where
8 of establishing Mr. Carstarphen's damages in this case? 8 the other majority shareholder is -- that's a good point.
9 A Haven't been asked to at this point. 9 There could be people out there, a buyer for that stock
10 Q Okay. Can you opine for me, sir, based on 10 that doesn't want to be saddled with employees having a
11 your review of the documentation in this case, what do 11 saying in management or ownership in the company.
12 you think the charges for that service would be? 12 Q But you're not going to express a
13 A Knowing what we know now? 13 professional opinion on that topic, are you, gir?
14 Q Yeah. 14 A Not unless I'm asked.
45 A And the fact that there have been 1s Q And have you been asked?
16 previously hidden and undisclosed transactions -- 16 A No.
17 Q Undisclosed transactions? 17 Q You made a statement a moment ago about
18 A Previously. I said previously. 18 previously undisclased transactions. The transactions
19 Q Go ahead. I'm sorry. 19 that you're referring to are in fact present on the books
20 A And the fact that there have been 20 and records of the company, are they not?
21 transactions that have come to light through subsequent 21 A Yes.
22 discovery; the fact that we still have some unwilling 22 Q Tell me the previously undisclosed
23 Management to some extent in this; some of the items that 23 transactions to which you refer, sir.
24 we have subsequently found that we reported on in our 24 A Well, there were -- that I can think of off
25 report; that would be typically expensive because it 25 the top of my head there was the credit line, the

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29 31
1 personal quaranty payment to Mr. Milsner. 1 A I believe so. ‘There could be some others.
2 Q The $90,000 note? 2 Q Now you stated unwilling -- words to the
3 A Yes. There were legal fees. 3 effect that management was unwilling or uncooperative.
4 Q What else? 4 Ts that your opinion, sir?
5 A There may be other transactions entered 5 A At what point in time, Mr. Hill?
6 into between AMF and RFS that did not meet the protocols 6 Q As you sit here today.
7 as put forth in the bylaws or the organizing minutes 7 A Mr. Dawson's been very cooperative as of
8 where there had to be authorization of a disinterested 8 late.
9 person, shareholder. 9 Q And everything that you've asked for has
10 Q All of those transactions are in fact 10 been provided to you, except Mr. Weinress's workpaper; is
11 correctly set forth on the books and records of the 11 that right?
12 company, are they not? 12 A I believe so.
13 A I wouldn't say necessary correctly, but 13 Q And Mr. Dawson answered every question you
14 they're recorded, yes. 14 asked him, didn't he?
15 Q But they're present there? 15 A When are you -- are you going to saya
16 A Yes. 16 particular time?
17 Q Are any of those transactions set forth in 17 Q You and Mr. Dawsen sat down with a court
18 the books and records in a manner that you believe is 18 reporter.
19 calculated to hide them or deceive anyone? 19 A Thank you. Yes.
20 A Well, I can't speak to the fact that if 20 Q And every question that you had was
21 they're put in a particular account where they're not 21 answered to your satisfaction?
22 supposed to be, that that was not an error or it wasn't 22 A Yes.
23 something else. 23 Q Did you have other questions that you were
24 Q The $90,000 payment to Milemer, do you know 24 prevented from asking?
25 if that was approved by the board of directors? 25 A No.
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30 32
1 A No, I don't recall specifically off the top 1 Q Were there questions that you didn't ask
2 of my head. I don't believe it was, because I don't 2 for any reason? :
3 think Mr. Carstarphen was aware of it. 3 A No, not that I can think of.
4 Q All right. And the legal fees, do you know 4 Q Okay. So when you say that management --
5 whether or not there was approval of those by the board 5 did you mean to say that management was -- you perceived
6 of directors? 6 to be previously unwilling or presently unwilling?
7 A Considering there's another lawsuit out 7 A Previously.
8 there now on that, I don't know how they could have been 8 Q And that situation no longer exists today?
9 approved by the board. 9 A I don't believe so. ,
10 Q And do you have any reason to believe that 10 Q Okay. The projections that Weinress
11 the board of directors of American Medflight was at any 11 reviewed -- or that Weinress relied on, you've never seen
12 time unaware of the dealings that it was having with Reno 12 them, have you?
13 Flying Service? 13 A Other than what was enumerated or reported
14 A No. 14 on his report.
15 Q Now, you've mentioned then transactions 15 Q Do you have any basis whatsoever to believe
16 that have cowe to light. Are those the same transactions 16 that thoge projections were deliberately erroneous on the
17 «that we just discussed, the 90,000, legal fees, the 17 part of management or anyone associated with American
18 AMF/RFS not dealing in accordance with what Mr. 18 Medflight?
19 Carstarphen understood to be the second and third minutes 19 AB I think by the nature of what I've reported
20 of the board of directors meeting, are there any other 20 in my report, we've called into question how reliable
21 transactions that fall into that that have came to light? 21 those projections were, because they were off
22 A Not that I can think of off the top of my 22 substantially from what the actual results were.
23 head. 23 Q Do you have any basis to assert that there
24 Q Have you given me all of the previously 24 is anything about the deviation - my word not yours -
25 undisclosed transactions to which you were referring? 25 that was intentional?
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33 35
1 A I'm not going to speak to the intent. I'm 1 duties that existed -- start again.
2 going to speak to the fact that they were substantially 2 Have you been asked to opine about the
3 different than what was the actual result. 3 existence of duties owed by a majority shareholder toa
4 Q Do you have any reason to believe that they 4 corporation?
5 were done in other than good faith by management? 5 A No.
6 A I'm going to answer like I did the last 6 Q Or to a minority shareholder?
7 time. I'm not going to speak to the intent. 7 A No, other than in a general nature. I'm
8 Q Do you have any reason to believe that the 8 not going to give legal advice -- I'm not going to givea
9 projections were not based on data then available? 9 legal conclusion.
10 A One would think they could be a little more 10 Q You're not going to testify -- you don't
11 accurate if they had all the information. 11 anticipate testifying -- let back up and try it this way.
12 Q Do you know whether those projections were 12 Are you qualified to opine at trial about
13 made by Weinress or management? 13. the existence of duties, fiduciary duties owed by a
14 A They're supposed to be made by management. 14 majority shareholder to either a corporation or a
15 Q Do you know the answer to my question? 15 minority shareholder?
16 A I believe if you go through his report, you 16 A Only my understanding as a businessman and
17 might indicate that those were management's projections. 17 a CPA, not as an attorney. I'm not an attorney, I will
18 Q Do you know whether they were or not? 18 not give legal conclusions.
19 A I dom't recall off the top of my head. I 19 Q What about the duties owed by directors to
20 would think that I would recall if they weren't or it was 20 either to corporation or any shareholder?
21 stated they were his. 21 A My answer would be the same.
22 Q If Weinress made them as opposed to 22 Q What do you understand those duties to be?
23 management, that could conceivably have a very serious 23 A To the --
24 impact on his report, couldn't it? 24 Q Any of them.
25 A It could. 25 A Well, number one, to adhere to whatever the
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34 36
1 Q And if his report is in error for that 1 parameters have been set forth, whether in the organizing
2 reason, are your damage calculations equally infirm, or 2 documents or at hoard meetings or bylaws, articles of
3 infirm to any degree? 3 incorporation, whatever.
4 A Not definitively. It could be, it could be 4 Q Okay. Anything else?
5 not 5 A You know, I'm aware that there are some
6 Q Are you -- as to the consulting fee, you 6 Nevada statutes that dictate what certain shareholder
7 have no knowledge one way or the other as to the validity 7 xights are and certain rights to members of LLCs and
8 of the underlying agsertions between Carstarphen -- 8 partners and items along those lines.
9 Well, are you prepared to opine that AMF 9 Q You would not feel comfortable testifying
10 did not get what it paid for in terms of any labor or 10 to those subjects, is that a --
11 materials that it purchased from Reno Flying Service at 11 A I can't testify to them this moming.
12 any time? 12 Q Fair enough.
43 A Mr. Hill, I'm not trying to be difficult 13 Are you aware of any usurpation of any
14 here, but you started with the consulting fee -- 14 corporate opportunities by Mr. Milsner?
15 Q I }mow. 15 A I know that's been alleged.
16 A The consulting fee's off the table for 16 Q I'd like to know if you have any knowledge
17 right now, right, because it's not part of the question 17 «about that, sir? Any facts to support that assertion?
18 you asked me? 18 A Okay. Well, speaking here today without
19 Q Correct. Yes. 19 the benefit of the statutes or anything else with respect
20 A And your question is again? 20 to that, my understanding is that Mr. Carstaryphen has not
21 Q Are you going to at trial opine that any 21 been allowed some of the same opportunities to receive
22 transaction for labor or material between AMF and RFS, 22 wWoneys cut of AMF as Mr. Milsner.
23 that AMF did not get full value for what it paid for? 23 Q Anything else?
24 A No, 24 A I think that's basically it as I git here
25 Q Have you been asked to opine about any 25 this moming.
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37 39
1 Q Okay. And what facts do you have -- I 1 That's what I can think of.
2 don't care what Mr. Carstarphen alleges, I want to know 2 Q Other than that, or is that the galaxy?
3 what facts you have that support that statement, that Mr. 3 A Sitting here this morming that's all I can
4 Carstarphen was not allowed the same opportunities to 4 think of.
5 take money out of American Medflight as Mr. Milsner? 5 Q And those are all set forth in your
6 A Well, that credit personal guarantee 6 reports?
7 payment, that ninety-some-odd dollars we talked about. 7 A Yes.
8 Early on either Reno Flying Service or AMF used Mr. 8 Q Do you know at thia point in time whether
9 Carstarphen's -- 9 or not Milgner has any quarantees with anyone for any
10 Q Let me interrupt you. 10 reason for the benefit of American Medflight?
11 You're only here to -- your report in this 11 A T know it's been alleged that he had
12 case only focuses on 1/1/05 forward, right? 12 personal quarantees out there.
13 A Yes. 13 Q That wasn't my question, sir.
14 Q So let's confine ourselves to that. 14 Do you know one way or the other?
15 MR. RUSSO: You need to clarify that 15 A T only know of the allegaticn.
16 because you asked a -- 16 Q So you have no -- you've not seen any
17 MR. HILL: I stand corrected. You're 17 documents one way or the other?
18 correct. Mr. Russo. 18 A Well, there's that $90,000 payment. I
19 BY MR. HILL: 19 mean, if he's getting paid for a personal guarantee I
20 Q Do you understand my question now, sir? 20 would assume that there's a personal guarantee out there.
21 A Could you please restate it? 21 Q And do you recall off the top of your head
22 Q Since January 1, 2005, sir, what evidence 22 when that occurred?
23 do you have that Mr. Carstarphen has not had the same 23 A I think it was a yeax or two ago,
24 opportunities as anyone else to receive moneys out of 24 Q What about today, do you know whether or
25 American Medflight. 25 not there are any guarantees out there?
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38 40
1 Now, you've identified personal guarantee 1 A Ne.
2 money, the $90,000 paid to Milsner. 2 Q In your report you used the term "fair
3 Anything else, sir? 3 value," and you differentiate fair value from fair market
4 The payment of the legal fees. 4 value. Is that a fair characterization of your report,
5 Q Anything else? 5 gir?
6 A Not that I can think of off the top of my 6 Yes.
7 head, no. 7 Q T'd like for you to define for me, please,
8 Q Do you expect to testify at trial whether 8 sir, the term "fair value."
9 or not Mr. Milsner engaged in any knowing violation of 9 A Fair value often is defined as the fair
10 the laws of the State of Nevada? 10 market value without a minority discount. ‘That's an
11 A No, as I stated before, I'm not attorney, 11 oversinplification, but that can be.
12 I'm not the trier of fact to come to that conclusion. 12 Q TI would like to know what you used as your
13 Q You're not going to offer any opinions on 13 definition in your report.
14 that; correct? 14 A That's basically what we used.
15 A No. 15 Q And fair market value, how do you
16 Q My statement's correct? 16 differentiate between the two, just the absence of the
17 A Yes. 17 minority discount?
18 Q Thank you. Are you going to opine at 18 A Yes, a willing buyer, willing seller.
19 trial -- do you have an opinion that Mr. Milsner 19 Q How does that -- so fair value does not
20 intentionally breached any duty that he owed to either 20 include any allowance to a willing buyer, willing seller?
21 the corporation or Mr. Carstarphen? 21 A Sometimes it could, sometimes it couldn't.
22 A Well, I believe, as I testified to on the 22 Q Did you make any allocation for that?
23° 26th of April as well, Mr. Hill, there were certain 23 A No.
24 protocols or safeguards put into effect between the 24 MR. HILL: Let's go ahead and take a break.
25 intercompany transactions that we were not adhered to. 25 (A recess was taken at 10:10 a.m.)
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4l 43
1 RENO, NEVADA, THURSDAY, JUNE 3, 2010, 10:25 A.M. 1 Q Anything that he reminded you of?
2 -o00- 2 A No.
3 MR. HILL: Let's go back on the record. 3 Q Anything else that you recall on your own
4 EXAMINATION 4 or from Mr. Carstarphen or any other source other that
5 (Resumed) 5 you'd care amply, change or modify your previous answers?
6 BY MR. HILL: 6 A Just with respect to that whole payment on
7 Q Mr. Proctor, what were you and Mr. Russo 7 the credit line again, and that's it.
8 talking about cutside? 8 Q You're going back to 1999?
9 A He reminded me of some of the other things 9 A Not the credit line, I'm sorry. The
10 «that I had either in my reports or exhibits with respect 10 personal guarantee.
11 to some of corporate opportunities. 11 Q The 90,000?
12 Q Why don’t you tell us about that. 12 A Yes.
13 Anything that you talked about? 13 Q Go ahead, I'm sorry.
14 A No, I think that basically was it. Oh 14 A dust the fact that again Mr. Carstarphen
15 that, and the aircraft leases. 15 was not afforded the fact that if he was going to
16 Q What about the aircraft leases? 16 personally guarantee any debt, that he would algo be
17 A The fact of the matter is, is until 17 paid.
18 receritly -- and I haven't been provided the aircraft 18 Q Okay. Do you have any facts to support the
19 leases between AMF and Reno Flying Service, and the fact 19 assertion that the guarantees by Milsner were made in
20 that the rates may actually not be comparable depending 20 anticipation of being paid?
21 on what Reno Flying Service did with the equity on the 21 A He was paid in anticipation of being paid?
22 planes, whether they refinanced them, pulled equity out. 22 Q That was my question.
23 Q Do you have any information along those 23 Do you ‘have any -- let me try it again.
24 lines? 24 Apparently -- from the look on your face I don't think I
25 A Not presently. 25 got it right. Let me try it again.
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42 44
1 Q Do you anticipate getting that information? 1 If I understand correctly, what you just
2 A I might. 2 said was that Mr. Carstarphen -- nobody told Mr.
3 Q And what source -~- what source would you 3 Carstarphen that if he guaranteed anything he might
4 have for that information? 4 receive some form of compensation. I did understand that
5 A Mr. Russo might provide them to me. S correctly?
6 Q Has Mr. Russo indicated that he might 6 A Yes, sir.
7 provide that to you? 7 Q Do you have any data on which to base an
8 A He didn't definitively say one way or the 8 assertion, or do you make the assertion that Mr. Milsner
9 another. 9 made any guarantee in anticipation that he would be
10 Q What did he say? 10 compensated for doing so?
a A He just alerted me to the fact that that is 11 A It's reasonable to assume that.
12 another issue. 12 Q That wasn't my question.
13 Q Now, you mentioned that Mr. Russo also 13 A T understand.
14 alerted you to other usurpations of corporate -- possible 14 Q and the answer to my question?
15 usurpations of corporate opportunities by Mr. Milsner; is 15 A Would be no.
16 «that correct? 16 Q Thank you.
17 A Yes. 17 What facts do you have at your disposal or
18 Q What else did Mr. Russo remind you of? 18 that you are aware of that Mr. Carstarphen's
19 A He reminded me of the fact that Mr. 19 participation -- let me back up.
20 Carstarphen's participation in the ESOP was predicated on 20 Has Mr. Carstarphen told you that his
21 dismissal of the state court action. 21 participation in the ESOP in any way, shape or form was
22 The fact that we had discovered that there 22 conditioned on dismissal of the state court lawsuit?
23 is a hundred-thousand dollars removed by Mr. Milsner out 23 A Mr. Carstaxphen stated such. Mr. Gunderson
24 of the checking account unbeknownst to the management of 24 stated such. Mr. Russo and Mr. King have stated such.
25 AMF. 25 Q Did King, Russo or Gunderson indicate to
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45 47
1 you that they had personal knowledge, or they were just 1 Q Okay.
2 simply passing along what Mr. Carstarphen had told them? 2 A -- specifically.
3 A T don't know what the source of their 3 Q In that case keep looking.
4 knowledge was. 4 It's just that if you know you didn't have
5 Q Did Mr. Carstarphen tell you that there 5 that, then we wouldn't waste any more time on it.
6 were any witnesses to that conversation? 6 Can you tell us where you. looked in your
7 A No, I don't recall that he did or didn't 7 binder, sir.
8 say there were witnesses. 8 A I looked in the RFS labor costs and parts.
9 Q And you certainly weren't a witness? 9 Aircraft purchase versus lease.
10 A No, sir. 10 I'm looking in my note section.
11 Q And do you know of any -- you don't know of 11 Mr. Hill, it appears that that number is
12 any witnesses? 12 probably in the section of me of the black binders in
13 A I can only assume who might be witnesses. 13 the state court action, because those calculations began
14 Q Well, why don't you tell me who you might 14 in the state court action.
15 assume might be witnesses. 15 And as to the question as to whether that
16 A Who could possibly be witnesses would be 16 was a reasonable assumption, it must have been because
17 Mr. Dawson. It might be Mr. Brown. It might be Mr. 17 that we didn't change that amount, go the number of hours
18 Geyer. It might be Linda Reed. It might be Mr. Daoro. 18 stayed the same as it was presented in the state court
19 It might be -- 19 action. I'd have to refer to the state court action.
20 Q Mr. Proctor -- 20 I know I've seen that amount, and again my
a1 A -- a host of attomeys. I don't know. 21 recollection is anywhere from 30 to 60 hours
22 Q T once had a doctor tell me that anything 22 approximately, but I don't remember it specifically.
23 is possible including group sex among porcupines. I 23 Q Was the source of that Mr. Carstarphen?
24 mean, let's confine it to what you know. 24 A Yes.
25 I mean, do you have any knowledge of any 25 Q Do you know what Mr. Carstarphen's source
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46 48
1 witnesses or not? 1 of information on that point was?
2 A I said no. 2 A His knowledge of the operations and what it
3 Q Thank you. 3 takes to take a plane off and they get to the hundred
4 Let's take a look at Exhibit 69 for just a 4 hours where they have to take them out of service and
5 minute. That should be in this binder. 5 substitute another plane.
6 This is your report of April 16, 2010; is 6 Q And your assignment -- your research then
7 that right? 7 on that topic and your interactions with Mr. Carstarphen
8 A Yes, sir. 8 occurred some time between 2006 and -- early 2006 to
9 Q Could you turn to page 6 of 27. And if you 9 2008?
10 need to refer to your binders to respond to my questions 10 A Yes.
11 about this feel free to do so, we just need to know what 11 Q Did you inquire of Mr. Carstarphen what his
12 you're looking at. 12 source of information was, or did you just take it
13 I'd like you to tell me in terms of your 13. accurate?
14 analysis of the aircraft repairs and maintenance, how 14 A No. As I discussed in my April 26th
15 many hours per month were you assuming were being put on 15 testimony, we take Mr. Carstarphen's assertions and we
16 the aircraft to be maintained? 16 verify them to the extent that we can, and do tests and
17 A I would have to look at my notes. My 17 everything along those lines.
18 recollection was something like 60 hours, that may be 30 18 And again, what I relied upon was that was
19 to 60 hours, I'd have to look at my binder. 19 his representations and it seemed reasonable in the fact
20 Q They're on the floor over there? 20 that if these planes are flying X mmber of hours, how
21 A Yes. 21 often they have to be taken out of service and another
22 Q Please pull them. 22 plane substituted, whatever.
23 Mr. Proctor, do you mow if you even had 23 Q Did you do anything to verify the
24 that information? 24 30-to-60-hour amount that Mr. Carstarphen gave you?
25 A Yes, I remenber -- 25 A I'd have to refer back because, again, most
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1 of those calculations were done in the state court action 1 A Yes.
2 so I'd have to go to that particular section in the 2 Q Okay. And have you as part of your
3 binder in the state court action. 3 assignment in this case -- you told me this morming that
4 Q Did you ask Mr. Dawson? 4 there were a couple of schedules -- well, Mr. Russo sent
5 A At that point in time we were not allowed 5 you scheduling e-mails that you've deleted and were not
6 access to Mr. Dawson. 6 preserved.
7 Q In this case you were allowed access to Mr. 7 Have you preserved all the other e-mails
8 Dawson? : 8 and communications that you've had with Mr. Russo, Mr.
9 A Yes. 9 King and Mr. Carstarphen relative to your assignment in
10 Q Did you take the opportunity to update any 10 this case?
11 information that Mr. Carstarphen had given you? 11 A Basically I do. I mean, I print them out
12 A No. 12 and they're saved on the hard drive.
13 Q Did you take the opportunity to verify any 13 MR. HILL: Mr. Russo, what I'd like to do
14 information that Mr. Carstarphen had given you? 14 is have my staff make copies, we'll mark them and go
15 A No. 15 through them later.
16 Q Why not? 16 MR. RUSSO: That's fine.
17 A Didn't determine that it was really 17° «BY MR. HILL:
18 necessary at that point. 18 Q Go ahead and set that aside if you want to.
19 Q My recollection is that your binder hag a 19 I'm going to want to look at those.
20 separate section on the cammmications that you had with 20 Let me show you what we're going to mark as
21 Mr. Russo, Mr. King and Mr. Carstarphen. Can you pull 21 Exhibit 75.
22 your binder and check the section on that topic, please? 22 {Exhibit 75 was marked for
23 Can you pull it out? 23 identification.)
24 A Which particular section did you want, 24 BY MR. HILL:
25 Mr. Hill? 25 Q This is the report by Mr. Zachow. You've
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50 52
1 Q I want you to give at this point in time 1 seen this, haven't you?
2 from your binder all of the commmications that you've 2 A Yes.
3 had with Mr. Carstarphen, Mr. King or Mr. Russo that -- 3 Q Can you tell me, sir, do you hold any
4 Can you do that? 4 certifications as an appraiser?
5 A On this whole case? 5 A I have my CVA.
6 Q Yes. Are they all in the binder? 6 Q CVA. What is that?
7 A Yes. 7 A Certified Valuation Analyst.
8 Q Then what I'd like you to do is pull them 8 Q And is that an appraiser of some sort?
9 out, give them to me, we're going to mark them as an 9 A That's an accreditation by NACVA for
10 exhibit. 10 business valuations.
11 A Do you have the Post-its? Last time it ul Q And can you tell us what NACVA stands for?
12 worked really well, Mr. Hill. 12 A National Association of Certified Valuation
13 Q My recollection was that your binder was 13 Analysts.
14 put together in such a fashion that they were all 14 Q And did they have protocols proscribed to
15 together. Is that not the case? 15 the use to arrive at valuing business?
16 A No, sometimes they're interspersed between 16 A Yes, sir.
17 other documents. 17 Q And where can we find that?
18 Q Okay. Put this face down so.... 18 A You might be able to find them on the NACVA
19 I don't care if you put them face down, 19 Web site would be the easiest thing for now to do that.
20 face up, just so they stay in an order that you can put 20 Q And did you comply with NACVA standards in
21 back together. 21 compiling your report, which is Exhibit 69?
22 I'm just making suggestions here so he can 22 A We're not doing a business valuation, as
23 put Humpty-Dumpty together again. 23. we've discuss.
24 Have you been able the remove the 24 Q Okay. So the angwer to the question ig no?
25 correspondence? 25 A I've used some of those standards. I'm not

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preparing a business valuation, not all of them would
apply. But I would also comply with all the professional
standards that are out there, like the SSVS 1 relating
to -- from the AICPA relating on valuation standards,
some of the professional standards dictated by the AICPA
in preparing work and....

Q Preparing what?

A Preparing work.

Q Oh, okay. I'm sorry, I didn't hear you.

So, you were not doing a business valuation

in this case, so you did not comply with all of the
standards that NACVA would call for?

A Correct.

Q Is that the only appraisal certification
that you hold?

A Yes.

Q Tell me about SSVS 1. What ig that?

A That's the statement promulgated by the
AICPA listing out certain valuation standards.

Q Did you comply with those in arriving at
your report in this case?

A Again, where they're relevant to comply
with, yes.

Q So, you did not comply with all of them,
you made a determination as to which ones were and were

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definitive explanation that they all agree on what an
enterprise value is.

Q But you do agree that there's a distinction
between the equity in a company and the value of the
company?

A Yes.

Q And you understood Weinreas wags valuing the
equity in the company?

A Yes.

Q On page 3, second paragraph of Exhibit 75
Mr. Zachow makes the statement:

"After an ESOP purchases shares in a

private company, ERISA rules require

the ESOP to have annual year-end

valuations in addition to an initial

valuation at time of first purchase."

Do you agree with that statement or
disagree with that statement?

A I agree with that statement.

Q Now, in your report you talk about
something occurred at American Medflight in a 2-week
period that affected, in your opinion, the value of the
company; is that right?

A That's a generalization, yes.

Q But it affected the value of the company?

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not relevant?

A Right. A number of those are not relevant.

Q Which ones were not relevant?

A I couldn't think off the top of my head,
Mr. Hill. I mean, as far as the standards go, plaming,
obtaining relevant data, supervision, report writing,
those standards would be adhered to. But specifically
talking about business valuations, those wouldn't apply.

Q Because you weren't doing a business
valuation?

A That's correct.

Q Do you believe that Mr. Weinregs -- let's
talk about Mr. Zachow's report, Exhibit 75 for a minute.

Do you believe that Mr. Zachow has made any
errors in his report?

A No. He raised a lot of issues that he was
just, in our opinion, trying to raise a smoke screen or
get the eye off the ball, if you will.

Q Do you agree that there is a distinction
between what he calls an enterprise value and equity
value?

A There can be. Enterprise value, there's a
lot of literature out there that basically says to stay
away from that kind of terminology because all of the
governing bodies haven't been able to come up with a good

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A Yes.

Q Other than the transaction between Milsner
and the American Medflight ESOP, what occurred that
you're aware of?

A Nothing.

Q In your report you weke the statement that
an objective contemplation of that transaction would have
revealed that there was going to be an effect on the
company from that transaction; is that right?

A Yes.

Q When you say objective, do you mean fairly
obvious?

A IT mean neutral, what the word cbjective
means. I mean, obvious, it may be cbvious to
professionals, maybe not so cbvious to the layperson.

Q On page 4 of Mr. Zachow's report, first
paragraph at the top of the page, second sentence, he
said:

"However, based on the projections

that Weinress used at the time of

the transaction, the company was
projected to have more than enough

cash flow to cover expected debt
payments."

Do you agree with Mr. Zachow that based on

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1 the projections, the company -- it looked like the 1 "3 year average debt service."
2 company would have more than enough cash flow to cover 2 Is his statement correct?
3. said payments? 3 A I think it is.
4 A Based on the projections. 4 Q Down at the bottom he has Exhibit 6. What
S Q You don't have those projections, so you've 5 do you understand him to be doing in that exhibit, if
6 not been able to perform any calculations on them. 6 anything?
7 A No, we talked about that earlier this 7 A I believe he extrapolated that information
8 morning, Mr. Hill. 8 from Mr. Weinress's report and is reporting what Mr.
9 Q I'm just making sure I'm on the same page 9 Weinress said in his Exhibit 6, or what projected EBITDA
10 of the book as you, sir. 10 would be.
11 Continuing down he wakes the assertion -- 11 Q Do you agree with his numbers?
12 well, he makes the assertion that he spoke with someone 12 A I would have to go back to Mr. Weinresa's
13 from the National Center for Employee Ownership. Have 13° report, but I don't have any reason to disagree with
14 you ever heard of that entity before? 14 those at that point or call those into question.
15 A I've heard of the entity, yes. 15 Q Have you looked at the nunbers -- any of
16 Q And he attributes to them a statement that 16 the numbers that Mr. Zachow used and compared them with
17 «70% of all ESOP transactions are seller financed. 17. either the Weinress report or other source documents to
18 Do you have any information to the 18 which he was referring?
19 «contrary? 19 Yes.
20 A No. 20 Q And did you find any errors in Mr. Zachow's
21 Q And continuing down he attributes in the 21 = numbers?
22 next paragraph, last sentence a statement to you, it's in 22 A No, not that I recall.
23° quotes, in the last sentence, he says you say: 23 Q The top of the next page, page 5, he says:
24 "It appears that the strain on AMF's 24 "Using these projections, we
25 cash flow is unsustainable." 25 calculated two common mule of thunb
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1 You did make that statement in your report? 1 "lending metrics: Total debt service
2 A Yes. 2 coverage and total debt as a multiple
3 Q When did you form that opinion? 3 of EBITDA."
4 A Late February or March of this year. 4 Do you recognize both of those as rule of
5 Q And the basis, the documents you relied on 5 thunb lending guidelines?
6 for that are what? 6 A Yes.
7 A Well, number one, the fact that the ESOP 7 Q You're familiar with both of them?
8 was in default and owes Mr. Milsner money. And then the 8 A Yes.
9 other financial statement, the tax returns. 9 Q And do you agree with the conclusions he
10 Q And the default, did you discuss the ESOP 10 arrives at applying them?
11 default with Mr. Dawson when you met with him? 11 A In the example that he's using, yes.
12 A I don't recall that we did. There might 12 Q And have you applied them to American
13 have been a conversation on that. I didn't bring the 13. Medflight?
14 transcript from that hearing. 14 A We verified his calculations, yes.
15 Q Nothing you leamed at that session with 15 Q And you concurred with them?
16 Mr. Dawson changed that part of your report, did it? 16 A Yes.
17 A No, sir. 417 Q How many -- I mean, you testified several
18 Q He continues on and he says in the next 18 times you've been involved in two instances where clients
19 paragraph: 19 had ESOPs; is that right?
20 "We disagree with several aspects 20 A Yes.
21 of his being" - your analysis - "and 21 Q Were those leveraged or unleveraged?
22 this statement." First, even using 22 A I believe they were both leveraged.
23 his" - meaning Mr. Proctor's own 23 Q And when did those occur?
24 analysis - "it appears that the 3-year 24 A Back in the '90s.
25 average EBITDA was in excess of the 25 Q So it's been at least between 10 and 20

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1 years ago? 1 operations of the company and the fact that they're in

2 A Yes, 2 default.

3 Q That's not part of your practice? 3 Q The default is the deciding factor for you?
4 A No. 4 A No, it's one of the contributing factors.

5 Q My statement's correct? 5 Q Do you know if the terms have been

6 A That's correct. 6 renegotiated?

7 Q Thank you. 7 A I understand from talking to Mr. Dawson

8 Have you participated in leveraged buyouts? 8 that there was a discussion that those terms were being

9 A Yes. 9 renegotiated.
10 Q How many? 10 Q Do you know if they have been?
1 A I don't recall. 12 A Sitting here today, I do not know.
12 Q More than 10? 12 Q So your assumption is that they have not

13 A Over the 25 years as a CPA I'd say more 13 been?

14 than 10, yes. 14 A T don't know that I have one way of that or
15 Q How many in the last five years? is another, Mr. Hill. /

16 A I could think of less than a half a dozen, 16 Q If they've been restructured in sucha

17° but more than just a couple in the last five years. 17. fashion that AMF can afford the transaction, will that

18 Q How about management buyouts? 18 make Mr. Carstarphen's damages temporary?

19 A There's been a few throughout the career. 19 A It could. It could be one of many factors.
20 Q How many in the last five years? 20 Q The attomeys' fees that have been paid by
21 A I can't think of any in the last five 21 the company, if those were recaptured by the company --
22 +years. 22 they've never been paid by the company, could the company
23 Q Did you apply total debt service coverage 23 have made its payments to Milsner?
24 or total debt as a mitiple of EBITDA in your analysis of 24 A If the company recouped over $700,000 in
25 Weinress's work? 25 legal fees that have been --

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1 A No. 1 Q Let me put it to you hypothetically.

2 Q Do you disagree with Zachow's statement 2 If the company had not paid any attorneys'
3 that the AMF ESOP transaction with Milsner "appeared to 3 fees to defend Mr. Milaner in the state court case, would
4 be modestly sized"? 4 the company have been able to make the payments due to

5 A I'd say that's -- yeah, it's modestly S Milsner?

6 sized, yes. 6 A I don't know that.

7 Q Continuing on the next page. This would be 7 Q You don't know one way or the other? .

8 page 6 of Zachow's report. 8 A No. There's a lot of factors that could

9 In the middle of page, do you see where it 9 have entered into all of that.

10 says "Page 9"? 10 Q Continuing down on the bottom on page 6,

11 A Yes, 11 there's a paragraph that Mr. Zachow has that begins:

12 Q Do you agree that the circumstance of Mr. 12 "Again, we would remind the reader of

13 Carstarphen's, what you contend is his damage relative to 13 the example of the house with debt and

14 the ESOP is temporary? 14 without debt. If an outside buyer were

15 A In the perfect world as this was projected 15 to offer to purchase the house, he would

16 in Weinress's report, yes. What's happened, no. 16 have to pay the ‘enterprise value'

17 Q Well, what has happened that leads you to 17 regardless of whether there was any debt

18 believe that the harm that fell on Mr. Carstarphen as a 18 on the property. Thus, all else being

19 result of the transaction is not going to be temporary? 19 equal, the value of the house has not

20 A Because the company is not able to pay its 20 been diminished by the debt."

21 debts to Mr. Milsner, for one. His operating results are 21 Do you disagree with the applicability of
22 lower than what those projections were. 22 that example?

23 Q And you believe that -- well, are there any 23 A Yes.

24 other factors that you believe support that position? 24 Q Why?

25 A No. Again, just looking at the results of 25 A We're talking about Mr. Carstarphen's

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1 equity value, not the enterprise value of the company. 1 A What was your question?

2 Q Any other reason? 2 MR. HILL: Mr. Reporter, will you please

3 A No. That's primarily it. 3 read it back.

4 Q And do you have any reason to believe that 4 (The following question was read by the reporter.)

5 the transaction between Mr. Milaner and the ESOP was done 5 "QUESTION: But you're not prepared to

6 intentionally to depress the value of Mr. Carstarphen's 6 testify that it is a probability; is

7 stocks? 7 that correct?" /

8 A As I testified on April 26th, Mr. Hill, we 8 THE WITNESS: And my answer's still going
9 raised the issue that that's a possibility. We raised 9 to be, Mr. Hill, it's a possibility, it's a strong
10 the question. 10 possibility.
11 Q Do you expect -- will you express that as 11 BY MR. HILL:
12. an opinion? 12 Q Do you regard a probability as being more
13 A I will raise that possibility. 13 certainly than a strong possibility?
14 Q Have you told me about all the things that 14 A It could be.
15 you believe support that as being a possibility in your 1s Q The material in your report, Exhibit 69,

16 mind? 16 are they stated to a reasonable degree of professional

17 A Yeah, I think it's outlined in that report. 17 probability?

18 Q Do you believe it's a probability or just a 18 A Yes.

19 possibility? 19 Q Does the opinion that you have about this
20 A What's a probability or possibility? My 20 transaction having been intentionally structured to lower
21 testimony or -- 21 the value of Mr. Carstarphen's equity, does it rise to
22 Q Fair question, sir. You're doing your job. 22 the same level as the opinions in your report?
23 Do you believe that Milsner having set 23 A No, and again, Mr. Hill, I'm just raising
24 this -- having intentionally structured the transaction 24 the issue.
25 to intentionally depress the value of Mr. Carstarphen's 25 Q Continuing down, Mr. Zachow states that he

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1 stock is a probability? 1 understands you -- that's item 1, page 11, let me read it
2 A That's really for the trier of fact to 2 for you.

3 determine. 3 He says:

4 Q I'm asking for your opinion, gir, you're 4 “Here Proctor points out that 'for no

5 the expert. 5 apparent reason....' the weightings used

6 A Given not only that transaction, but all 6 by Weinress in the two reports are

7 the other transactions that we've talked about ad nauseam 7 different."

8 over the last two depositions, it would tend to be 8 Is that your contention in your report --

9 suspicious. 9 I'm on page 7.

10 Q And does that amount in your mind, sir, to 10 A Oh, I thought you said page 11.

11 a probability? 11 Q No. He's referring to page 11 of your

12 A It's a very strong possibility. 12 report.

13 Q The answer to my question is? 13 A Sorry. Page 7?

14 A It's a strong possibility. That's the 14 Q Page 7.

15 answer. 15 A Item 1, page 11.

16 Q You are unable to answer my question? 16 Q "Here Proctor points out that ‘For no

17 A I'm not saying I'm unable to answer your 17 apparent reagon....' the weightings used by
18 question, I'm saying that it's a strong possibility. 18 Weinress in the two reports are different."
19 Q But you're not prepared to testify that it 19 Do you make that assertion in your report
20 is a probability; is that correct? 20 at that point?

21 A I would raise the issue and let the trier 21 A Yes.

22 of fact take all the cumulative amount of evidence before 22 Q Do you concede that Mr. Weinress was hired
23 it to determine that. 23 to valuate the company at two different points in time?
24 Q I think my question called for a yes ora 24 A Yes. You asked that earlier and I answered
25 mo answer, sir? 25 yes.

 

 

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1 Q Would you expect the weightings to change 1 There's a lot of information with respect to the NACVA.
2 because of the change in circumstances of the company? 2 Shannon Pratt bocks. There's the Gary Trugman books.

3 A It could. It could also not. 3 There's the PPC books that talk about that.

4 Q Okay. And that would be something that 4 Different governing bodies for appraisers
5 would be somewhat subjective on the part of the 5 and business valuations aleo define that. There's a

6 appraiser, wouldn't it? 6 glossary that defines that.

7 A Yes. And as we talked about earlier, again 7 Q You are critical of Weinress as being not
8 we didn't have access to Mr. Weinress's workpapers that 8 independent; is that true?

9 would indicate how he came to those conclusions or why or 9 A I'm not critical. I just raised that as a
10 how he could substantiate or not substantiate his 10 possibility.

11. subjectivity. 11 Q You do not have the opinion to a reasonable
12 Q You testified before, if I understand , 12 degree of professional certainty that he was not

13. correctly, that in arriving at your report you've now had 13 independent. Is that statement correct?

14 the benefit of not only of Mr. Weinress's reports for 14 A I just raised the possibility.

15 2004, you've had the Decenber 15, 2005, the December 31, 15 Q Let's go to page 10. He references page
16 2005, you also had the benefit of 2006, 2007 and 2008 16 12, second to last paragraph of your report. Do you see
17 business reports prepared for ESOP; is that right? 17° «that?

18 Yes. 18 A Yes.

19 Q Weinress didn't have all that informaticn, 19 Q And he attributes a statement to you at the
20 did he? 20 last sentence in that first paragraph:
21 A No. Mr. Weinress in 2005 did not have the 21 "Weinress' assumptions and the

22 information available in 2008. 22 changes in his assumptions make

23 Q Do you believe that Weinress's values are 23 the pre-transaction value higher

24 too high, too low, or can you tell? 24 and the post-transaction value lower."

25 A No, again, we raised issues with the 25 Is that your opinion?

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1 reports over how some of those assumptions, 1 A Yes.

2 methodologies, procedures were done, how they might have 2 Q Is that business value, equity value?

3 been substantiated, researched. 3 A Equity value.

4 We did not, again because we did not do the 4 Q And you say higher, should that be "(than
5 business valuations, indicate whether or not that value 5 it should be) "?

6 is reasonable, too low, too high. We raised these 6 A No.

7 questions should that be answered. 7 Q So you're not -- you don't mean to be

8 Q What you've done in your report is simply 8 saying that his value is wrong. You're just commenting
9 take the differential between the two Weinress 9 that the assumptions he uses would tend to drive the

10 properties? 10 «value up?

11 A And overgeneralization you like to do, Mr. 11 A Yes.

12 Hill, but yes. 12 Q And the assumptions that he used later

13 Q Well, you applied -- in arriving at the 13. would drive it down, you don't know whether it's

14 damage figure for Mr. Carstarphen, you took a third of 14 appropriate or not?

15 that number, didn't you? 15 A I was fine with the first part of the

16 A After we added back the marketability 16 question, not fine with the second part of the question,
17 discount. Excuse me, the minority discount. 17 Mr. Hill.

18 Q Why did you add that back in? 18 Q Why?

19 A To come back up to fair value. 19 A His assumptions and his changes in that and
20 Q And what is your source of the definition 20 his methodology does tend to make the pre-transaction

21 of fair value? 21 value higher and the post-transaction value lower.

22 A Authoritative literature, business 22 Q Go to page 11 of Mr. Zachow's report, next
23 knowledge, business publications. 23 to the last paragraph.

24 Q Can you cite me to anything in particular? 24 He says in his circumstance, in his

25 A There's all kinds of literature out there. 25 experience, he has seen minority discounts as high as

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1 80%. Do you read that? 1 Q What else did you factor in?

2 A Yes. 2 A We had looked at Mergerstat.

3 Q Have you ever seen that high of a minority 3 Q What is that?

4 discount applied? 4 A That's a database of where public companies
Ss Yes. 5 and minority discount rates have been going.

6 Q What were the circumstances that caused the 6 Q Public companies, meaning publicly traded?
7 minority discount to be so high? 7 A Publicly traded.

8 A I'm just speaking off of a vague memory, 8 Q So that would be stock and such?

9 Mr. Hill. But the items that could determine that, that 9 A Yes.

10 I believe was the amoumt of the minority interest and the 10 Q Did you factor any private companies?

11 fact that that minority interest had virtually had no 11 A Yeah, I believe we did. I'd have to think
12 power whatsoever. And a lot of that depends on the 12 of what we used for that, but yes.

13 dynamics and synergies of the makeup of the company. 13 Q Is that in the binders?

14 Q And whether or not that -- in this instance 14 A It might be. It should he.

15 does it really matter whether Mr. Carstarphen owns 15 Q Tt should be. Well, why don't we take a
16 one-third of the corpany or one percent of the company? 16 look.

WwW A Yes, it does. 17 I'd like you to tell me which of your

18 Q Why? 18 binders were used to get to minority discount?

19 A Because there are other protocols that are 19 Is it one page or more than one page?

20 not typically -- or not all the time put into other 20 A One page.

21 companies. The sole issue about how these protocols and 21 Q Let's remove it and mark it and we'll get
22 safeguards were put into effect because of insider 22 you a copy before you leave.

23 transactions or related party transactions. 23 This will be 76.

24 Q You're referring to the second and third 24 (Exhibit 76 was marked for
25 board of directors minutes? 25 identification. )

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1 A Yes, if I recall that correctly. 1 BY MR. HILL:

2 Q L£ I understand what you just told me, you 2 Q I'll hand you back Exhibit 76, and I'd like
3 believe that those would not be contemplated in a one 3 you to tell me where on here it tells us that any of

4 percent ownership; is that fair? 4 those are not publicly traded companies?

5 A Yeah. I mean, cbvicusly any company can do 5 A Right here.

6 whatever. But I have not seen where a one percent 6 Q You're referring to note A?

7 shareholder -- I think there's probably areas out there 7 A Yes.

8 like that or companies that are like that, but I have not 8 Q Note A and note B or just note A?

9 seen that. 9 A Note A,

10 Q Do you think that the adversarial 10 Q We'll get a copy of this for you next time
11 relationship between the minority and majority 11 we take a break.

12 shareholders would be something that should be taken into 12 Let's continue with Mr. Zachow's report,
13 account in terms of arriving at a proper minority 13. please, I'd like to go to page 12 where it says summary
14 discount? 14 on page 12.

15 A It could be. 15 A Yes,

16 Q The minority shareholder having to expend 16 Q The paragraph right above that Mr. Zachow
17° money trying to enforce his rights? 17 says:

18 A Could be. 18 "We would call attention to Proctor's

19 Q That minority shareholder's of the opinion 19 statement in the last paragraph on

20 that the rules aren't being complied with, would that be 20 page 12 and in note 6 in the chart on

21 something that would affect the minority discount? 21 page 13 where he states that had he

22 A It could be. 22 followed applicable appraisal standards

23 Q Did you factor those into you arriving at 23 both the estimated value and the minority s
24 15%? 24 interest discount could be materially

25 A Yes. 25 different."

 

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1 Is that a true statement about your report? 1 different appraisals. And they're putting together
2 A Yes. 2 reports, administering a plan and locking at these items
3 Q Do you have any reagon to believe that 3 to see whether or not they're making -- they're doing
4 anyone associated with AMF should have known about the 4 their reports and everything, they should be looking at
5 criticism that you have of Mr. Weinress's work? 5 this stuff.
6 Do you understand my question? 6 Q As an accountant you believe that they as
7 A Yes. Can I have the court reporter read 7 an ESOP administrator should have seen that?
8 that back? 8 A Yes, or at least have questions.
9 (The following question was read by the reporter.) 9 Q Do you know whether they did have
10 “QUESTION: Do you have any reason to 10 questions?
11 believe that anyone associated with AMF 11 A No.
12 should have known about the criticism 12 Q On what basis do you make the assertion
13 that you have of Mr. Weinress's work? - 13 that legal counsel should have seen the errors that you
14 Do you understand my question?" 14 attribute to Mr. Weinress?
15 THE WITNESS: First of all, I understand 15 A Well, if legal counsel is advising the
16 your question. 16 company of what to do and what not to do on an ESOP, I
17 BY MR. HILL: 17 would imagine they would look at the ESOP valuation.
18 Q Thank you. 1a They might have questions as well.
19 A The answer would be yes. 19 Q As an accountant, that is your opinion of
20 Q On what basis do you make that statement, 20 what the lawyers should have done?
21 sir? 21 A Yes.
22 A They have an administrator involved. ‘They. 22 Q And the same with management, it's your
23 have legal counsel involved. Management could have 23 opinion as an accountant that that's what management
24 looked at the projections versus the actual. 24 should have done?
25 So, yes, I would think somehow between all 25 A Yes.
SILVER STATE COURT REPORTERS (775) 329-6323 SILVER STATE COURT REPORTERS (775) 329-6323
78 80
1 the different professionals involved, how management or 1 Q Do you know whether or not management did
2 the people that are making decisions that they would have 2 do that?
3 to raise the question of same of this and obtain more 3 A I can't conclusively say one way or
4 professional advice. 4 another.
5 Q Anything else? 5 Q Did you ask Mr. Dawson?
6 A No. 6 No.
7 Q The administrator, what should they have 7 (Exhibit 77 was warked for
8 done? What should they have done, and how would they 8 identification.)
9 have known what you ‘know? 9 BY MR. HILL:
10 A Well, they handle a lot of ESOPs, according 10 Q I'm going to hand you Exhibit 77. This is
11 to their literature and their information. 11 what my staff has brought back to me after copying what
12 And they certainly must see a lot of 12 you gave us as your correspondence.
13. different appraisals and business valuations. And they 13 I'd like you to take a moment, look at
14 could have questions. 14 Exhibit 77 that I've handed to you and confirm for me
15 Q Have you ever served as an ESOP 1S that everything that's in the bundle that we bought back
16 administrator? 16 is in 77.
17 A No. 17 A Okay.
18 Q Have you ever had a client who served as an 18 Q First of all, you pulled out and gave us
19 administrator for an ESOP? 19 all the correspondence and e-mails that you've had with
20 A Not that I'm aware of. 20 Mr. Carstarphen, Mr. King, Mr. Russo related to your
21 Q On what basis, sir, do you make the 21 assignment; is that right?
22 statement that the ESOP administrator should have been 22 A Yes, in that section, Mr. Hill.
23 aware of the errors that you contend are the errors in 23 Q In just one section or --
24 Mr. Weinress's report? 24 A I'm sorry. I'm thinking that I have a
25 A What I just testified to, they see a lot of 25 whole other binder that might have had correspondence in
SILVER STATE COURT REPORTERS (775) 329-6323 SILVER STATE COURT REPORTERS (775) 329-6323

 

 

 
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81 83
1 it with all these documents that you guys were discussing 1 RENO, NEVADA, THURSDAY, JUNE 3, 2010, 11:45 A.M. ©
2 before. 2 -o0o-
3 Q So there's a fourth binder that -- 3 MR. HILL: Back on the record.
4 A No. There's a third binder. Let's just go 4
5 through that. 5 {Exhibit 78 was marked for
6 Q Mr. Proctor, what I want to do is I want to 6 identification.)
7 get a definitive list here of all of your communications 7
8 with Mr. King, Mr. Russo and Mr. Carstarphen relative to 8 EXAMINATION
9 your assignment in this case. 9 (Resumed)
10 A Okay. There are sore letters in this 10 BY MR. HILL:
11 document dispute binder. 11 Q Mr. Proctor, while we were off the record
12 Q I would like you to remove them so we can 12 my staff made some copies.
13. copy them and add them to our.... 13 Does Exhibit 78 include all of the most
14 A Which of course you've already got copies 14 recent e-mails and other correspondence that you pulled
15 of these, but you're running copies again. 15 from your file?
16 Q Some maybe, some not. 16 A Along with 77.
17 Is that one of your reports? 17 Q My question is directed to whether 78
18 A This is an additional document request. 18 included the bundle you most recently pulled?
19 Q We'll need that. 19 A Yes, sir.
20 A Do you want -- Mr. Hill, do you want 20 Q Therefore, between 77 and 78 we have the
21 information or letters in which I was cc'd on between you 21 galaxy of communication between you, Mr. King, Mr. Russo,
22 and Mr. Russo? 22 and you and Mr. Carstarphen; is that correct?
23 Q No. 23 A Yes.
24 A Mr. Hill, do you want copies of items that 24 (Exhibit 79 was marked for
25 are interspersed that are the same copies? 25 identification.)
SILVER STATE COURT REPORTERS (775) 329-6323 SILVER STATE COURT REPORTERS (775) 329-6323
82 84
1 Q No. 1 BY MR. HILL:
2 A Okay. Mr. Hill, do you want copies of the 2 Q Mr. Proctor, I'1]1 hand you Exhibit 79. I
3 attachments to the e-mails? 3 believe you produced these in this case and you told us
4 Q What are they? 4 these are bills for services in this case; is that
5 A Recaps of Bate stamp nunbers. 5 correct?
6 Q What I want is communication of e-mails 6 A Yes, sir.
7 between you, Mr. Carstarphen, Mr. King and Mr. Russo 7 Q And these are in fact true, correct and
8 because I believe that there have been substantial 8 complete copies of the bills that were submitted to Mr.
9 numbers that have been withheld fron us. 3 Carstarphen for services -- for all services in this
10 MR. HILL: Let's take a break. When you're 10 case? :
11 done with that, give those to my staff, please, and 11 A Yes, sir.
12 they'll make copies. 12 Q And have you billed for any services since
13 (A recess was taken at 11:35 a.m.) 13. the date of your prior deposition?
14 -o- 14 A Yes, sir.
15 15 Q Anything that you did that you've not
16 16 already described for me here today?
17 17 A No, sir.
18 18 Q So all the e-mails that are referenced on
19 19 your billing should be in 77 or 78, right?
20 20 A Yes, sir.
21 21 Q Can you turn to the invoice dated January
22 22 31st, 2009.
23 23 A January 31st, 2009. Yes, sir.
24 24 Q I see a billing entry for January 7, 2009.
25 25 Can you tell me if that's in 77 or 78. And if you want
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1 to expedite things, I'11 share with you, my staff -- I 1 never raised as a defense.
2 withdraw the question. They put one together that's 2 Q Anything else?
3 chronological. 3 A And so I don't know on its face value that
4 Continuing onto the next page, though, 4 that allegation, that that's what that consulting fee was
5 please. The next to the last entry, the one dated 1/6/09 5 about, it had nothing do with that.
6 at the bottom under your name? 6 Q That doesn't answer my question. My
7 A Yes. 7 question was, do you disagree that American Medflight was
8 Q Finalized preliminary report sent to 8 not paying its fair share of overhead expenses between
9 attorney. 9 '95 and '99?7 You went to the next -- you put a spin on
10 FN Okay. 10 that.
11 Q Where is that preliminary report? 11 T want to know if you have any basis to
12 A It will either have to do with all of the 12 disagree with the analysis what Mr. Thomas did on that
13. documents -- this is when you were having discussions 13. subject?
14 back and forth in the federal case on the documents. 14 A I want to see more proof.
4s Q Mr. Proctor, if you could pull out for us 15 Q So at this point in time is, no, you do
16 the preliminary report to which you're referring. 16 not, but you'd like to see additional documentation?
17 You handed me a document -- let me go ahead 17 A Yes, sir.
18 and mark it Exhibit 80, a 2-page document entitled 18 Q Thank you.
19 Carstarphen versus Milsner, documents to be produced 19 Have we discussed all of the opinions that
20 pursuant to subpoena in a civil case. 20 you have formed pertaining the Mr. Milsner and his
21 (Exhibit 80 was marked for 21 interactions with American Medflight?
22 identification. ) 22 A At this time, yes.
23 BY MR. HILL: 23 Q Has anything been added to your binders
24 Q These two pages, Exhibit 80, sir, is that 24 since the last time you were here?
25 what you're telling me is your preliminary report? 25 A I don't believe so.
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86 88
1 A Yes. 1 Q Anything removed from your binders since
2 Q And we should then also in 77 and 78 have 2 the last time you were here other than the documents
3 the correspondence to client? 3 we've pulled today?
4 A Unless it was done telephonically, Mr. 4 A TI don't believe so.
5 Hill. 5 Q Do you have any basis to assert that
6 Q Well, correspondence -- 6 Milaner withheld any information in his possession
7 A My recollection is that there were a lot 7 pertaining to the transaction with the ESOP from Mr.
8 of ~-- or several rewrites on the documents back and forth 8 Carstarphen?
9 that they were requesting. 9 A Not recently.
10 Q The documents that look like Exhibit 80? 10 Q Can you explain, please?
11 A Yes. 11 A Well, I just went through binder mumber 3
12 Q But your testimony is that what we have as 12 which had all the document discussions, pleadings,
13° Exhibit 69, I believe it is, your report, the April 13 correspondence back and forth about not turning over
14 report and the February prior report, those are it? 14 documents and alleging to tur over documents and all
15 There were no rough drafts submitted to counsel in 15 that.
16 advance? 16 So there was some dispute about what wag
17 A That's correct, Mr. Hill. 17 turned over and what was not tured over the past several
18 Q Okay. Do you disagree with Mr. Thomas's 18 years.
19 statement in his report that American Medflight had not 19 Q Let me put a finer point on my question,
20 paid its fair share of overhead in the early years, 20 sir.
21 between '95 and '99? 21 I'd like you to focus on the meeting that
22 A Yes. 22 occurred December Sth, 2005.
23 Q On what basis do you disagree, sir? 23 A Okay.
24 A First of all, that was never alleged until 24 Q Do you have any evidence in your possession
25 recently. And then early on in the state case that was 25 that prior to that meeting there was any information that

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1 Milsner had from any source pertaining to the ESOP or the 1 A No, it might actually involve into the
2 transaction that he was going to enter into that he 2 renting of it as well,
3 withheld fron Mr. Carstarphen? 3 Q I'm asking for your understanding of the
4 A Well, Mr. Hill, if it hasn't been produced, 4 this new assignment, sir.
-S I wouldn't know what might have been withheld, but I 5 A I'd like to do the renting as well as
6 don't know of anything that was withheld. 6 lease.
7 Q Thank you. 7 (Exhibit 81 was marked for
8 Have you told me about all of the harm that 8 identification. )
9 you believe has occurred to Mr. Carstarphen in relation 9 BY MR. HILL:
10 to the matters arising out of his ownership of the stock 10 Q I show you Exhibit 81, Mr. Proctor.
11 in American Medflight? 11 This purports to be an e-mail from you to
12 A I think both in my prior report, Mr. Hill, 12 Mr. Carstarphen. Is that in fact what it is?
13° my testimony on April 26th, and other testimony, we 13 A It appears to be, yes, sir.
14 indicated that there were other areas of damages that we 14 Q Did you send this e-mail to him on or about
15 were not asked to explore or quantify that could further 15 that date?
16 be determined or explored. 16 A It would appear to be so, yes.
17 Q Understood. Other than those items that 17 Q Did Mr. Carstarphen get back to you with
18 you've already identified, are there any others? 18 the staffing level and positions that he contended AMF
19 A No, sir. 19 needed from 2005 on?
20 Q Has Mr. King or Mr. Russo expressed, or Mr. 20 A Yes.
21 Carstarphen for that matter, expressed to you any things 21 Q Anything that we haven't talked about here?
22 that they anticipate asking you to do in relatim to this 22 A No. And you already have copies of those
23> matter between now and trial? 23 sections of the --
24 A I can't specifically recall that, but we're 24 Q Thank you.
25 always kind of fluid. 25 And same question for number 2 on that
SILVER STATE COURT REPORTERS (775) 329-6323 SILVER STATE COURT REPORTERS (775) 329-6323
30 92
1 MR. RUSSO: I asked him to look into the 1 e-mail, the salary levels and benefits and arrangements
2 leasing issue. ~ 2 for them?
3 THE WITNESS: There was the issue, yes, we 3 A Yes.
4 just discussed about the leasing of the aircraft. 4 Q And do we already have that?
5 BY MR. HILL: 5 A Yes, sir.
6 Q Tell me what you understand to be the 6 Q And did you inquire of Mr. Carstarphen how
7 assignment, sir. 7 he arrived at the salary levels and benefits?
8 A To determine whether or not the 8 A Yes, I did.
9 transactions between AMP and RFS are at a fair rate. Hag 3 Q What did he tell you?
10 Mr. Carstarphen been damaged because of the terms or the 10 A My recollection is that's just what he
11 amounts of those arrangements, and how that might play in 11 thought and what his recollection was.
12 with any of the assets that AMF should have purchased or 12 And was as I testified on April 26th at my
13 leased. 13 deposition on that date, we actually found that -- we
14 Q How do you plan to go about this 14 found better sources of information that we used.
15 assignment, sir? 15 Q Have you found Mr. Carstarphen's
16 A Well, since it was just brought up, I 16 information to be unreliable?
17 haven't had a chance to really think about it too much. Ww A I wouldn't say unreliable, no.
18 But IT think we'll start doing some research in the next 18 Q So you found Mr. Carstarphen's information
19 day or so. 19 to be reliable?
20 Q And in terms of assignment, do you 20 A Generally reliable, yes.
21 distinguish between leasing and renting? 21 Q And you've relied on it in your report?
22 A Yes, as we discussed on April 26th the 22 A To some extent, yes.
23 difference between leasing and renting. 23 Q What did he tell you about nunber 4, any
24 Q So this assignment pertains solely then to 24 special requirements, licensing, et cetera that staff
25 the leasing? 25 would need?

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93 95
1 A I believe he said they had to be certified 1 I, JAMES S. PROCTOR, deponent herein, do hereby
2 I think within -- is it 121 possibility? 2 certify and declare under penalty of perjury, the within
3 Q 135? 3 and foregoing transcription to be my deposition in said
4 A 135 maybe. 4 action, subject to any corrections I have heretofore
5 Q One of those numbers? 5 submitted, and that I have read, corrected, and do hereby
6 A Yes, one of those numbers. I don't know 6 affix my signature to said deposition.
7 the FAA regulations as much as I know the Tax Code. 7
8 Q Did he provide you with any documentation 8
9 or just a narrative? 9 ames Sy or
10 A It was just narrative or conversation, I do 10
11 recall that there was some correspondence back and forth, 11
12 which I think you have copies of with respect to that. 12
13° And I might have actually gone and looked at the FAA 13
14 regulation on that as well. 14
15 (Exhibit 82 was marked for 15
16 identification.) 16
STATE OF NEVADA )
7 MR. HILL: Exhibit 82. And, counsel, I'll 17 ) ss:
COUNTY OF WASHOE )
18 get you a copy of that in a mimte. 18
19 BY MR. HILL: 19 Subscribed and sworn to before me this day of
20 Q This lcoks like some sort of amortization 20 , 2010.
21 schedule, at least the top of it is. Is that what you 21
22 understand this to be? 22
23 A Yes, at least, as you say, the top four 23 Notary Pupric
24 pages. 24
25 Q Top four pages. 25
SILVER STATE COURT REPORTERS (775) 329-6323 ‘ SILVER STATE COURT REPORTERS (775) 329-6323
94 96
1 Did you prepare that top four pages or have 1 CERTIFICATE OF REPORTER
2 it prepared as part of your analysis? 2 STATE OF NEVADA \
as:
3 A Yes, sir. 3 COUNTY OF WASHOE )
4 MR. HILL: Let's take a break for a minute. 4
. . I, JERRY J. SILVEN, a duly commissioned Notary
5 I think we're done. 5 Public, Washoe County, State of Nevada, do hereby
certify:
6 (Off the record.) 6 Y .
That I reported the deposition of the witness,
7 +BY MR. HILL: 7 JAMES 8S. PROCTOR, commencing on Thursday, dime 3, 2010,
. at the hour of 9:15 a.m.;
8 Q Mr. Proctor, have there been any questions 8
That prior to being examined, the witness was by
9 that I've asked you that you want to change your answers 9 me first duly swom to testify to the truth, the whole
truth, and nothing but the truth; that I thereafter
10 to? 10 transcribed my said shorthand notes into typewriting and
. that the t itten transcript of said sition is a
11 A I don't believe so, Mr. Hill. ca complete and accurate record of testimony provided
by witness at said time.
12 MR. HILL: In that cage, I'll pass the 12
, I further certify (1) that I am not a relative or
13 witness. 13 employee of an attorney or counsel of any of the parties,
. nor a relative or loyee of amy attorey or counsel
14 MR. RUSSO: No questions. 14 involved in said action, nor a person financially
. interested in the action, and (2) that to NRCP
15 MR. HILL: All right. We're done. 15 30 (e), transcript review by the witness was requested.
16 (The deposition was adjourned at 12:06 p.m.) 16 IN WITNESS WHEREOF, I have hereunto set my hand
in my office in the County of Washoe, State of Nevada,
17 -o00- 17 this 8th dayof Ame, 2010.
18 18
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Jerry J’ Silven, CR 55
21 21 ny
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EXHIBIT 10

EXHIBIT 10

 
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MINUTES OF SEVENTEENTH MEETING
OF ‘
THE BOARD OF DIRECTORS OF

AMERICAN MEDFLIGHT, INC.

The seventeenth meeting of the Board of Directors of AMERICAN MEDFLIGHT, INC.,
was held by phone, Reno, Nevada 89502, on December 9, 2003, at 10:20 A.M.

Present were John R. Carstarphen, Jack A. Dawson, Richard L. Milsner, by phone.
This being all of the Board of Directors of American Medflight, Inc.

On a motion duly made and unanimously carried, John R. Carstarphen was elected
Chairman of the meeting and Jack A. Dawson was elected Secretary thereof.

The minutes of the sixteenth meeting of the Board of Directors were read.

 

"NOW, THEREFORE, BE IT RESOLVED: That the minutes of the sixteenth
meeting of the Board of Directors shall be adopted and placed in the corporate
minute book. "

It was discussed to sell the corporation to the employees thru an ESOP Plan to be
administere enke and Associates to be concluded on or before December 31, 2003 at a
cost of administration not to exceed $9,000 and Document costs not to exceed $4,000. It was
also discussed to change the corporation tax status to "C" corp. as required by the ESOP.

"NOW, THEREFORE, BE IT RESOLVE: That the Board of Directors approve
and ratified this expense and the adoption of the ESOP Plan."

There being no further business, the meeting was adjourned.

     

A. Dawson, Secretary

AMF-62063

 

 
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Jack /A. Dawson, Director, President and Secretary

 

 

 

 

Richard L. Milsner, Director and Treasurer

 

AMF-62064

 
 

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EXHIBIT 11

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KING & RUSSO, LTD
PATRICK O. KING, ESQ., BAR NO. 5034

J. SCOTT RUSSO, ESQ., BAR NO. 6477
1677 Lucerne Street, Suite B

 

 

Minden, NV 89423
Telephone No. vr 75) 783-7500
Facsimile No. (775) 783-7600
Attorneys for Plaintiff John Carstarphen
_ UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEVADA - RENO
John Carstarphen, an individual Case No.: 3:07-cv-00542-ECR-RAM
Plaintiff,
VS. . PLAINTIFF JOHN
CARSTARPHEN’S RESPONSE TO
SECOND SET OF
Richard Milsner, an individual and DOES 1| INTERROGATORIES
through 10, inclusive.
Defendants.
PROPOUNDING PARTY: RICHARD MILSNER
RESPONDING PARTY: JOHN CARSTARPHEN

Plaintiff John Carstarphen (“Responding Party” and/or “Carstarphen”) hereby
responds to the Second Set of Interrogatories, propounded by Defendant Richard Milsner
(“Propounding Party” and/or “Milsner”) as follows:

GENERAL OBJECTIONS AND QUALIFICATIONS

Responding Party interposes the following General Objections and Qualifications to each
of the Interrogatories. These objections are made to each and every individual Interrogatory and
are incorporated by reference into each of the specific responses which are set forth below.

The responses by Responding Party to the Interrogatories should not be construed as an

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admission that such information and/or documentation is relevant to the subject matter of this
litigation or is admissible evidence.

Responding Party's lack of objection to the Interrogatories, or any individual
Interrogatory contained therein, is not to be deemed an admission that the Interrogatory is not
otherwise seeking privileged information and/or documentation or objectionable on some other
grounds. |

All of the responses contained herein are based only upon the information and documents
which are presently available to and specifically known to Responding Party, and discloses only
those contentions which are presently asserted by Responding Party upon the facts known.

It is anticipated that further discovery, independent investigation, legal research and
analysis will supply additional facts, add meaning to the known facts, as well as establish
entirely new factual conclusions and legal contentions, all of which may lead to substantial
additions to, changes in and variations from the contentions herein set forth.

The following responses are given without prejudice to Responding Party's right to
produce evidence of any subsequently discovered facts which Responding Party may later recall.
Responding Party accordingly reserves the right to change any and all responses herein as
additional facts are ascertained, analyses are made, legal research is completed and contentions
are made. The responses contained herein are made in a good faith effort to supply as much
factual information and as much specification of legal contentions as is presently known, which
should in no way be to the prejudice of Responding Party in relation to further discovery,
research or analysis.

Responding Party has:a made a diligent search and reasonable inquiry in an effort to
respond to each of the Interrogatories as Responding Party understands and interprets each
Interrogatory. If Propounding Party subsequently asserts an interpretation of the Interrogatories

which differs from that of Responding Party, Responding Party reserves the right to supplement

his objections or responses, or both.

 

 
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RESPONSE TO INTERROGATORIES
INTERROGATORY NO.6

As to each transaction by American Medflight, Inc. in which you refer to in your
First Amended Complaint and as to which you claim any right to compensation:

(a) identify each transaction to which you refer by date, amount and
substance of each transaction (i.e., what labor or materials are
furnished);

(b) identify all documents that memorialize all components, portions or
aspects of each transaction identified;

(c) specifically identify each labor or material component furnished in any
identified transaction that you contend was not reasonably necessary or
appropriate under the circumstances, was not actually furnished, or was
defective or deficient;

(d) specifically identify any labor or materials in any identified transaction
for which AMF was overcharged (i.e., charged more than was

appropriate in light of charges for similar labor and materials in the local] _

industry).
RESPONSE TO INTERROGATORY NO.6
Carstarphen is reviewing the voluminous document production from AMF and
RES necessary to respond to this interrogatory. Pursuant to the agreement of counsel,

Carstarphen will respond further to this interrogatory on or before August 14, 2009.

INTERROGATORY NO.2_

State each and every error or omission, provision, term or other factor about the

structure, organization, operation or any other aspect of the AMF ESOP that you contend

has not been appropriate in any way or to any extent.

 

 

 

 

 
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RESPONSE TO INTERROGATORY NO.2

Carstarphen does not contend that was or is an inappropriate error, omission,
provision or term in the structure, organization or operation of the AMF ESOP.

Carstarphen’s contention in this case is as follows:

Prior to the December 5, 2005, Board of Directors and Stockholders’ Meeting,
Carstarphen was provided with an appraisal of AMF prepared by Menke Associates,
stating that the fair market value of AMF was approximately $5.5 Million at that time.
Responding Party very much was considering selling his stock to the ESOP upon the
terms discussed at the meeting. However, prior to entering the meeting, Milsner told
Carstarphen that he could not participate in the sale to the ESOP unless he dismissed his
state court lawsuit. In the lawsuit, Carstarphen contended, among other things, that
Milsner had wrongfully diverted millions of dollars from AMF for the benefit of RFS.
The condition to participation in the sale, dismissal of the lawsuit, was the only reason at
that time that Carstarphen did not agree to sell his stock at the ESOP at that time.

As of the December 5, 2005 meeting, Carstarphen was aware that the AMF ESOP
did not have cash to pay Milsner for his stock and that a note from the AMF ESOP would
be required. However, Carstarphen had no knowledge that the AMF ESOP executing a
note to would cause a liability by AMF. Carstarphen did not know that Milsner’s sale to
the AMF ESOP would have any adverse effect on the fair market value of AMF.

t was only when Carstarphen first provided with the year end appraisal of AMF,
December 31, 2005, that he first learned that the AMF ESOP liability to Milsner would
devalue AMF and therefore Carstarphen’s stock. Carstarphen contends that, had he been
aware on December 5, 2005, that the AMF ESOP’s obligation would correspondingly
devalue AMF, he would have had to balance the reasonable value of his lawsuit versus

the loss in value of his stock, and may very well have decided to sell his stock to the

ESOP at that time.

 
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DATED: July 17, 2009

KING & RUSSO, LTD.

 

By:

 

 

 

 

4 cott Russo
Attorngs for Plaintiff

 

 
 

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VERIFICATION

STATE OF NEVADA, COUNTY OF WASHOE

| have read the foregoing PLAINTIFF JOHN CARSTARPHEN’S RESPONSE
TO SECOND SET OF INTERROGATORIES and know its contents.

[ ] CHECK APPLICABLE PARAGRAPHS

—X] lam a party to this action. The matters stated in the foregoing document are true
of my own knowledge except as to those matters which are stated on information and
belief, and as to those matters | beliéve them to be true.

[] {arm [ ] an officer [ }] a partner [Ja of

 

a party to this action, am authorized to make this verification for and on its behalf, and |
make this verification for that reason. [ ] 1 am informed and believe and on that ground
allege that the matters stated in foregoing document are true.

[] | am one of the attorneys for
a party to this action. Such party is absent from the county of aforesaid where Such
attorneys have their offices, and | make this verification for and an behalf of that party
far that reason. | am informed and believe and on that ground allege that the matters
stated in the foregoing document are true.

Exeouted on X July 17,2009 ___., at, ___s- Reno

Nevada 2

 

| declare under penalty of perjury under the laws of the United States of America that
the foregoing is true and correct.

John Carstarphen
Type or Print Name

 

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EXHIBIT 12

EXHIBIT 12
 

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San Francisco, California

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Morristown, New Jersey
Atlanta, Georgia
Chicago, Illinois
Portland, Oregon
MENKE & ASSOCIATES, INC. AFFILIATE:
ESOP ADVISORS AND BANKERS BSI - Los Angeles, California
December 5, 2003
PERSONAL AND CONFIDENTIAL
Mr. Rich Milsner
American Medflight, Inc.
1233 Alpine Road, Suite 200
Walnut Creek, CA 94596
Dear Rich:

’ The purpose of this letter is to set forth our recommendations and the terms of our proposal for
the design and qualification of an Employee Stock Ownership Plan (“ESOP”) for American
Medflight, Inc.(the “Company”).

. 45 The main objectives of the use of an Employee Stock Ownership Plan for American Medflight,
Inc., as we understand them, are as follows:
1, To provide a tax-deductible and flexible, in-house market for the acquisition of your
shares,
2, To provide you with the opportunity to sell some or eventually all of your shares tax-free,
subject to the rollover provisions of the Internal Revenue Code, based upon your
timetable.
3. To enable the Company to borrow money (if it so desires) for the stock purchase and to

repay the entire loan with before-tax dollars.

IL

4, To provide a means for your employees to earn a benefit that is tied to the long-term
success of the business.

5. To attract, retain, motivate and reward productive employees.

6. To decrease the Company’s income tax liability.

7. To provide the Company with a shareholder "liquidity and diversification" technique that
may be preferable to the alternatives of stock redemption, which requires after-tax

dollars, or liquidation of the corporation, or sale of the corporation to an outside party.
} RFS 00706

 

255 California Street, 10th Floor, San Francisco, CA:94111-4916 * Phone: (415) 362-5200 © Fax: (415) 398-2260 * www.menke,com

 

OVER 2,000 ESOPs SINCE 1974

 
 

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MENKE & ASSOCIATES, INC.

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_ Mr. Rich Milsner
December 5, 2003
Page 3

6. The Company would make annual contributions to the ESOP in cash in an amount
necessary to pay the interest and principal payments on the loan. Pursuant to the Internal
Revenue Code, these contributions are tax-deductible for federal income tax purposes in
any amount up to 25% of covered compensation to the extent necessary to pay the
principal on the loan. Over and above the 25% limitation, the Company may contribute
dividends (to the ESOP only) which are also tax-deductible if such dividends are used to
repay debt and are paid during the fiscal year. .

In addition, the Company may contribute and deduct however much is necessary to pay
the interest on the loan even if this amount exceeds 25% of payroll. Contributions to pay
interest are counted in the 25% limit if more than one-third of the contributions are
allocated to highly compensated employees,

Note: The Company’s assets typically serve as a collateral for the loan. Additional —
collateral is sometimes required and may take the form of personal guarantees of a
seller or a pledge of the securities purchased from the proceeds of the loan. The
pledge may be limited in both amount and duration.

7. Please note that it will no longer be necessary to switch to a regular C corporation in
order to purchase Company stock. Effective January 1, 1998, the purchase of Company
stock by a qualified plan will no longer result in termination of the S election. However,
in the case of an ESOP that is maintained by an S corporation, the seller may not take
advantage of the tax-free rollover provisions of Section 1042 of the Internal Revenue
Code. Accordingly, in most cases it will be advisable to switch to a C corporation in
order to avoid these limitations.

8. Finally, the sale price for the common stock would be at fair market value as required by
the Internal Revenue Code and related regulations.

Rich, I have only outlined the general structure of our proposal. A great many variations are —
possible, depending on policy decisions and individual circumstances. Some of the advantages
we feel you should consider under an ESOP are these:

1. An in-house market for your stock is created by the ESOP.
2. The ESOP enables the repurchase of outstanding shares tax-free, subject to the rollover
provisions. You must buy stocks and. bonds of American corporations to qualify for tax-

free rollover.

3. The ESOP enables the repurchase of outstanding shares with tax-deductible dollars to the
Company, as contrasted to after tax funds used in a stock redemption.

4. The ESOP permits borrowing wherein not only the interest but also the principal
payments are tax deductible. RES 00708

 

 
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MENKE & ASSOCIATES, INC.

Mr. Rich Milsner
December 5, 2003

Page 4

5. The Company acquires a strong employee motivational too] and employees acquire a
beneficial interest in the Company for which they work. The employee/owners have a
unique opportunity to build wealth through stock appreciation without personal liability.

6. ESOPs provide continuity of ownership and control. The ESOP committee is appointed
by the Board of Directors. Thus, voting control continues as under existing arrangements
or can be arranged in the manner you specity.

7. The ESOP could be prefunded with cash for several years in order to purchase your stock
at a future time.

8. The ESOP can be used to enable the Company to continue to finance its expansion out of

pretax earnings of the Company through the issuance of newly issued common stock.
Borrowing through an ESOP also improves a Company’s cash flow versus traditional
borrowing, which benefits a business further by improving its credit worthiness.

9. The ESOP enables the Company to significantly decrease, and possibly eliminate, its
income tax liability.

Should you desire to go forward with an Employee Stock Ownership Plan for the Company, the
services of Menke & Associates in connection with the design and qualification of the Plan are as
follows:

FINANCIAL CONSULTING

Menke & Associates, in conjunction with corporate management, will design a plan for the
acquisition of stock by the ESOP. Such plan shall include advice and assistance in structuring
the transaction so as to comply with all applicable IRS contribution and allocation limitations.
Menke & Associates will also be available to assist in the explanation of any aspects of the
ESOP or the transactions thereunder to others who may be involved, such as the shareholders,
Directors, Company counsel, Company auditors and Company lenders.

DRAFTING OF PLAN DOCUMENTS

Menke & Associates will work with you and, at your election, your counsel to design an
Employee Stock Ownership Plan and the related Employee Stock Ownership Trust Agreement.
When these documents and all policy and procedural questions are resolved, the final documents
will be submitted for adoption and signature. The form and content of The Plan and Trust shall
be designed by Menke & Associates to reflect and facilitate the Company’s desires and
preferences with respect to the various items covered therein. In addition, Menke & Associates
will work with you and your counsel to prepare the necessary corporate minutes, committee
minutes and stock purchase agreement. RFS 00709

 

 
 

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MENKE & ASSOCIATES, INC.

Mr. Rich Milsner
December 5, 2003
Page 5

(Menke & Associates, Inc. is not licensed to practice law under the various state law
jurisdictions. Accordingly, all state law matters, including stock splits, amendments to Articles
of Incorporation, permits for the issuance and/or transfer of stock, and the like, must be handled
by local counsel.)

OBTAIN INTERNAL REVENUE SERVICE APFROVAL

When the ESOP and the related documents are in a form satisfactory to you, Menke &
Associates will prepare the application to the Employee Plans/Exempt Organizations (EP/EO)
Division of the Internal Revenue Service for a Determination Letter. Menke & Associates will
submit the application (Forms 5300, 5309 and 2848), together with the Plan and Trust
Agreement, to the Internal Revenue Service and will explain and work with the EP/EO
representatives of the Internal Revenue Service in connection with obtaining IRS approval.

The Revenue Act of 1987 requires a determination letter application fee that ranges from $700 to
$1,250 per plan. This fee is payable directly to the Internal Revenue Service upon submission of
the Plan documents.

~ EMPLOYEE COMMUNICATIONS

Menke & Associates shall prepare a general explanation booklet, which explains the background
and philosophy of the ESOP, and a Summary Plan Description booklet, which explains the

technical aspects of the Plan. In addition, Menke & Associates shall design a color slide

presentation about the Plan and shall have Sherman Coultas or John Givens, my partners in

charge of employee communications, speak to the covered employees at meetings held during the

course of one day at one location for the purpose of communicating the Plan in greater detail and
answering questions.

To minimize travel costs, we strive to limit employee briefings to the first week of each calendar
month. By following this schedule we are able to prorate travel costs among several clients
within certain geographic regions. Briefings which require extra day(s) consistent with client
needs will be subject to an incremental fee of $1,000 per day.

ADMINISTRATIVE FORMS

Menke & Associates shall design and prepare various administrative forms that are necessary in
operating the Plan and in periodically advising the Plan participants of their accumulated Plan
benefits and of their options and alternatives under the Plan, with respect to the distribution of
Plan benefits.

The foregoing services do not include Annual Administration Services. See subsequent

RFS 00710

paragraph entitled “Annual Administration Services,”

 

 
 

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MENKE & ASSOCIATES, INC.

Mr. Rich Milsner
December 5, 2003
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PAYMENT SCHEDULE

Payment of $15,000 for the aforementioned services (excluding the initial Stock Appraisal that is
referred to in the separate proposal) shall be made in accordance with the following schedule.

l. 35% upon delivery of this proposal to Menke & Associates, Inc. as a retainer.
2. 40% upon delivery to the Company of the Plan and Trust Agreement.

3. 15% upon submission of the Plan and Trust Agreement to the Internal Revenue
Service, together with other required documents.

4. 10% upon delivery of the Summary Plan Description (SPD) and the
Administrative System.

Menke & Associates will absorb all out-of-pocket expenses, with the exception of expenses
incurred in connection with travel on behalf of the Company and the fee charged by the IRS for
4 plan submissions. Menke & Associates guarantees the Plan will receive a favorable
Determination Letter from the Internal Revenue Service. Otherwise, all fees paid, less out-of-
pocket costs, will be refunded.

The services and associated fees, as stated in this proposal, will be honored by Menke &
Associates, Inc. for a period of one year from the date of this proposal.

ANNUAL ADMINISTRATION SERVICES

Menke & Associates shall provide the annual administration services necessary to administer and
operate the Plan. The administration services include the following: (a) allocation of contributions,
forfeitures and investment gains and losses as of each anniversary date; (b) preparation of individual
statements of accounts for distribution to employees; and (c) preparation and filing of Internal
Revenue Service annual tax returns. The fee for the Annual Administration Services is based upon
the number of participants, as set forth in the attached Schedule. .

OPTIONAL SERVICES:

ASSISTANCE IN ARRANGING FINANCING

If requested by the Company, Menke & Associates, Inc. shall assist the Company in obtaining
financing for the proposed transaction'by introducing the Company to lenders who are active in
making ESOP Joans. Menke & Associates, Inc. shall (a) prepare a preliminary loan request
which shall describe the operations of the Company and the structure of the proposed transaction;
(b) solicit indications of interest from such potential lenders; (c) assist in screening such potential
lenders; and (d) assist in explaining any aspects of the transaction to such potential lenders.

, RES 00711

 

 
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MENKE & ASSOCIATES, INC.

Mr. Rich Milsner
December 5, 2003
Page 7

SUPPLEMENTARY DOCUMENTS

If requested by the Company, Menke & Associates, Inc. shall draft other documents incidental to
the installation of an ESOP including the following: (a) supplementary executive retirement
plans (SERP); (b) management stock bonus plans; (c) revised buy/sell agreements; (d) loan
agreements; (e) pledge agreements; and (f) opinion letters, The fees for drafting the above
documents are set forth in the attached schedule.

OTHER

If requested by the Company, Menke & Associates, Inc. shall assist the Trustees in obtaining the
following services through service providers recommended by Menke & Associates, Inc.

Independent Review of Valuation Report
Fairness Opinion

1

2

3. Due Diligence Review

4 Independent Fiduciary Services
5

Independent ESOP Legal Representation

We hope the foregoing fully describes our program, and the services and fee arrangements. At
your convenience, I would like to schedule a meeting to answer any questions you may have on
the ESOP idea, as well as to discuss in detail all pertinent plan provisions you will require,
should you decide to proceed with the acceptance of this proposal.

Very truly yours,

"eh a INC.

Kyle Coltman
Chief Executive Officer

KC:rbe
Enclosures

ACKNOWLEDGMENT: The foregoing proposal is hereby accepted on behalf of
American Medflight, Inc.

Date: By:
Authorized Officer

 

RFS 00712

 

 
 

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EXHIBIT 13

 

EXHIBIT 13

 

 
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RICHARD G. HILL, ESQ.

State Bar No. 596

CASEY D. BAKER, ESQ.

State Bar No. 9504

RICHARD G. HILL, CHARTERED
652 Forest Street

Reno, Nevada 89509

(775) 348-0888 .
Attorney for Richard Milsner

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEVADA - RENO
JOHN CARSTARPHEN, : )

Plaintiff, Case No.: 3:07-CV-00542- ECR-RAM
Vv.

)
)
5
RICHARD MILSNER, an individual, )
DOES 1 through 10, }
)
)
)
)
)

Defendants.

 

AND RELATED CLAIMS

 

DECLARATION OF RICHARD L. MILSNER

RICHARD L. MILSNER, being first duly sworn, deposes and under penalty
of perjury avers as follows: |

1. Iam a resident of the State of California and over 18 years of age. This
declaration is based on my personal knowledge, except for those matters stated on
information and belief, and as to those items I believe them to be true. This declaration is
made in support of my Motion for Summary Judgment, and represents my testimony if

called upon to present same in court.

2. In 1993, Jack Dawson (1/3), John Carstarphen (1/3), and myself (1/3)
agreed to form Aero Medicate, Inc., which was a Nevada corporation. That entity later

changed its name to American Medflight, Inc. (“AMF”). AMF was formed to provide fixed

 
 

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Case 3:07-cv-00542-RCJ-WGC Document 131-4 Filed 07/06/10 Page 46 of 99

1 || wing air ambulance services to rural Nevada.
2
3 3. When AMF was formed, Jack Dawson (50%) and I (50%) owned and
4 || operated Reno Flying Service, Inc. (“RFS”). RFS was an established business, located at the
5 | Reno Airport, offering flight school, charters (“PT-135") and a fixed base operation,
6 || servicing and repairing airplanes.
7
8 4. The initial capitalization of AMF was $25,000.00 from each shareholder,
9 || with one-half as debt and one-half as equity. John Carstarphen’s loan was repaid by AMF.
10 || As of that time, neither the loan by Dawson nor mine were repaid.
14
12 5. Atits formation, because AMF was thinly capitalized, all three shareholders
13 || guaranteed virtually all debt of AMF. That was a material consideration for each of us in
14 || entering into that business.
15
16 6. From its inception, RFS subsidized AMF. As mentioned, before AMF was
17 || formed, RFS held a Part 135 charter license from the FAA. This meant that it had (and paid
18 || for) its own staff, as required by federal regulations, including chief pilot, director of
19 || operations and director of maintenance. In an effort to assist AMF, RFS agreed that it
20 || would share those employees with AMF, AMF was supposed to pay one-half of those |
21 || employees, as well as other expenses of its operation, but it did not. I have reviewed the
22 || study by David Thomas, and believe it accurately stated the extent of out-of-pocket subsidy
23 | of AMF by RFS for 1995-1999. |
24
25 7. In 1998, Jack Dawson asked me to buy his stock in both RFS and AMF. He
26 || needed the money for personal reasons. In accordance with the Bylaws, the proposal that
taworrce 2 | purchase 740 of his 800 shares was submitted to both AMF, and John Carstarphen,
naif ey 28 || personally. Mr. Carstarphen would not purchase the stock, and both Dawson and I were
Fax(778) 348-0058 2

 

 
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of the opinion that AMF could not afford to do so. I later acquired Dawson’s remaining 60

shares in AMF in exchange for a horse.

8. lam aware that John Carstarphen contends that the $5,000.00 per month
payment, which is called a “consulting fee,” is really me bleeding AMF to buy Dawson’s
stock. that is not true. In the first instance, as mentioned above, AMF owed RFS money.
Second, at that time, AMF was simply not strong enough. Third, my payments to Dawson

were $15,000.00, not $5,000.00 per month.

Go Oo ON DO oO Fe W DY

g. In December 2007, I sold all of my shares in RFS to an ESOP created for

11 |) that company by Menke & Associates.

13 10. I did not meet with John Carstarphen before the December 5, 2005
14 || shareholder meeting. I never told John Carstarphen that he could not sell his AMF stock
15 || tothe AMF ESOP unless he dismissed his state court case. What I told him, as set forth in
16 || the transcript of that meeting, was that I would not personally guarantee a $1,000,000 loan

17 || to provide cash to him if that lawsuit.was pending.

19} 11. I ensured that John Carsarphen received all documents and data from
20 || Menke & Associates regarding the AMF ESOP and AMF. I withheld no data I had on the
21 || AMF ESOP from John Carstarphen.

LAW OFFICE
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Case 3:07-cv-00542-RCJ-WGC Document 131-4 Filed 07/06/10 Page 48 of 99

—_

I declare under penalties of perjury of the laws of the State of Nevada and the
United States of America that the foregoing is true and correct.
DATED this 30 _ day of June, 2010.

VA at Ck.
RICHARD L-MILSNER

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Soak onNt |= 6 © &BN GOA BR woe & Ss

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EXHIBIT 14

EXHIBIT 14
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Case 3:07-cv-00542-RCJ-WGC Document 131-4 Filed 07/06/10 Page 50 of 99

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gr
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State Bar No. 596

CASEY D. BAKER, ESQ.

State Bar No. 9504

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Attorneys for Defendant

UNITED STATES DISTRICT COURT

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FOR THE DISTRICT OF NEVADA - RENO

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NO =

John Carstarphen.
Case No.: 3:07-cv-00542-ECR-RAM

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Plaintiffs,

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V.

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Richard Milsner, an individual,
DOES 1 through 10,

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Defendants.

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AND RELATED CLAIMS.

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DECLARATION OF JACK DAWSON

hr NO
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JACK DAWSON, being first duly sworn, deposes and under penalty of perjury

NO
NO

avers:

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w

1. lam a resident of the County of Washoe, State of Nevada, and over 18 years

No
&

ofage. This declaration is based on my personal knowledge, except for those matters stated

1)
a

on information and belief, and as to those items I believe them to be true. This declaration

NO
o

is made in support of the Motion for Summary Judgment by Richard L. Milsner, and

No
~

“AW OFFICE represents my testimony if called upon to present same in court.
RICHARD G. HILL
Post Office Box 2551 28
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Case 3:07-cv-00542-RCJ-WGC Document 131-4 Filed 07/06/10 Page 51 of 99
1 2. [am the general manager of both AMERICAN MEDFLIGHT, INC., (“AMF”)
2 | and RENO FLYING SERVICE, INC. (“RFS”), and while having enjoyed a variety of titles,
3 || I have essentially been in charge of operating both companies since 1999, when John
4 | Carstarphen was terminated from AMF.
5
6 3. In1995, Richard L. Milsner, John Carstarphen and I joined together to form
7 | AMF, forthe purpose of providing fixed-wing air ambulance services to rural Nevada. AMF
8 || holds a “part 135” certificate from the FAA, which licenses AMF to operate an air-charter
9 || service. Each of us owned one-third of AMF, each of us contributed $25,000.00 (one-half
10 | debt, one-half equity), and each of us guaranteed the balance of AMF’s financial debt.
11 || Further, we had an agreement that if AMF lost $75,000.00, we would close it down. To
12 || monitor that eventuality, we created what are called “Monday reports,” weekly financial
13 }| data circulated to the three owners to enable us to closely oversee the financial affairs of
14 || AMF,
15
16 4. Prior to establishing AMF, Milsner and I (50/50) owned and operated Reno
17 || Flying Service, Inc. RFS already held a “part 135" certificate. RFS was engaged in business
18 || asa “fixed base operator” (FBO), and was also providing maintenance and repair service for
19 || airplanes, a flight school, and air charter services.
20
21 5. An FBO provides maintenance and repair services for airplanes. At its
22 || inception, it was understood and agreed by all concerned that AMF would not be competing
23 || with RFS in terms of services being offered relative to maintaining or repairing airplanes.
24 || Because AMF was so thinly capitalized, AMF could not have undertaken to establish a
25 || maintenance or repair facility of any kind when it was established.
26
27 It was specifically understood that AMF had its airplanes serviced at and by
28 || RES, because it was cheaper, proximate, and RFS was providing goods and services below
2

 

 
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Case 3:07-cv-00542-RCJ-WGC Document 131-4 Filed 07/06/10 Page 52 of 99

 

1 || market rate. That aspect of the business between AMF and RFS continued until after the
2 || first case was filed. As general manager of both AMF and RFS, I have always been careful
3 || to ensure that each and every transaction between the two companies was fair to each
4 || company, and that all interested parties had full information at all times.
5
6 6. AMF is licensed by the FAA and is highly regulated. For example, RFS and
7 || AMF, as part 135 licensee, are both required to have numerous specific positions staffed by
8 || qualified personnel. These include, by way of example and not limitation: chief pilot, chief
9 || mechanic, director of operations and director of maintenance.
10
11 7. From its inception, AMF could not afford to staff these positions or to open
12 || its own service department. Accordingly, an agreement quickly evolved by which AMF and
13 || RFS shared the employees in those federally required positions, and RFS worked on AMF’s
14 || airplanes. Thus, AMF was able to obtain the required staff, and the costs of necessary
15 || employees was substantially reduced split. RFS frequently carried a significant account
16 || receivable owed by AMF. All of this was known to John Carstarphen throughout the
17 || formation and ongoing operation of AMF.
18
19 8. Beginning in approximately the summer of 1999, it was agreed by Milsner,
20 || Carstarphen and myself that AMF was finally stable enough that it should start to repay the
21 || subsidy it had been receiving from RFS. This repayment was labeled a “consulting fee,” and
22 || the sum of $5,000.00 per month was agreed on. Attached to the Motion for Summary
23 || Judgment as Exhibit 29 are true and correct copies of checks signed by John Carstarphen
24 || paying that consulting fees, while he was president of AMF. He knew all of the facts related
25 |} to those payments when he signed those checks. That repayment was justified and fair. It
26 || terminated in December 2007. |
28 g. Attached to the Motion for Summary Judgment as Exhibit 2 is a review by
3

 

 
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1 || David Thomas, of Turner &Loy, Milsner’s accounting expert witness in this case. I have
2 || reviewed the supporting data on which his opinion is based, and it is accurate. His
3 || conclusions regarding the costs borne by RFS (Milsner and myself’) to support AMF are
4 || accurate. His conclusions are correct and supported by the books and records of both
5 || companies.
6
7 10. I have heard Mr. Carstarphen’s assertion that he was terminated twice at
8 || AMF, and that the reason was because he made inquiries about the consulting fee. That is
9 |} untrue. He was terminated once, and only once, in 1999. That was because other
10 || employees at AMF refused to fly with him. He would disappear from work for hours, and
11 || return smelling of alcohol. Also, he began to request that AMF hire additional staff to do
12 || his job.
13
14 11. We now know that in 1999, John Carstarphen met an individual named
15 || Martin Fruchtman from Los Angeles. Fruchtman had come to Reno to investigate the
16 || prospect of buying AMF. We now know that Fruchtman shared his business model with
17 || John Carstarphen, and that John Carstarphen took the opportunity discussed by
18 || Fruchtman for himself, and began preparations to leave AMF and open American Home
19 |} Companion.
20
21 12. I understand that John Carstarphen contends that Milsner/RFS usurped
22 || a corporate opportunity in relation to leasing airplanes rather than having AMF purchase
23 || airplanes itself. That assertion is false.
24
25 12.1. That issue goes back into the first lawsuit filed by John
26 || Carstarphen. As part of that case, Carstarphen falsely contended that RFS secretly made
LAW OFFICE 27
RICHARD G. HILL
Reno, Nevada SBS 28 *T sold my stock in RFS to Milsner in 1998.
Fax(775) 348-0858 4

 

 

 
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Fax(775) 348-0858

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1 || use of an AMF line of credit that he had guaranteed. In truth, RFS’ line of credit was
2 || withdrawn by Pioneer Citizen’s Bank (now Nevada State Bank), because of errors by RFS’
3 || accountant. John Carstarphen knew about the use of AMF’s line of credit when it
4 || happened. He also knew that RFS paid the entire amount charged for its benefit through .
5 || AMF. See Exhibit 30 to Motion for Summary Judgment.
6
7 12.2. Nonetheless, Carstarphen swore in his first complaint, in state
8 || court, that he did not know about RFS’ use of that line of credit for a long time, and that he
9 || suffered in excess of $10,000.00 in damages as a result. However, when his deposition was
10 || taken, he conceded that he had not suffered any damages. Also, his guarantee had been
11 || released by Pioneer Citizen’s Bank at, or before, the time the first case was filed. Later, in |
12 || discovery in that case, Carstarphen’s expert produced an email in which Carstarphen
13 || conceded that he had known about the use of the line of credit and that RFS had paid its
14 || entire debt.
15
16 12.3. In the context of the pendency of that first lawsuit, Carstarphen
17 || refused to guarantee any obligation whatsoever for AMF. This left Milsner as the sole
18 || guarantor of all obligations of AMF, from approximately 2002, when Carstarphen’s
19 || guarantee was revoked, up until the present.
20
21 13. Over the years, AMF’s business has grown. Because of FAA regulations and
22 || good practice, as well as expanding business, AMF began to need the use of additional
23 || aircraft.
24
25 13.1. Because of its specialized needs, AMF cannot just lease any
26 || airplane. Any type of plane to be used must be identified on AMF’s 135 certificate, and,
27 || must be set up for use as a medical evacuation plane. That essentially requires gutting the
28 || airplane. These special needs exacerbated the non-availability of such planes, and there are
5

 

 

 
LAW OFFICE
RICHARD G. HILL
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Reno, Nevada 89505

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Ca pe 3:07-cv-00542-RCJ-WGC Document 131-4 Filed 07/06/10 Page 55 of 99

 

1 |) none to be had locally.
2
3 13.2. RFS has flown Piper Cheyenne II airplanes as part of its Part 135
4 || certificate since its inception. Thus, RFS was a logical source for AMF to get legally
5 || compliant planes, appropriately equipped, and from a nearby source. All rentals by RFS
6 || to AMF were at cost, and vice versa. This arrangement was known by John Carstarphen,
7 | as well as everyone involved with both RFS and AMF.
8
9 13.3. As time passed, AMF’s business has grown, and the need for
10 || additional aircraft increased. Ultimately, by early 2007, the dialogue among the officers,
11 || directors, and John Carstarphen as shareholder, came to a consensus that AMF needed to
12 || have additional aircraft. To that end, [ began making inquiries at various banks and similar
13 || sources to ascertain what financing was available to AMF.
14
15 I learned that without personal guarantees, loans for the purchase of
16 || airplanes were not available for AMF.
17
18 13.4. Until very recently, John Carstarphen has steadfastly refused to
19 |) guarantee any obligation of AMF. While Milsner was already obligated on guarantees for
20 || AMF, he was unwilling to guarantee financing for new airplanes unless John Carstarphen
21 || would also guarantee. John Carstarphen refused.
22
23 13.5. My inquiries lead to the conclusion that without either a very
24 || substantial down payment, or personal guarantees, AMF could not qualify for financing to
25 || purchase any new airplanes. I communicated that finding to the board of directors, and to
26 || John Carstarphen.
27
28 13.6. The foregoing is confirmed in my letter of February 2007 to

6

 

 
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Case 3:07-cv-00542-RCJ-WGC Document 131-4 Filed 07/06/10 Page 56 of 99
1 || John Carstarphen. The factual assertions in that letter are true.
2
3 14. I understand that John Carstarhpen makes the contention that before the
4 | meeting on December 5, 2005, Richard Milsner met privately with John Carstarphen, and
5 || supposedly told John Carstarphen that unless he dropped his state court case, Milsner
6 | would not allow John Carstarphen to sell any stock in AMF to the ESOP.
7
8 14.1. I was with Richard Milsner at the AMF/RFS offices before the
9 || meeting, without interruption from the time he arrived until the start of the meeting.
10 || Milsner did not meet privately with John Carstarphen before the meeting, nor did I see the
11 || two speak—and I would have seen them do so if they had spoken.
12
13 14.2. I attended the December 5, 2005 meeting.
14
15 14.3 Atnottime did Richard Milsner say that Carstarphen could not
16 || sell stocktothe AMF ESOP. What Milsner said was that he (Milsner) had arranged possible
17 || bank loans to provide cash to Carstarphen, but that he (Milsner) would not do that because
18 || his personal guarantee was required, unless Carstarphen dropped his lawsuit. Carstarphen
19 || always had the option to sell his AMF stock on the same terms and conditions as Milsner.
20
21 15. Attached as Exhibit 23 to the Motion for Summary Judgment is a true and
22 || correct copy of my letter of February 12, 2007, to John Carstarphen. The contents of that
23 |} letter are true and correct recitals of dialogues with John Carstarphen. As the Court will
24 || see, John Carstarphen agreed that RFS was an acceptable source of getting an airplane for
25 || AMF.
26
LAW OFFICE 27
RICHARD G. HILL
Riese 2
Fax(775) 348-0858 ,

 

 

 
Case 3:07-cv-00542-RCJ-WGC Document 131-4 Filed 07/06/10 Page 57 of 99

1 16. I declare under penalty of perjury under the laws of the State of Nevada

that the foregoing is true and correct.

AFFIRMATION Pursuant to NRS 239B.030
The undersigned does hereby affirm that the preceding document does not

contain the social security number of any person.

oT .
DATED this | day of July, 2ef0

    
 

oO on DOD OO F&F W ND

: i

JACK DAWSON

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EXHIBIT 15

EXHIBIT 15

 
 

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1 UNITED STATES DISTRICT COURT 1 iii
2 FOR THE DISTRICT OF NEVADA-RENO 2
3 -a00- 3
4 4 INDEX
5 JOHN CARSTARPHEN, 5 PAGE:
6 Plaintiff, 6 1:33 p.m., Deposition Conmenced............eee eee 1
Case No.: 3:07-cv-00542-ECR-RAM
7 vs. 7 EXAMINATION
By Mr. Hill... cece cece eee e eee eee e nes 1
8 RICHARD MILSNER, an 8
individual, DOES 1 2:41 p.m., Recess Taken....... 57
9 through 10, 9 2:52 p.m., Deposition Resumed 58
10 Defendants. 10 EXAMINATION .
Resumed by Mr. Hill... ..... eee eee ee ee eee 58
11 11
‘ 3:55 p.m., Recess Taken......... 104
12 12 4:08 p.m., Deposition Resumed 105
13 13 EXAMINATION
mumed by Mr. Hill... . cee cece eee e eee 105
14 14
5:15 p.m., Recess Taken.....,. +e 153
15 DEPOSITION OF JOHN CARSTARPHEN 15 5:25 p.m., Deposition Resumed........-..sseeeeeeee 154
16 taken on behalf of the defendant at the offices of 16 EXAMINATION .
Resumed by Mr. Hill... ... eee cee eee eee 154
17 Richard G. Hill, 652 Forest Street, Reno Nevada, 17 . .
5:28 p.m., Deposition Adjourned............eeeee “ 155
18 Thursday, Wine 3, 2010, at 1:33 p.m., before Jerry J. 18
19 Silven, Certified Court Reporter and Notary Public, 19
20 pursuant to notice. 20
21 21
22 22 ****EXHIBITS NOT COPIED. ON ORIGINAL ONLY****
3 3 EXHIBITS MARKED FOR IDENTIFICATION:
2 2
83 A copy of a multi-page document,
24 24 first page entitlea | Minutes of
Seventeenth Meeting of The Board of
25 Reported by: JERRY J. SILVEN, CCR #55 25 Directors of American MedFlight, Inc...... 46
SILVER STATE COURT REPORTERS (775) 329-6323 SILVER STATE COURT REPORTERS (775) 329-6323
1 ii 1 iv
2 2
3 3 .
4 APPEARANCES: 4 EXHIBITS MARKED FOR IDENTIFICATION: (Cont'd) page:
5 Por the Plaintiff: KING & RUSSO, LTD. 5
Atto: Ss at Law 84 A of a mal ti ~page document on
6 by. Ss RUSSO, ESQ. 6 the letterhead of Street
1021 Country Lane Appraisers, Inc. dated September 13, 2004. 108
7 Gardnerville, Nevada 89460 7
8 8 85 A copy of a multi-page document,
Declaration of Sohn tars hen
9 For the Defendant: RICHARD G. HILL, ESQ. 9 In xt Of Plaintiff's
Attomey at Law Opposition To Motion to Dismiss........... 120
10 652 Forest Street 10
Reno, Nevada 89509
a1 11 86 A copy of a multi-page document,
entitled EXHIBIT 1..7............0. eeeeee . 135
12 Also Present: JACK DAWSON 12
RICHARD MILSNER
13 13
14 14
15 15
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SILVER STATE COURT REPORTERS (775) 329-6323 SILVER STATE COURT REPORTERS (775) 329-6323

 

 

 
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Case 3:07-cv-00542-RCJ-WGC Document,181-4° Filed 07/06/10 Page 60 of 99 3.
1 RENO, NEVADA, THURSDAY, JUNE 3, 2010, 1:33 P.M. 1 reviewed a deposition transcript. Why did you change?
2 ~o00- 2 A What do you mean I've never reviewed a
3 JOHN CARSTARFHEN 3 deposition transcript?
4 being first duly sworn, 4 Q Your testimony up until today has been that
5 testified as follows: 5 you did not review a deposition transcript. This is the
6 6 first time that you've said that. How come?
7 MR. HILL: The record should reflect that 7 A I don't know that to be the fact.
8 this is the date, time and place set for the resumption 8 Q Have you reviewed the other deposition
9 of the deposition of the plaintiff, John Carstarphen. 9 transcripts in either the state court case or this case?
10 Mr. Carstarphen is present with his 10 A Yeah.
11 counsel, Mr. Russo. 11 Q And when did you review them?
12 Algo joining us today at my office are 12 A After I got them.
13° Mr. Dawson and my client, Mr. Milsner. 13 Q So your testimony is that you -- well, is
14 EXAMINATION 14 it your testimony, sir, that after your depositions have
15 BY MR. HILL: 15 been taken prior to today you in a timely fashion
16 Q Mr. Carstarphen, did you do anything to 16 reviewed those depositions?
17 prepare for your deposition today? 1? A I don't know if it was in a timely fashion,
18 A No. 18 but I have gone through them, maybe not in total, but
19 Q Did you review the deposition of your last 19 parts and sections of it.
20 testimony? 20 Q And are there changes or corrections to any
21 A Yes, I did. 21 of those transcripts prior to the deposition taken April
22 Q When did you do that? 22 23, 2010?
23 A A couple days ago. 23 A I don't believe so.
24 Q Were there any changes or corrections? 24 Q So up until that deposition everything's
25 A Yeah, I have a few things that I think 25 fine?
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2 4
1 could be clarified. 1 A Yes.
2 Q Can you tell us what they are, please? 2 Q Why don't you tell me what changes or
3 MR. HILL: Counsel, do you plan to provide 3 corrections you have, sir?
4 us with a written document or what are we going to do? 4 A Okay.
5 MR. RUSSO: I have to have him do a final 5 Q Do you have the original document there?
6 review and execution then we'll give it to you. He has 6 A Yes.
7 not reviewed it closely enough for that. 7 Q Tell me the page and line, please.
8 MR. HILL: Okay. So, what are you going to 8 A 37.
9 do? Do you want to postpone completing his deposition 9 Q Okay. What line?
10 today or what? 10 A I'm looking for it. I didn't highlight it.
11 MR. RUSSO: No. 11 I believe it's line 5.
12 MR. HILL: So he's going to change his 12 Q Line 5, the question was put to you:
13 testimony again? 13 "Do you believe that Milsner controls
14 MR. RUSSO: He's going to tell you what the 14 or manipulates Daoro?"
15 changes are and I'm going to have him do it on an errata 15 And your answer on line 7 is "no."
16 sheet and sign it and get it to you. But he can discuss 16 A Okay. I don't know whether he does or he
17 them certainly now. 17 doesn't. But what I do know is that the decigions that
18 BY MR. HILL: 18 he has made as a board of director benefits Milsner and
19 Q Do you have a sheet that these are on, Mr. 19 does not benefit the stockholders of American MedFlight.
20 Carstarphen? 20 Q So you're changing your testimony?
21 A No. 21 A Yes.
22 Q Have you made any notes? 22 Q What's the next one, sir?
23 A I have notes here on the deposition. 23 A The same question was asked of Jack Dawson.
24 Q Mr. Carstarphen, in all the years that you 24 Q Line 21 on page 37; is that correct?
25 and I have known one another you've never ever ever 25 A Yes, I believe so.
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Case 3:07-cv-00542-RCJ-WGC Document 1p1-4 Filed 07/06/10 Page 61 of 99

 

 

1 Q Thank you. 1 "I believe that the corporation is
2 And just so we're clear, I asked you at 2 indemifying Mr. Milsner but not me."
3 line 21: 3 And I said:
4 "Now, do you believe that Milsner 4 "Any other reason you can think
5 manipulates or controls Mr. Dawson?" 5 of, sir?"
6 And your answer was: 6 And your answer was: "Not offhand."
7 "I already answered that question." 7 Was that the testimony you gave at that
8 And then I asked you, I said: 8 time, sir?
9 "I'm sorry, I don't recall the answer." 9 A Yes, it is.
10 And you said, "I don't know" at line 25. 10 Q Okay.
11 A Yes. 11 A When you asked me is there any other
12 Q That was your answer. Do you want to 12 yreason, I believe that the corporation camot afford to
13 change it? 13 indemify Milsner. I think it's putting it into an
14 A I still don't know. But I think some of 14 insolvent position.
15 the decisions that Jack has made could be that Milsner 1s And I also believe that if Mr. Milsner
16 does control. I don't know. 16 loses this case, I don't believe he'll pay the money
17 Q What decisions, sir? 17. back.
18 Different board of directors' decisions. 18 Q Okay. Anything else?
19 Q Could you be more specific? 19 A No.
20 A No. 20 Q Now, did your counsel tell you to gay that
21 Q But you're changing your testimony? 21 or --
22 MR. RUSSO: He's amending his testimony or 22 No.
23 clarifying. 23 Q -- did you -- you thought these up on your
24 THE WITNESS: No. I'm amending it or 24 own?
25 clarifying it. 25 A This is my handwriting and my notes.
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6 8
1 BY MR. HILL: 1 Q Okay. What's the next one, sir.
2 Q Didn't you say on that date, "I don't 2 A Here.
3 know"? That was your answer at that time? 3 Q What page are you on, sir?
4 A Yes. I still don't know. 4 A Page 115.
5 Q Okay. And then you've added some 5 Q What line?
6 clarification that we've got on the record? 6 A I don't know, I'm reading. Just in
7 A Okay. 7 generality --
8 Q All right. Anything else on that page, 8 Q What line, sir?
9 sir? 9 A Number 5.
10 A That's it. 10 Q On line 5. Let's start on line 1, I asked
11 Q Your next change or clarification what's 11° you:
12 the term you used? 12 "Do you feel comfortable as you sit
13 MR. RUSSO: Clarification. 13 here today that the board of directors
14 MR. HILL: Thank you. 14 has known that throughout this period.
15 THE WITNESS: This is page 63, line 1. 15 of time?" ‘
16 BY wR. HILL: 16 And your answer was: "Oh, yes."
17 Q Page 63, line 1. Just a second, sir. 17 Are you changing or amplifying that answer,
18 Page 63, line 1, I asked you: 18 six?
19 "Do you have any reason why the 19 A Just amplifying it.
20 corporation should not continue 20 Q Okay. What do you want --
22 to indemify Mr. Milsner in this 21 A I believe that doing business with Reno
22 case?" 22 Flying Service is not a problem, and I think it's fine,
23 And your answer was: "Yes." 23 it's okay. But if we could do it in-house cheaper, I
24 And I asked you: "Why?" 24 think we should do it in-house.
25 And your answer was: 25 Tf we took it to another company and we

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11

 

1 could do it cheaper, we should do that. 1 outside companies do work for it.
2 Q Any other changes you want to make, sir? 2 , Q Does that answer my question?
3 A No. 3 A I don't think it does.
4 Q Do you have any evidence that the work -- 4 Q Okay. Can you answer my question or do you
5 any work could be done more cheaply in-house? 5 need to have the court reporter read it back to you?
6 A I know it could be done cheaper in-house. 6 A Why don't you just ask me the question
7 Q Do you have any evidence, sir? 7 again.
8 A No. 8 MR. HILL: Read the question back, please,
9 Q You believe that to be the case? 9 Mr. Reporter.
10 MR. RUSSO: Other than the expert analysis? 10 (The following question was read by the reporter.)
11 BY MR. HILL: 11 “QUESTION: Have you found anybody
12 Q Mr. Carstarphen -- 12 anywhere that will do any of the work,
13 MR. RUSSO: You need to clarify what you 13 labor or materials for American MedFlight
14 mean by evidence. 14 more cheaply than Reno Flying Service does
15 MR. HILL: Thank you. 15 ite"
16 BY MR. HILL: 16 THE WITNESS: I don't know how to answer
17 Q Mr. Carstarphen, do you understand my 17 «that question.
18 question? 18 BY MR, HILL:
19 A Maybe ask it again. 19 Q You previously told me, sir, that you have
20 Q Okay. Do you have any facts that lead you 20 not performed any - I'1] call it a cost comparison
21 to believe that AMF could perform any work on its own 21 survey - comparing what Reno Flying Service charges with
22 planes in-house more cheaply than the rate charged by 22 other comparable entities. Do you recall giving me that
23 Reno Flying Service for comparable parts or labor? 23 testimony, Mr. Carstarphen?
24 A Well, Reno Flying Service is a for-profit 24 A Yes.
25 corporation. 25 Q Is that still the case --
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10 12
1 Q Okay. 1 A Yes, I believe go.
2 A And they're expected to get a profit out of 2 Q -- that you've not done any kind of cost
3 the thing. So if it was done in-house, it could be done 3 comparison survey?
4 cheaper because you don't have to pay that profit. 4 MR. RUSSO: Personally?
5 Q Do you have any facts as to the profit 5 THE WITNESS: Personally, no.
6 margin that Reno Flying Service made on its dealings with 6 BY MR. HILL:
7 American MedFlight? 7 Q Has anybody done that?
8 A T have no facts, but a reasonable amomt 8 A IT don't know,
9 would be somewhere around 15, 20 percent. 9 Q But it hasn't been you?
10 Q So if Reno Flying Service did not make 15 10 A I haven't done it.
11 or.20 percent on its dealings with American MedFlight, ld Q And nebody's provided you with any of that
12 would American MedFlight be obligated to pay that 12 information?
13 differential? 13 A No.
14 A i doen't understand that question. 14 Q All right.
15 Q You assume that American MedFlight is 15 A Not to my knowledge.
16 providing a profit margin on its dealings with Reno 16 Q Did we cover all of the correction changes
17. Flying Service of 15 to 20%, right? 17 «or clarifications you wanted to make on page 115?
18 A Yes. 18 Yes.
19 Q What if the profit margin is only 5%? 19 Q What's next?
20 A That's still 5% that American MedFl ight 20 A Page 138.
21 could have. 21 Q What line?
22 Q Have you found anybody anywhere that will 22 A I'm trying to find it. Line 2.
23 do any of the work, labor or materials for American 23 Q 138, line 2. Let's go back to 137. Page
24 MedFlight more cheaply than Reno Flying Service does it? 24 137, line 19, I asked you:
25 A We do -- American MedFlight does have other 25 "Have we discussed every device, every

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“scheme, everything that you know about

 

15

 

1 1 Q Does that refresh your recollection about
2 about how moneys were diverted to Reno 2 whether or not you knew about any plane leasing before it
3 Flying Service from American MedFlight?" 3 occurred?
4 Your answer was: "No." 4 A I knew about plane leasing. I didn’t know
5 Do you want to change that? 5 the terms of the plane leasing.
6 A Yes. 6 Q Don't you recall that letter setting forth
7 Q Because I asked you what else is there and 7 what the terms were?
8 you said: 8 A It didn't say anything about the terms,
9 "I don't know. I haven't had access 9 that I recall.
10 to records and books to find out." 10 Q Mr. Carstarphen, let me you show you
a1 Line 2 I asked: 11 Exhibit 61. Isn't that the letter that you and I talked
12 "But today you and I have talked about 12 about, the February 2007 letter from Mr. Dawson to you?
13 all the ones that you know about, haven't 13 A Okay.
14 we?" 14 Q Im't that the letter you and I talked
15 And then you said: "I have talked" -- and 15 about?
16 then apparently I cut you off and said: "There could be 16 A That's correct.
17° ~others?" : 17 Q That's the letter from Mr. Dawson to you on
18 And you said: "There could be others." 18 February 12, 2007, right?
19 Was there something there you want to -- 19 A Yes.
20 A Yes. 20 Q And you told me that you believe you
21 Q What did you want to say? 21 received it on or about that date, somewheres in that
22 A We missed the plane leasing. 22 time frame, right?
23 Q Okay. Anything else? 23 A I don't remember what I said.
24 A That's it. 24 Q | Well, do you recall -- you did get this
25 Q Well, we'll come back and talk about the 25 letter? ,
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14 16
1 plane leasing in a little while. Let's finish up with 1 AR Yes.
2 your deposition clarifications or -- 2 Q And you got it ina timely fashion?
3 Now, the transcript is accurate? 3 A I would say so.
4 A Yes. 4 Q Did you send a letter back to Dawson saying
5 Q So you're adding to your testimony? 5 that he was wrong about any of the information in here?
6 A Yes, it's mainly clarifications that I 6 A No.
7 thought of after. 7 Q Okay. On page 23 he says, we all agree,
8 Q Okay. Sobeit. What's the next one? 8 including you and I, that this, that being --
9 A That's it. , 9 A Where are you at?
10 Q The rest of the transcript is fine? 10 Q Are you with me?
11 A I believe so. 11 A Okay. I got it.
12 Q The plane leasing. Can you tell me -- you 12 Q We all agree, including you and I, that
13. knew about the transaction before it occurred, 13 this, this being leasing from Reno Flying Service, was
14 transaction or transactions, before they occurred, didn't 14 the only course AMF had available to it and that we
15 you? 15 should proceed with the plan for RFS to purchase the
16 A The plane leasing? 16 aircraft to lease to AMF. Remerber we talked about that?
17 Q Yes. 17 A Yes.
18 A No. 18 Q Did you write back to Dawson and say: I
19 Q Didn't Dawson send you a letter? Don't you 19 didn't agree to this? :
20 remember the letter that you and I spent quite a bit of 20 A No. :
21 time talking about in February of 2007? 21 Q Did you call him and say: I didn't agree
22 A That's correct. 22 to this?
23 Q And you at first didn't recall that letter 23 A No.
24 and then you did recall that letter? 24 Q What did you understand to be the terms
25 A I do recall that letter. 25 that were being discussed?

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1 A There was no terms discussed. 1 A I'm sure I have.

2 Q You're sure of that? 2 Q Do you know anything about the plane at

3 A Pretty darn sure. 3 all?

4 Q Did you write back and say: What terms are 4 A It's a Piper Cheyenne 2.

5 you talking about? 5 Q Now there's three of them; is that right?

6 A No. 6 A There's four.

7 Q Did you follow up and gay to him: What 7 Q There's four of them. Can we distinguish

8 terms are you talking about? 8 that plane from the others in any way, shape or form by

9 A No. I assumed that I would be told what 9 any description?

10 they were before the lease went into effect. 10 A By tail nunber.

11 Q And your testimony, as you sit here today, 11 Q But you don't know the tail number of that

12 is that you never received any further information about 12 plane. Do you know the tail number of the other plane?

13 what the terms and conditions were going to be on the 13 A No.

14 leasing of the airplane? 14 Q Okay. ,

15 MR. RUSSO: Will you clarify what airplane? 15 A I know tail numbers of previous, but not

16 BY MR. HILL: 16 all of them. 1-1 Kilo Victor, and 419 Romeo.

17 Q You're the director of the company, aren't 17 Q And what are those?

18 you, sir? 18 A Piper Cheyenne 2s.

19 A Yes. 19 Q And those are owned by American MedF light?

20 Q Does AMF at this time lease an airplane 20 A 1-1 Kilo Victor is owned by American

21 from Reno Flying Service? 21 MedFlight and 419 Romeo is owned by Reno Flying Service.

22 A Yes. 22 Q Is that the plane you're talking about?

23 Q Okay. You pilots use tail mumbers; is that 23 A No.

24 right? 24 Q So there's two planes on lease?

25 A Yes. 25 A One plane.

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18 20

1 Q What's the tail number on that airplane, 1 Q You just told me a plane, I think you used

2 gir? 2 the word Romeo?

3 A I don't know. 3 A Yeah, 419 Romeo.

4 Q Can we call it Bob or give it a name or 4 Q That's owned by Reno Flying Service?

S description? What is it? 5 A Yes.

6 A The tail numbers have been changed when 6 Q And the Kilo plane is owned by American

7 they were repainted, and I don't know what -- I don't 7 MedFlight?

8 know the previous tail mumber and I don't know the 8 A Yes.

9 current tail number. 9 Q What do you understand to be the terms and
10 Q If you wanted Mr. Dawson to bring that 10 conditions that American MedFlight has or uses the Romeo
11 airplane to you, how would you describe for him what 11 plane that belongs to Reno Flying Service, Mr.

12 airplane to bring to you? 12 Carstarphen?

13 A You would give it a tail number. 13 A American MedFlight does not use 419 Romeo.

14 Q Okay. You don't know the tail number, so 14 Q Are you okay?

15 you'd say to Mr. Dawson: Bring me the airplane I don't 15 A Yeah.

16 know the tail number of? 16 Q Your counsel indicated you had some medical

17 A Well first of all, I wouldn't ask him to 17 issues. What are they precisely, sir?

18 bring me an airplane. 18 B There's none.

19 Q Tell me about the airplane that you, as a 19 Q Mr. Carstarphen, you're not making sense

20 director of the company, understand that American 20 here this afternoon.

21 MedFlight leases from Reno Flying Service. Tell me what 21 B Neither are you.

22 you know about it. About the plane itself. What color 22 Q Okay. Can you tell me -- can you give me
, 23 is it? | 23 any description any way we can try to make a record here
; 24 A I don't know. 24 today, siz, so that when we go to the judge at some point

25 Q Have you ever seen it? 25 in time about this airplane lease that you can help me so

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23

 

 

1 we can identify that airplane? Is there anything we can 1 A When I was terminated.
2 do? 2 Q In 1999?
3 A Not right now. I can go and I. can talk 3 A Correct.
4 with Jack Dawson and find this information out if you 4 Q Or was it 1998?
5 want. 5 A I believe it was '99,
6 Q In the binder over there is Exhibit 62. 6 Q You continued to attend shareholder
7 Would you take a moment and look at that. 7 meetings; is that right?
8 Have you ever seen Exhibit 62 before, 8 A Yes.
9 Mr. Carstarphen? 9 Q Did you vote for yourself for director?
10 A Just recently. 10 A Did I vote myself as director?
11 Q Is that the airplane we're talking about? 11 Q Do you understand my question, Mr.
12 A I believe so. 12 Carstarphen?
13 Q Okay. So serial number 0024. And the 13 A I would say no.
14 registration number, would that be the tail munber? 14 Q Why didn't you vote for -- did you want to
15 A It's 7820024. 15 be a director of the company?
16 Q Yes, sir. The registration number, do you 16 A Yes.
17 ~see that down there N 155 CA, would that be the tail 17 Q Did you vote for yourself to be a director
18 number? 18 of the company?
19 A That's the tail number. 19 A I don't believe so.
20 Q So would be what, Nancy -- 20 Q Why not, if you wanted to be a director?
21 A That's the way it is, is November 155 21 A Because no one wanted me to be a director.
22 Charlie Alpha. 22 Q Didn't you just tell me that you wanted to
23 Q So can we call that the November plane? 23 be a director?
24 A No, because they all start with N. 24 A Yes.
25 Q So what should we call this one? 25 Q And you just agreed you didn't --
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22 24
1 A 155 Charlie Alpha. 1 A I mean, when you're fired and you're thrown
2 Q Call this one Charlie Alpha? 2 out of the company, I mean, no one's going to vote -- if
3 A You can do that. 3 I put it up for nomination I'm not going to get
4 Q So Charlie Alpha is owned by Reno Flying 4 nominated.
5 Service; is that correct? 5 Q You owned a third of the company, didn't
6 A I believe so. 6 you?
7 Q And when was the first time that you found 7 A Yes.
8 out that Charlie Alpha was being made available to 8 Q Couldn't you cast your vote for yourself?
9 American MedFlight by Reno Flying Service? 9 A You have to have a second on any kind of
10 A Probably right from the beginning. 10 motion. There was no second available.
11 Q And when was that? Can you give me a time 11 Q Did you at any point in time nominate
12 frame? A year? 12 yourself to be a director of the company and that failed
13 A No. 13. for lack of a second? :
14 Q You shook your head, that's ano, you 14 A No.
15 carmot give we a year? 15 Q So, you just decided you'd go off from
16 A No. I'm not really sure. 16 being a director because nobody wanted you; is that fair?
17 Q You were a director of the company when it 17 A Probably .
18 first formed? 18 Q Okay. Well, I wasn't there, so if you want
19 A Uh-huh. 19 to say it wasn't fair or it's not a fair characterization
20 Q Yes? 20 of what happened say so.
21 A Yes. 21 A I was terminated from the company that I
22 Q Thank you. And you ceased to be a director 22 started, and that's it.
23 at some point in time? 23 Q And did somebody -- did Dawson tell you you
24 A Yes. 24 weren't a director at that point?
25 Q when? 25 A Say that one again.

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1 Q Did either Dawson or Milener tell you that 1 A Yes.
2 at that point in time you were no longer a director? 2 Q Even though Mr. Copier Company owned it?
3 A I don't know how I was notified about that. 3 A Yes.
4 Q In your mind when you ceased to be the 4 Q So, as part of the lease between American
5 president, did you also automatically cease to be a 5 MedFlight and Reno Flying Service, who has possession of
6 director? 6 155 Charlie Alpha, do you know?
7 A No. 7 A Yes.
8 Q So they're independent, you could be the 8 Q Who?
9 president without being a director and a director without 9 A American MedFlight has possession, but it
10 being an officer? 10 doesn't own it.
11 A Correct. 11 Q We've covered that, sir.
12 Q And you could be a director without being a 12 Is any of this helping you to come toa
13 shareholder? 13. time when that plane came into the possession by lease or
14 A Correct. 14 otherwise of American MedFlight?
15 Q And you could be shareholder without being 15 A Well, this lease is dated Octcber 1, 2008,
16 a director? 16 so it must have been right around there.
17 A Yes. 17 Q Is that when you found out about it?
18 Q So, you believe that it was what, at the 18 A No.
19 meeting in 1999 when you ceased -- the directors' annual 19 Q When did you find out about it?
20 meeting in 1999 when you ceased to be a director? 20 A That Reno Flying Service was leasing an
21 A No, I believe it was in 2000. I'm not sure 21 airplane to American MedFlight?
22 «of that. 22 Q The airplane described on Exhibit 62 --
23 Q What started us off down this tangent was 23 A Yes.
24 I'm trying to give you some timeline for when you my 24 Q -~- that plane.
25 have found-out about this 155 Charlie Alpha? Is that 25 When did you find out about that?
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26 28
1 what we call it? 1 A Probably right when it happened, or shortly
2 A Yes. 2 thereafter.
3 Q When that came into possession of American 3 Q Were you a director when that happened?
4 MedFlight. Does that help you any? 4 When did you become a director again, do you know?
5 A 155 Charlie Alpha is not in the possession 5 A I don't know.
6 of American MedFlight. 6 Q It was in 2009, wasn't it?
7 Q It's not? 7 A Probably.
8 A No. 8 Q So you weren't a director at that time,
9 Q Didn't you just tell me 3 minutes ago that 9 were you?
10 the plane that is described in Exhibit 62 is a plane that 10 A In 2008, I believe I was.
11 Reno Flying Service is leasing -- American MedFlight is 11 Q When did you go back on the board, sir?
12 leasing from Reno Flying Service? 12 A I think 2009.
13 A It's leasing it, but Reno Flying Service 13 Q Okay. As you sit here today, do you
14 owns it. 14 understand -- well, do the terms and conditions that are
15 Q Have you ever leased a car? 15 set forth in Exhibit 62 accurately set forth the tems
16 A No. 16 and conditions of the agreement?
17 Q Have you ever leased anything? 17 A Ask that question again, please.
18 A Yes. 18 Q Are there terms and conditions for that
19 Q You lease a building space where you are, 19 lease other than are set forth in Exhibit 62?
20 don't you? 20 A I know of no others.
21 A No, I own it. 21 Q So that is the agreement?
22 Q Okay. Have you ever leased anything? 22 A I believe it is the agreement.
23 A I leased a copy machine. 23 Q Do you know if the board of directors
24 Q Who had possession of it? You did, didn't 24 considered it before it was executed?
25 you? 25 A I would say no.

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ae oO. FP SFO OY HH Bw NKH EF GD

Q And what do you base --

A Because if this was executed back in 2008,
I was on the board of directors, and I never saw this
agreement .

Q And if you weren't on the board of
directors in 2008, you wouldn't have seen it if it came
before the directors, would you?

A But I was.

Q Okay. But you can't tell me when you -- I
thought you told me you went back on the board in 2009.

A Okay. 2009.

Q This is dated 2008.

A Yes.

Q 2008 is in that period of time when you

were not a director, isn't it?

What are you looking at, sir?

MR. RUSSO: He's looking at Exhibit Number
58.

MR. HILL: Thank you. I just want to make
sure we're all on the same sheet.

THE WITNESS: I was terminated in December
of '98. And this document, if correct, is dated October
2008. And at that time I was on the board of directors
and this document was never shown to me. And the board
of directors never considered this document.

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BY MR. HILL:

Q Did anybody ever tell you that American
MedFlight was paying RFS's costs plus 20% on the airplane
lease?

No.
Nobody's ever told you that?
No.

Q Do you know whether cost plus 20% is within
the realm of reasonableness for leasing companies?

A I have no idea.

Q Do you think it's an -- do you believe it's
unfair?

A I don't know.

Q Okay. How much do you think you should be
entitled to because of the aixplane leasing between --
because of its lease on Exhibit 63? Do you have a
number? .

> oO PY

Do you want to see Proctor's report?

be happy to help you out. Whatever you need.

A I don't have a mmmber.

Q Okay. Was there a need for American
MedFlight to have that plane?

A Yes.

Q And was Jim Brown the secretary of Reno .
Flying Service in September 2008?

Till

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30
BY MR. HILL:

Q You're sure of that?

A I've been to every one of the hoard of
directors' meetings while I was a director. I've never
missed one.

MR. RUSSO: This is 10 years later.

THE WITNESS: Oh, okay. Pardon me. I've
got the dates mixed up here.

Yeah, '98.

MR. RUSSO: More than two years ago.

THE WITNESS: So, I got my dates wrong.
BY MR. HILL:

Q Okay. So let's -- your counsel's had the
Opportunity to help you here and that's fine.

MR. RUSSO: Well, there was a fundamental
misunderstanding. He was looking at this in 2008, he was
referencing the timeline when he was on the board in
1998.

MR. HILL: I understand that.

What I want to do is I want to give him an
Opportunity now to give me an answer as to --

What you looked at the timeline for, I
thought, was to see if you could figure out when you went
back upon the board. It's not on there, is it?

THE WITNESS: No,

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32

A I have no idea.
Q Well, can you see here he signed that he
was? .
Excuse me, Reno Flying Service.
Milsner signed as president of Arerican
MedFlight, Inc. Do you see that?
Yes.
Was he the president of the company?

Yes.

OO P

Q Have you gone to the board of directors and
said that you thought this was unfair?

A I haven't seen this lease until just
recently.

Q Okay. Have you gone to the board and said
you don't think it's fair?

A I have only seen this one the last month.

Q 1 understand that, sir. ,

A Yeah.

Q So the answer to the question is, no, you
have not?

A There has been no board of directors!
meeting since then.

Q Your testimony is you didn't see this until
last month when it was at your deposition?

A Yes, that's the first time I think I saw

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35

 

 

1 it. 1 Q Okay. Didn't you expect him to be telling
2 Q There was a need for this plane by AMF? 2 you about those things?

3 A Yes. 3 A As one-third owner I think I should know

4 Q And AMF has had use of the plane? 4 those things.

5 A Yes. 5 Q I do, too, sir.

6 Q Has Reno Flying Service done everything 6 And it's your testimony that Dawson didn't

7 «it's required to do under this lease as you, a layman, 7 do that; is that right?

8 understand it? 8 A That's what I said.

9 A I have no knowledge of that. 9 Q And I'm asking you, do you think Dawson did
10 Q Do you have any reason to believe that Reno 10 that deliberately?

11 Flying Service did not do what it was required to do 11 A I have no idea.
12 under Exhibit 63, sir? 12 Q Have you confronted Mr. Dawson about that:
13 A I have no knowledge of that. 13 Mr. Dawson, why didn't you tell me that?
14 Q Okay. So what's wrong with the lease? Why 14 A Ever since I got terminated in '98, I've
15 did it do you wrong, sir? 15 been requesting information, financial information of the
16 A Under some of the subsequent things that 16 company, and ever since '98 I've been denied that
17 were going on, paying Milsner for guarantees, that if I 17 information.
18 was going to get fees for guaranteeing loans, I probably 18 Q You do believe that, don't you?
19 would have signed on the loan myself and we wouldn't have 19 A I do believe what?
20 the need for a lease. 20 Q ° That you were denied financial information
21 Q We talked last time that Dawson did ask you 21 from 1998 forward; you do believe that, don't you?
22 to guarantee the airplane leases and you refused. Do you 22 A Yes, I do.
23 recall that conversation? 23 Q Do you remenber when I took your deposition
24 A Yes. But at that time the terms and 24 and went through the Monday reports? Do you remember the
25 conditions were not explained to me. "25 fax headers at the top of the Monday report? Do you

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34 36

1 Q That's your testimony. You've said that. 1 remember that?

2 A Yes. 2 A Uh-huh.

3 Q And is it that -- I mean, your testimony is 3 Q Yes?

4 that Jack Dawson never told you what the terms and 4 A Yes.

5 conditions would be of the lease; is that your testimony? 5 Q Do you know where those Monday reports came

6 A I only saw this a month ago. 6 from that we used for an exhibit? Do you remember where

7 Q Different question, sir. Your answer may 7 those came from?

8 be a good one, but it doesn't. answer my question. 8 A No.

9 Is it your testimony that Jack Dawson never 9 Q They came from Mr. Gunderson's office, and
10 explained to you what the terms and conditions were going 10. «they've been provided to you all through that period of
11 to be of the lease between Reno Flying Service and 11 time, Mr. Carstarphen.

12 American MedFlight? 12 A No, they have not.

13 A That's correct. 13 Q Mr. Carstarphen, let me show you Exhibit
14 Q Do you think Dawson did that to keep you in 14 10. This purports to be a balance sheet dated Decerber
15 the dark? 15 31, 2002. Do you see down in the lower right-hand

16 A I was in the dark all along. 16 corner? You know what a Bate stamp is; after seven years
17 Q Do you think Dawson did that to make sure 17) you know what that is, don't you?

18 you stayed in the dark? 18 A T think 60.

19 A I have no idea. 19 Okay. Do you know whose Bate stamps CAR
20 Q Well, he was the president of American 20 0284 is?

21 MedFlight up until recently, wasn't he? 21 A Uh-huh.

22 A ~ Who? 22 Q Whose?

23 Q Dawson. 23 A It's mine.

24 A Dawson is the president of the American 24 Q So, this is a document that your lawyer
25 MedFlight. 25 produced in the discovery, right?

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39
1 A Yes. 1 into 2000?
2 Q So where did you get this Decenber 31, 2002 2 A let's start at '99.
3 balance sheet to give it to Mr. Gunderson? 3 Q Mr. Carstarphen, all I can deal with is
4 A I have no idea. 4 what you produced.
5 Q Turn to Bate sheet number 299 in that 5 Okay.
6 exhibit, Mr. Carstarphen. Are you with me, sir? 6 Q You produced 2000.
7 A Uh-huh. 7 A ‘I have no information from 1998 forward.
8 Q Oh, yours doesn't have the fax header on 8 And this little bit of a Monday report is not financial
9 the top. I went over this with Mr. King. Let me show 9 information of the company.
10 you mine. See the fax header across the top of that? 10 Q Okay.
11 A Yes. — 11 A I mean, I'm not a CPA, but I can tell you
12 Q To you know whose fax number is 856-5801? 12 that's not financial information of the company.
13 A That's Reno -- American MedFlight. 13 Q Mr. Carstarphen, let's go back into Exhibit
14 Q And do you know who's number 5 on their 14 10, please. Can you go to page 401, CAR 0401, Mr.
15 speed dial? 15 Carstarphen. Do you see that? It's an income statement
16 A I have no idea. 16 for the 12 months ending December 31, 1998.
17 Q What's it say next to 005 up in the upper 17 A Uh-huh.
18 right-hand comer? 18 Q When did you get that, sir? You got it all
19 A It says 004. 19 along, didn't you. You've just been mistaken; isn't that
20 Q What's it say next to that? 20 right?
21 A Carstarphen. 21 A Nope, I have not been mistaken.
22 Q Does that help refresh your recollection 22 Q So, the fax machine lied?
23 where you got this, these documents, sir? They were 23 A Nope.
24 faxed to you every Monday, weren't they? 24 Q So explain to me, sir, how is it that the
25 A That's not a Monday report. 25 fax headers are on these documents that were produced by
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38 40
1 Q You're right. 1 your lawyer, but you didn't get them?
2 Let's go to Exhibit 11. 2 A Is this what you're saying, these three or
3 A This is also in 2002. 3 four documents here is complete financial information?
4 Q Right. Turn to Exhibit 11 -- 4 Q Mr. Carstarphen, some day --
5 A Your question is 1998 forward. 5 MR. RUSSO: Mr. Hill, we have a lawsuit
6 Q Tur to Exhibit 11, turn to page 484, Mr. 6 that's up on appeal having to do with the providing of
7 Carstarphen. Do you see that? 7 information. There's been no allegations in the
8 A Yes. 8 complaint in this case about the providing of
3 Q Do you know where your lawyer got that one 9 information, and you're doing your discovery for --
10 from? 10 MR. HILL: For the next trial.
11 Probably from me. 11 MR. RUSSO: -- the other lawsuit. So you
12 Q Let me show you mine with the header across 12 might want to test his memory a little bit, but you'ze
13 the top. Same thing we saw on the other one, isn't it? 13 spending a lot of time now on this case.
14 Yes. 14 MR. HILL: Well, we are also here now
15 Q Does this refresh your recollection as to 15 reviewing Mr. Carstarphen's credibility and his ability
16 how this came to you? 16 to recall.
17 A It doesn't refresh me, but it obviously 17 BY MR. HILL:
18 came by fax. 18 Q So your testimony then is, is that you were
19 Q So it obviously came to you on July 9, 19 denied any financial information?
20 2001, didn't it? 20 A I didn't say any. I said adequate
21 A Yes. 21 financial information.
22 Q So you've told me earlier today that you 22 Q Oh, adequate.
23 were flat denied any financial information about the 23 Now you didn't say adequate before in this
24 company from 1998 forward. And here in just a matter of 24 testimony today, did you, sir, you said any, didn't you?
25 a moment we've shown you 2001. Do you want to go back 25 A I may have, but it's....

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1 Q All right. Well, let's see if we can get 1 Q Let's go to page 85, AMI 85.
2 back on beam here. 2 MR. RUSSO: Which exhibit?
3 I asked you -- what started on this was I 3 MR. HILL: It's 2 pages ahead, Scott.
4 asked you whether you thought Dawson withheld information 4 BY MR, HILL:
5 on the lease from you deliberately. 5 Q These would be the sixteenth minutes of the
6 A I have no idea. 6 sixteenth meeting, Mr. Carstarphen? Page 84.
7 Q So he may have? 7 A Yes.
8 A May have. 8 Q Let's go back to page 83. You signed as a
9 Q What would be his motivation in doing that? 9 director, did you not?
10 A The decision-making of the corpany's 10 A Yes.
11 business during that time period I was completely out of 11 Q That would have been 2002?
12 the loop. 12 A Yes.
13 So to say that it was deliberate, it was a 13 Q Did you sign this document at or about that
14 hundred percent I was out of the loop. 14 time?
15 I wasn't asked. I wasn't -- no one 15 A Yes.
16 mentioned it. I didn't aign checks. I didn't sign any 16 Q So you were on the board in 2002, weren't
17 documents. I didn't sign any leases. 17 you?
18 Q Mr. Carstarphen, let's take a moment and 18 A Yes.
19 look at Exhibit 33. These are scme of the minutes of the 19 Q What about 2001?
20 board of directors for American MedFlight. ‘The first 20 A I don't know.
21 page is AMI 0036; is that right? 21 Q Go to the fifteenth meeting, that's also in
22 A Yes. 22 2002, but you've signed that.
23 Q And references Aero Medcare. That's 23 Let's go to the fourteenth meeting, Mr.
24 American MedFlight, is it not? 24 Carstarphen, that would be page AMI 0080.
25 A Yes. 25 Mr. Carstarphen, what are you locking at?
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42 44
1 Q So in Exhibit 33 let's go to the last two 1 A My notes.
2 pages. Are you with me, sir? This would be Bates number 2 Q Well, have those been marked?
3 > AMI 0159. Are you with me? 3 A Yes.
4 A Yes. 4 Q Can you tell me, please, what they were
5 Q And it's dated December 9, 2003. Are you 5 marked as?
6 with me? , 6 A 58.
7 A Uh-huh. 7 Q So you're looking at page 2?
8 Q Turn to the next page, please, which would 8 A Page 2.
9 be page 2. Do you see your signature on that page, sir? 9 Q Is there anything on there that helps you?
10 A Yes. 10 A T was just looking at the timeline, the
11 Q And do you see where your name is typed? 11 dates.
12 A Yes. 12 Q The fourteenth meeting is January 5, 2001.
13 Q And what are the words after your name? 13 Do you see that on page 8-0? ,
14 A Director and vice president. 14 A Yes.
15 Q Were you a director and vice president at as Q And the next page, is that your signature?
16 that time, sir? 16 A Yes.
17 A I believe so. 17 Q Were you a director and an officer at that
18 Q So, had you came back on the board in 2003 18 time, sir?
19 after you were off the board in December of 1998 I think 19 A Yes.
20 you said? : 20 Q Let's go to the thirteenth meeting, which
21 A I believe so. 21 would be page 78, Mr. Carstarphen.
22 Q So you came back on the board? 22 A 78?
23 A I believe so. 23 Q Page 78. February 9, 2000.
24 Q When? Do you recall? 24 A Yes.
25 A No. 25 Q The next page we've got your signature,
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1 don't we? 1 Let's go to the minutes of the seventeenth
2 A Yes. 2 meeting right on the top, sir.
3 Q ‘Did you ever go off the board up until 3 “RR It's upside down.
4 2003, Mr. Carstarphen? 4 Q Excuse me?
5 A I don't know. 5 A It's upside down. Same of them are upside
6 Q Well, let's look at page 74. 6 down.
7 Do you see on page 74 it says October 28, 7 Q I apologize, sir. Let's see if we can
8 1998? Are you with me? 8 work -- I put the sticker on upside down. ‘The copies
9 A Yes. 9 weren't upside down, the sticker was.
10 Q And go to the next page. Does it have your 10 A Well, some of them are upside down, some
11 signature? 11 aren't. They're not all the same.
12 A Yes. 12 Q Well, you're right.
13 Q You're a director and president, aren't 13 Mr. Carstarphen, let's go to the
14 you? 14 seventeenth minutes. Are you with me? That's 62063
15 A Yes. 15 fifth page, sir. Are you with me?
16 Q So, you were on the board in '98, right? 16 A Yeah.
17 A Yes. 17 Q December 9, 2003, do you see that?
18 Q And you were on the board in 2000? 18 A Yes.
19 A Yes. 19 Q This is the ESOP meeting, isn't it?
20 Q Do you know if you were on the board in 20 A The ESOP meeting?
21 1999? 21 Q See down here, it was discussed to sell the
22 A I don't know. 22 corporation to the employees through an ESOP plan to be
23 Q Now, did you continue -- we know that you 23 administered by Menke and Associates, to be concluded on
24 were on the board in 2003, don't we? 24 or before December 31, 2003 at a cost of administration
25 A Yes. 25 not to exceed $9,000 and document costs not to exceed
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46 48
1 Q What about 2004, do you know? 1 $4,000. It was also discussed to change the corporation
2 A I don't know. 2 tax status to C Corp as required by the ESOP.
3 Q What would we look at? 3 I read that correctly, didn't I?
4 A You can look at the minutes. 4 A Yes.
5 Q Do you want to do that? 5 Q Did you attend the meeting on December 9,
6 A ‘I @on't care. 6 2003, when that was discussed? ,
7 MR. HILL: Oh, I just wanted to put on the 7 A Yes.
8 vecord, Mr. Russo, you served -- you personally served a 8 Q And on the next page, 62064, do we have
9 subpoena on Jack Dawson for ‘the June 15th hearing. 9 your signature?
10 MR. RUSSO: Yes. 10 A Yes.
11 MR. HILL: And you gave him a witness fee uw Q And you're still a director and a vice
12 in cash of? 12 president, aren't you?
13 MR. RUSSO: $30. And I advised him if 13 A Yes.
14 there are copy costs or production costs, we will take 14 Q We already talked about this, this is the
15 care of that. 15 last one in that exhibit we talked about before.
16 MR. HILL: I just wanted to be sure that 16 Let's go to the next one, which is 62065.
17 was on the record. 17 Are you with me?
18 (Exhibit 83 was marked for 18 A Yes.
19 identification.) 19 Q Now, this is a resolution for you and
20 BY MR. HILL: 20 Milsner to be directors. Do you recognize it as that?
21 Q My. Carstarphen, let me hand you Exhibit 21 A I don't recognize this document.
22 83. I'm not going to warrant to you that it's complete, 22 Q So you don't recall having signed a
23 but I will tell you that I think we've got a mmber of 23 document that looks like 62065. There's no signature -
24 board of directors' minutes here which might help us 24 there for you, there's a space but no signature; right?
25 answer some of these questions. 25 A Yes. I don't recognize this document.

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31-4

 

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1 Q What about the next one, 62066. Same 1 to disburse available funds for dividends to the
2 thing? 2 stockholders in order to allow the corporation to fund
3 A I don't remenber seeing this document. 3 the American MedFlight employee stock ownership plan,
4 Q Didn't sign anything that looked like that? 4 effective January 1, 2003.
5 A I don't believe so. 5 Are you with me?
6 Q Go to the next blue page. Let's go to 6 A I'ma little bit lost.
7 62079, Are you with me? 7 Q Let me know when you've caught up.
a A Yeah. 8 A Okay.
9 Q Let me read it for you. Unanimous written 9 Q Ready?

10 consent of the board of directors of American MedFlight, 10 A Let me read it.

11 Inc., a Nevada corporation. 11 Q Do you see at the top where it says the

12 The undersigned, being the directors of 12 undersigned being all of the directors?

13 American MedFlight, Inc., a Nevada corporation, (the 13 A Yes.

14 Corporation) hereby consent pursuant to NRS 78.315 to the 14 Q And then the last paragraph says the amount

15 following as the due and proper actions by the board of 15 of this dividend shall be $390,000?

le directors of the corporation. 16 A Uh-huh.

17 Award a bonus to president of the 7 Q Of which 260,000 shall be disbursed to the

18 corporation. 18 employee stock ownership plan, and 130,000 should be

19 The corporation is aware of the diligent 19 disbursed to John Carstarphen.

20 and skillful efforts of Jack A. Dawson, president of the 20 Did I read that right?

21 corporation, and are aware that the corporation has had a 21 Yes.

22 profitable 2005. 22 Q You did get a check for $130,000, didn't

23 In appreciation of Mr. Dawson's efforts for 23> you?

24 the year, the board of directors hereby direct the 24 Yes.

25 officers and employees of the corporation to a pay 25 Q And you weren't on the board at that time,

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50 * 52
1 year-end bonus to Mr. Dawson in the sum of $30,000. 1 were you?
2 Jack Dawson, by signing the signature line 2 A No, I don't believe so.
3 below, declines to participate in this board of directors 3 Q I mean, don't you remenber all the
4 decision. 4 confusion we had over why you got a check for $130, 000?
5 Then it's dated December 20, 2005, Richard 5 A Yes.

, 6 Milsner, William Geyer, and then beneath that there's a 6 Q Is that why there was confusion because you
7 line for Dawson. 7 weren't on the board and didn't know what they had done?
8 This says the directors and your name isn't 8 A I didn't know what they had done.

9 listed; right? 9 Q Because you weren't on the board?

10 A Yes. 10 A Because I wasn't on the board.

11 Q Can we presume then that you were off the 11 Q All right. Now, the last time we got

12 board by December of 2005? 12 together we talked about the provisions in the second and

13 A I can't presume anything from this 13. third minutes of the board of directors. You recall

14 document. 14 those. The second board of directors meeting deals with

15 Q Well, do you think these guys cooked this 15 the $2,500 check issue?

16 up to get around you? 16 A Yes.

iy A No. It's probably correct, but I can't 17 Q Do you remember that? Yes?

18 verify it one way or the other. 18 A Yes.

19 Q Let's go to 62080. Let me read the body, 19 Q Thank you.

20 but I'll skip the top part. 20 And then the third deals with the -- what

21 It says declaration of dividends. 21 you said was the unanimous consent by the board of

22 The corporation wishes to declare dividends 22 directors for any dealings between American MedFlight and

23 as of the end of the year December 31, 2005 after a 23 Reno Flying Service. Do you recall the minutes?

24 profitable year. 24 A Yes.

25 In addition, it is the intent of the board 25 Q At our last session you told me that that

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1 had been repealed by the board of directors. Is that a 1 A I don't believe so.
2 true statement that you made? 2 Q Do you believe that Milsner manipulated or
3 A I believe so, but I have not seen the board 3 controlled Dawson when he, being Dawson, signed 62096
4 of directors' minutes where it was repealed. 4 that we see here?
5 Q What is your source of information that 5 A I have no idea.
6 that occurred? 6 Q Let's go to 62099. This is minutes of a
7 A Probably Jack Dawson, but I'm not sure. 7 meeting dated January 19, 2007. Do you see that, sir?
8 Q Do you believe it or do you doubt it? 8 A Yes.
9 A I believe it. 9 Q And do you believe you were a director in
10 Q Has Dawson ever lied to you? 10 2007?
11 A I don't think so. 11 A No.
12 Q Has he ever told you something that turned 12 Q You knew about the expansion into Elko,
13 out to be false? 13) didn't you?
14 A I don't believe so. 14 A Yes.
15 Q Let's go to page 62086. Are you with me? 15 Q And how did you find out about it?
16 A Yes. 16 KR I don't know.
17 Q This is the minutes of a special meeting of 17 Q Okay. Fair enough.
18 the board of directors, April 12, 2006. Do you see that ie Let's go to 62103, please. Are you with
19 at the top? 19 me?
20 A Uh-huh. 20 A Uh-huh.
21 Q The second paragraph says: 21 Q This is a meeting of December 27, 2007.
22 The following persons, constituting 22 You don't contend you were a director or an officer at
23 the full board of directors, were 23> that time, do you?
24 present at the offices of the company: 24 A No.
25 Jack A. Dawson and William Geyer. 25 Q This talks about Mr. Geyer resigning. Do
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54 56
1 Richard L. Milsner was present by speaker 1 you see that in the first paragraph -- actually the
2 telephone. 2 second paragraph? And they're talking about putting Mr.
3 Do you contend, sir, that as of April 12, 3 Brown on the board,
4 2006, you were on the board of directors? 4 A If you say so.
5 A I don't believe so. 5 Q Did you know that Mr. Brown went on the
6 Q Were you an officer at that time? 6 board of directors of American MedFlight December 27,
7 A I don't believe so. 7 2007?
8 Q And the board is vested with the 8 A I don't know that.
9 responsibility for managing the company, isn't it? Do i) Q Is today the first time you've heard that?
10 you understand that? 10 A Yes.
11 A Uh-huh. 11 Q Did you know that Jim Brown was ever on the
12 Q Yes? 12 board of directors before I just told you here today?
13 A Yes. 13 A Yes.
14 Q Thank you. 14 Q When did you find out?
15 Let's go to 62096. Are you with me? 15 A I don't know.
16 A Uh-huh, 16 Q But you knew before today?
17 Q These are minutes of the special meeting of 17 A Before today, yes.
18 the board of directors, December 29, 2006. Do you see 18 Q How did you find out?
19 that? 19 A I don't know. Either with Jim Brown or
20 A Yes. 20 Jack Dawson.
21 Q And present were Jack Dawson, director by 21 Q Are you just guessing or do you recall?
22 telephone, William Geyer, director by telephone, Richard 22 A I'm just quessing.
23 L. Milsner, director. 23 Q Okay. Fair enough.
24 Do you contend you were an officer or 24 Then they go on down below and doen't they
25 director at that time, six? 25 talk about -- never mind.
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1 MR. HILL: We'll take a break 1 MR. HILL: Here we go.

2 (A recess was taken at 2:41 p.m.) 2 BY MR. HILL:

3 ~o00- 3 Q We were on 62106, I believe. Have you seen
“ 4 4 this document before, Mr. Carstarphen?

5 5 A When was this dated?

6 6 Q 62107 is dated 2/4/08 and it identifies the

7 7 directors as Brown, Dawson and Milsner. Do you see that?

8 8 A Where is that? What paragraph is that?

9 9 Q Page 62107, Mr. Carstarphen. Do you see

10 10 = that?

Bb
tr
Be
»

Un-huh.

Have you seen this document before?

I don't believe so.

Then we won't talk about it.

But you were not on the board in 2008; is

PR
wo oN
Poe
Ww BD

oO PO YP

Poe
a oe
Poe
ao fF

16 16 that right?

17 17 A I believe that's correct.

18 18 Q Let's go to 62117.

19 19 A 62117.

20 20 Q Have you ever seen this document before,
21 21 sir?

N

wy
N
NK

A I don't believe so.
Q You're aware that the board elected to
indemify Mr. Milaner for attorneys’ fees in this case,

Ny KN
B&B Ww
Ny KN
BB Ww

 

25 25 aren't you?
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. 58 60
1 RENO, NEVADA, THURSDAY, JUNE 3, 2010, 2:52 P.M. 1 A That's the way it's been since day one.
2 -o0o0- 2 MR. HILL: Do you want me to have the court
3 MR. HILL: Let's go back on the record. 3 reporter read back my question or do you have it --
4 EXAMINATION 4 Why don't you read the question back to
5 (Resumed) 5 him, Jerry.
6 BY MR. HILL: 6 (The following question was read by the reporter.)
7 Q Mr. Carstarphen, while we were off the 7 “QUESTION: You're aware that the
8 record I asked Mr. Russo to consult with you because I'm 8 board elected to indemnify Mr. Milsner
9 of the opinion right now that you're impaired as we're 9 for attomeys' fees in this case,
10 proceeding. I don't mean to insult you, sir, I say that 10 aren't you?"
11° out of faimess. 11 THE WITNESS: American MedFlight has been
12 I'm entitled to take your deposition, but I 12 paying the attorneys' fees since '93.
13 think you're entitled to be feeling up to being deposed. 13 BY MR. HILL:
14 And I'm getting very distinct impression here this 14 Q Since 1993?
15 aftemoon that you're not hitting on all cylinders. 15 A I believe so. Let me look.
16 That happened to me when I deposed Mr. 16 Q Just for the record what are you looking
17 Proctor previously in the state court case, everybody was 17. at, sir?
18 gracious enough to say, well, if you don't feel good, 18 A 58.
19 we'll stop. 19 Q Thank you.
20 I want you to know that invitation's open 20 A It's not on here, but it was like in 1999.
21 to you. And if you don't feel good and you're not able 21 Q What happened then, sir?
22 to focus fair's fair. 22 A That's when American MedFlight has been
: 23 Do you wish to proceed, sir, or do you want 23 paying Milsner's attorneys' fees.
: 24 to -- 24 Q Since 1999?
25 A I feel fine and wish to proceed. 25 A I believe that's the date.

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1 Q Is that when you filed your first lawsuit? 1 Q Let's go to 62127.
2 A That's what I was looking on here and I 2 A 62127?
3 don't see the date of the lawsuit, so I don't know what 3 Q Yes, sir. This is the letter from you to
4 the date is. 4 American MedFlight, August 13, 2008; is that right?
5 Q Mr. Carstarphen, I will again offer to 5 A That's correct.
6 adjourn the deposition today. 6 Q And you signed it, John Carstarphen,
7 Have you seen this document before, 62117, 7 stockholder and former director of American MedFlight,
8 62118, 62119? 8 Inc. Why did you send it to Mr. Brown?
9 A I don't believe so. 9 A Because he's one of the directors.
10 Q Didn't you verify the complaint in the 10 Q So by that date you knew Brown was a
11 state court case that you just filed? 11 director?
12 A Say that again. 12 A Yes.
13 Q Do you know what it means when you verify a 13 Q You weren't a director at that time; is
14 complaint? 14° that right?
15 A Not really. 15 A I believe that's correct.
16 Q Did you ever sign a document that you -- 16 Q And you said:
17 you know you filed -- your lawyers lawsuit for you here 17 I am requesting a special meeting
18 very recently in state court? 18 of the hoard of directors as soon
19 A Yes. 19 as possible to discuss my claim
20 Q Had it been filed before we took your 20 for attorneys' fees from American
21 deposition the last time on April 23rd? Were you aware 21 MedFlight, Inc., in accordance with
22 that it had been filed when your deposition was taken 22 Section 7.01 (a) of American MedFlight's
23° last time? 23 bylaws."
24 A I don't know. 24 Do you believe that American MedFlight
25 Q “When was the first time you heard that that 25 should be paying your attorneys' fees in this federal
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62 64
1 suit had been filed? 1 case?
2 A We had talked about it. I don't know that 2 A Yes.
3. I know a date that it was filed. 3 Q Is that why you filed this lawsuit in state
4 Q I'm asking you when you heard about it for 4 court?
5 the first time that it had been filed, past tense. s A No. This one? This most recent one?
6 Within the last couple of months. 6 Q Yes.
7 Q Can you get any more specific than that? 7 A No.
8 A No. 8 Q Were you an officer or a director during
9 Q Did you read the complaint -- have you ever 9 the period of time that you filed this case, the federal
10 read it? 10 case?
11 A I believe I have. ame A Was I an officer or a director? I don't
12 Q When? 12. know.
13 A I think it was e-mailed to me and I read 13 Q Let's go to the next page, 62128.
14 it. 14 Down at the bottom it says:
15 Q Do you recall the date? 15 John, although not mentioned in the
16 A No. 16 minutes, you were selected to research
17 Q Was it before or after it was filed? 1? the airport lease developments and
18 A Well, I assume it was after. 18 Present solutions for a new location
19 Q And is every -- is everything in that 19 for RFS and AMF. I was wondering if
20 complaint true? 20 you have any news for us?
21 A I believe so. 21 Regards
22 Q Do you know if this document that we're 22 Jim Brown.
23 talking about right now is attached as an exhibit to that 23 Did you get this?
24 complaint? ‘ 24 A Uh-huh.
25 A I don't know. 25 Yes?

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1 Yes. 1 Q Well, let's talk about the content of this
2 Q Thank you. 2 document.

3 Were you in charge of research for the 3 Which one?

4 airport lease developments and finding a new location for 4 Q 62193, sir, your letter.

5 both RFS and AMF? 5 You say:

6 A I think ve all were. 6 At our last board of directors' meeting

7 Q So the answer is, everybody was in charge 7 the directors called for a special

8 of that? 8 board of directors! meeting. If not

9 A Everyone was looking. 9 conducted soon, I would like to call
10 Q What did you do? 10 for a special board of directors!

11 A What did I do? I was looking for airport 11 meeting within the next 30 days.
12 locations. 12 Was there one held within 30 days from the
13 Q What did you do to look for airport 13. date of your undated letter, sir, do you know?
14 locations, Mr. Carstarphen? 14 A I don't know what the date of this letter
15 A I went to different places and talked to 15 is, so I don't know.
16 people to see if we could get locations. 16 Q Okay. Was there ever -- well, you go on
17 Q What places did you go? Who did you talk 17 then and you list five items.
18 to? When did you go there? What did they say? 18 Was there ever -- let's talk about the
19 A I talked to a number of people and found a 19 first one.
20 location in Silver Springs that we could lease land and 20 That AMF abide by the corporate bylaws
21 build a building. 21 in regard to RFS that it has not done
22 Q Is that the only thing you did? 22 in approximately the last 10 years.
23 A I talked to Jim Brown a number of times and 23 You're veferring there to your veto over
24 Jack Dawson about painting a hangar in Carson City. 24 those dealings, aren't you?
25 Q And you understood that American MedFlight 25 A I don't have a veto. I mean the bylaws
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66 68

1 and Reno Flying Service would be sharing this space 1 request that I sign all the checks going to Reno Flying

2 together? 2 Service. That's not a veto.

3 A That's correct. 3 Q Don't you recall telling me that you

4 Q Was that acceptable to you? 4 thought you had a veto?

5 A Yes. We also looked at the Stead airport 5 A I don't recall anything like that.

6 area, too. 6 Q All right. Did you get a vote from the

7 Q Let's go to 62193, please. Are you with 7 directors on point’ number one on this undated letter,

8 me? 8 number 62193, Mr. Carstarphen?

9 A Yes: 9 A I think before a vote was done, the bylaws
190 Q This purports to be a letter by you to 10 had been changed to eliminate this part of the bylaws or
11 American MedFlight, Inc., attention Jim Brown. Is that 11) amend them.

12 what this is? 12 Q As you sit here today, do you believe that
13 A Yes. 13 that part of the bylaws has been changed by the

14 Q When did you deliver this? Can you give me 14 directors? ,

15 a clue? Look at 62195, it's got a mem, I think thig is 15 A I believe it has.

16 from Scott Russo, I don't know. 16 Q Then item number 2:

17 Let me direct your attention to 62183. I'm 17 The termination of John Fowler,

18 just trying to find out the date that you delivered this 18 attorney for services to AMF since

19 letter, Mr. Carstarphen. 19 PMF is not a party to any litigation.

20 A I can't. There's no date there. 20 Has Mr. Fowler been terminated, do you

21 Q No, there's not. 21 know, sir?

22 A Okay 22 A I believe I have the wrong name in this, to
23 Q 62183 is a memo to you from Scott Russo 23 begin with.

24 dated June 10. Was that enclosed, do you know? 24 Q Who do you think you mean?

25 A I don't know. 25 A I don't know. I'd have to ask --

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1 Q Harrison, the guy that was here before? 1 A Does Milsner present actual bills?
2 A Could be. 2 Q Do you understand the question?
3 Q - Did you get a vote on that issue at a 3 A I don't understand what bills does Milsner
4 directors! meeting, sir? 4 present?
5 A I do not believe so. 5 Q I believe we were talking about the
6 Q Was there a meeting held in response to 6 attorneys' fees bills, did you understand that?
7 your request? 7 A Yes.
8 A I do not believe so. 8 Q Do you know if Mr. Milsner presents
9 Q So, none of the things in here got voted on 9 attoreys' fees bills for American MedFlight in order to
10 by the board? / 10 get them paid?
11 A I believe subsequent board meetings som of 11 A T have no knowledge of that.
12 these issues were taken care of -- were discussed or 12 Q Now, you were outside earlier today when
13 done. But I do not believe we had a special board of 13 Mr. Russo and Mr. Proctor were discussing the new
14 directors' meeting. 14 assignment to Mr. Proctor?
15 Q Okay. You want the board of directors to 15 A Yes.
16 pay your attormeys' fees? Yes? 16 Q What do you understand that assignment to
17 A I believe that if they're paying Milsner's 17 be, sir?
18 they should pay mine. 18 A I don't think I can fully describe that.
19 Q You want AMF to pay your attormeys' fees, 19 Q Well, describe what you understand.
20 though, right? 20 A It was in regards to aircraft leasing.
21 MR. RUSSO: He answered that question. 21 Q And what was Mr. Proctor's task?
22 THE WITNESS: I answered that. 22 A i can't answer that.
23 MR. HILL: I'm sorry? 23 Q Why not?
24 MR. RUSSO: He said it was conditional, if 24 A Because I didn't really understand what
25 they are paying one, then they should pay for his. 25 they were doing.
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70 72
1 BY MR. HILL: 1 Q Did Mr. Russo give Mr. Proctor a timeline
2 Q Have you pregented bills to the company 2 to complete the task?
3° that you want paid? 3 A I don't know.
4 A Yes. 4 Q Were you there?
5 Q When did do you that? 5 A I was there, but I'm not sure that I
6 A A year or s0 ago. 6 understood if there was a timeline, I don't know. I
7 Q Who did you give them to? 7 mean, are you saying, ig there an exact date or
8 A I believe I gave them to Jack Dawson. 8 something? I don't know of any exact date.
9 Q Whose bills were they? 9 Q Did he say the next week, the next month
10 A They were mostly Gunderson's bills. 10 «the next year?
12 Q So you wanted them to pay the state court 11 A He didn't say any of those things.
12 case bills? 12 Q You want the judge in this case to award
13 A Yes. 13 you your attormeys' fees that Mr. King and Mr. Russo
14 Q And have you presented any of Mr. Russo's 14 charged you?
15 or Mr. King's bills to the company to pay? 15 A I don't know how to answer that. I don't
16 A I don't believe so. I think it was only 16 know what the legality is.
17 Gunderson's. 17 Q Do you want the judge to award you
18 Q So your testimony is that you presented 18 attomeys' fees?
19 Gunderson's bills to Jack Dawson for the company to pay, 19 A I don't know what is the legality of that.
20 but you've not presented any of the King or Russo bills; 20 Q If it's legal, do you want him to award
21 correct? 21 them to you?
22 A I did not produce the bills. I produced a 22 A If it's legal, yes.
23° summary. 23 Q How much do you want him to give you?
24 Q Do you know whether Milsner presents actual 24 A Attomeys' fees.
25 bills? 25 Q How much?

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arrangement in Reno at the airport is 50/50 between

 

 

1 A I don't know what they are. 1
2 Q You don't know how much you've spent on 2 American MedFlight and Reno Flying Service, do you know?
3 attormeys' fees in this case as you sit here? 3 A It's not quite as easy as that because
4 A No. I don't have a total. 4 there's like three or four hangars, and some of them are
5 Q Do you have any idea how much you've spent? 5 in Elko, two or three of them are in Remo.
6 A Yes. 6 Q I believe my question asked about the Reno
7 Q How much? 7 Airport, sir. How many hangars does American MedFlight
8 A Probably 750,000. 8 have the use of at the Reno airport, do you know?
9 Q And does that include Gunderson? 9 A Probably three or more. ‘
10 A Yes, 10 Q At the Reno airport?
11 Q How much did you pay Mark? 11 A Yes.
12 A I don't know. 12 Q And are any of those exclusive to American
13 Q Have you ever had any -- well, let me back 13. MedFlight?
14 wp. 14 A Yes.
15 Do you believe that American MedFlight has 15 Q How many of them?
16 unfairly charged Reno -- start over. Apologize. 16 A I believe two.
17 Do you believe that Reno Flying Service has 17 Q The one which they would share would share
18 unfairly charged American MedFlight for any parts? 18 with Reno Flying Service; right?
19 A For any parts? 19 A Say again.
20 Q Yes, sir. 20 Q There are three hangars that American
21 A I don't know. 21 MedFlight has the use of at the Reno airport. That's
22 Q What about the labor? 22 +your testimony?
23 A I don't know. 23 A No, there's two I believe.
24 Q Do you believe that the lease is unfair? 24 Q Okay. There are two hangars at the Reno
25 A IT don't know, 25 airport that Américan MedFlight has the use of; is that
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74 76
1 Q Do you have any facts that lead you to 1 your testimony?
2 believe that it is? 2 A I believe that's correct.
3 OA No. 3 Q Does it have the exclusive use of either
4 Q The rental fees, do you believe any of 4 one of those?
5 those are unfair? 5 A Yes.
6 A This is the rental before the lease? 6 Q The one that it does not have exclusive use
7 Q Yes. 7 of, who does it share with?
8 A I don't know. 8 A The hangars that American MedFlight has
9 Q Okay. Have you ever taken issue of whether 9 have exclusive use of those two hangars.
10 «or not -- well, is American MedFlight supposed to pay 10 Q They have exclusive use of them?
11 half of the rent for the hangar? 1 A Yes.
12 A Which hangar? 12 Q Does it share facilities anywhere on the
13 Q Any hangar anywhere -- let me back up. 13 planet with Reno Flying Service, Mr. Carstarphen?
14 You were supposed to go look for new space 14 A Not to my knowledge.
15 for Reno Flying Service and American MedFlight. 15 Q Your testimony as a director of this
16 A We all were supposed to go look for space 16 company is that to the best of your knowledge American
17 for Reno Flying Service and American MedFlight. 17° MedFlight does not share any physical location with Reno
18 Q Which company was going to pay how much of 18 Flying Service. Is that your testimony?
19 the new lease? 19 A I believe that's true.
20 A That was never discussed. 20 Q Where is the American MedFlight office, do
21 Q What was your understanding of what that 21 you know the address? .
22 would be? 22 A 295 South Rock Boulevard.
23 A My understanding on the one particular one 23 Q Is there any other company that has an
24 down in Carson City was 50/50. . 24 office at that address? ,
25 Q Is it your understanding that the current 25 A Reno Flying Service.

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1 Q Are they in the same building? 1 you for punitive damages in this case?
2 AR They are in the same building. 2 A No, I don't know that.
3 Q Do you understand them to share space 3 Q You don't understand that.
4 inside four walls and a roof? 4 Do you understand that Mr. Milsner's
5 A Yes. 5 counter-claimed against and contended that you've brought
6 Q How does that differ from the material that 6 seven years of frivolous litigation just simply to
7 I just asked you about, whether or not American MedFlight 7 disrupt his business? Has anybody ever explained that to
8 shared any physical location with any other entity 8 you?
9 anywhere on the planet? 9 A Frivolous litigation, you've got to be
10 A You asked me if they shared a hangar. They 10 kidding.
11 do not share a hangar. They share an office. 11 Q Can you answer my question, sir? Do you
12 Q All right. What percentage of the rent for 12 understand that's the allegatios against you?
13 that building does American MedFlight pay, do you know? 13 A Whatever.
14 A No, I do not. 14 Q Mr. Carstamphen, do you understand that the
45 Q As a director, do you think you should 15 AMF ESOP has not been able to pay Mr. Milsner as agreed?
16 know? 16 A Yes.
W7 A I don't think so. 17 Q Do you know why?
18 Q You contend that Mr. Milsner should be 18 A Because the payments were in excess of what
19 punished in this case. Is that fair? 19 the cash flow of the company was.
20 A No. 20 Q And where did 750,000 of that cash flow go,
21 Q You don't? 21 Mr. Carstarphen?
22 A No. 22 A To you.
23 Q You don't seek punitive damages against Mr. 23 Q It went to legal bills because of the
24 Milsner? 24 frivolous lawsuits that you've brought.
25 A You asked punished, so I don't believe so. 25 MR. RUSSO: Objection. Argumentative.
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78 80
1 Q Do you believe that the judge should assess 1 BY MR. HILL:
2 moneys against Mr. Milsner to teach him a lesson go he 2 Q Now, Mr. Carstarphen, I intend to ask the
3 doesn't do this again to somebody else? 3 jury for punitive damages against you. And by that, sir,
4 A No. 4 I mean that I think the jury should pmish you
5 Q So if you get compensatory damages, that's 5 financially for what you've done.
6 good enough for you? 6 Do you understand that as you sit here now,
7 A I don't know what that means. 7° «gir?
8 MR. HILL: Counsel, do you want to make a 8 A Is that a question?
9 statement here? 9 Q Do you understand that, sir? I have just
10 MR. RUSSO: I've got to look at the 10 told it to you in case nobody else has ever told you
11 complaint, which I happen to have. 11 that. You're entitled to know that, sir.
12 The prayer in the complaint does seek 12 Do you understand that now?
13° punitive damages as part of the prayer. 13 A I would gay yes.
14 BY MR. HILL: 14 Q Now, you own American Home Companion?
15 Q Mr. Carstarphen, do you know what punitive 15 A Say again.
16 damages are? 16 Q What business are you engaged in, Mr.
7 A I have a vague idea. 17 Carstarphen?
18 Q What do you understand them to be, sir? 18 A I have American Home Companion.
19 A I don't think I can answer that. I don't 19 Q Any other business?
20 really know enough about it. 20 A Any other business?
23 Q You're not a lawyer and I'm not going to 21 Q Yes, sir.
22 hold you toa legal definition. All I want to know is 22 A American Care Givers.
23 what you think punitive damages are. 23 Q And what percentage of those companies do
24 A I don't think I can answer that. 24 you own?
25 Q Do you understand that we've pled against 25 MR. RUSSO: Objection, not reasonably

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1 calculated to lead to discovery in this lawsuit and I 1 by that condition you were going to get to sell all your
2 instruct the witness not to answer. 2 stock, weren't you?
3 MR. HILL: And do you wish to assert 3 A I believe so,
4 privilege, coumsel? 4 Q Now, last time you told me that there was a
5 MR. RUSSO: I assert privilege. 5 guy in Milener's office name Sanjay. Do you remeber
6 MR. HILL: Do you believe your objection is 6 telling me that?
7 well founded, Mr. Russo? 7 A SamJay?
8 MR. RUSSO: I sure do. You're seeking 8 Q Or was it Monjay, Rebert Monjay, do you
9 discovery with respect to his assets, which are totally 9 remenber that name?
10 irrelevant to the allegations in this complaint. 10 A In Milsner's office? No, that was in
11 MR. HILL: We call it a comter-claim. In 11 Gmderson's office.
12 California everything's a cross-complaint, I understand 12 Q You're right. Did I say Milsner?
13. that. 13 Yeah.
14 Even on the issue of punitive damages, 14 Q I misspoke. Thank you.
15 Mr. Russo? 15 You recall Robert Monjay?
16 MR. RUSSO: Absolutely. 16 A Yes.
17 MR. HILL: Okay. I'11 defer my questioning 17 Q And you told me that Monjay told you that
18 on that for today then. 18 if you sold your stock, your case -- your state court
19 MR. RUSSO: I'm asserting the cbjection for 19 case, case nurber one, would go away.
20 failure to bring a motion -- 20 A I believe that's correct.
21 MR. HILL: And I -- 21 Q And that was not an acceptable option to
22 MR. RUSSO: And I will delve into it if 22 you; right? Do you recall telling me that?
23 you're holding this to be true that I get to go into 23 A This was before the ESOP gale, though.
24 tomorrow every asset that Mr. Milener has. We can both 24 Q Right. Right. Did you go back to Monjay
25 bring our motions to the court. 25 and talk with him about that issue after that meeting on
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82 84
1 MR. HILL: I appreciate your invitation to 1 December 5th, 2005?
2 file a motion, Mr. Russo. I think you know I know how to 2 A I believe after December 5th, 2005 Monjay
3 do that. 3 was no langer with Gunderson.
4 BY MR. HILL: 4 Q Did you confirm with Gunderson after that
5 Q Now, the last time we got together we 5 meeting that Monjay's advice to you had been correct?
6 talked about the transcript of the December 5, 2005 6 MR. RUSSO: Objection. Attorney-client
7 shareholder meeting. Do you recall that? That's the 7 privilege. I would instruct him not to answer. You're
8 meeting that you went to where Milener was going to sell 8 talking about before the meeting what he knew or did not
9 his stock to the company? 9 know, not after.
10 A To the ESOP. 10 MR. HILL: That's going to draw a motion
11 Q Thank you. You're right. 11 because -- do you want to talk about it or just deal with
12 Do you recall that conversation we had last 12 the motion? Because if you'll recall on the transcript,
13 time? 13 Mr. Russo, Mr. Carstarphen was given 10 days after the
14 A Yes. 14 meeting to go consult with counsel or whatever he wanted
1s Q And you understood that the company had 15 to do, so the offer remained open.
16 some money. And if you abided by what you say are the 16 MR. RUSSO: My recollection is that within
17 conditions Milsner imposed, that you had to dismiss your 17 the scope of discovery that we talked about, we talked
18 state court case, you were going to get one-third of that 18 about it through the end of 2005, if you remember that.
19 money. 19 With respect to commmications, I guess we
20 Did you understand that? 20 need to limit it to whether or not that would need a
21 A Yes. 21 stipulation on the discovery of such communications
22 Q Who was going to get the other two-thirds? 22 during that period.
23 Where was it going to go? 23 The first question is, was there -- did
24 A To Milsner. 24 this conversation occur within that time period.
25 Q And you were going to sell -- if you abided 25
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1 BY MR. HILL: 1 December Sth, 2005?
2 Q Did you go back to Mr. Gmderson's office 2 A Yes. But it had nothing to do with the
3 after the -- well, let me back up. 3 decision I did then or 10 days later.
4 Somebody, you think it was Monjay, in that 4 Q Okay. We started your deposition last time
5 office told you before the meeting that if you sold your 5 and I asked you to tell me everything that was -- that
6 stock your right to pursue the lawsuit would go away; 6 Milsmer told you that was false. We can open the
7 correct? 7 deposition up because I don't want you to -- I told you
8 A It's not before the meeting. It was 8 we'd go back and talk about them and we never had the
9 prcbably a year before the meeting. 9 opportunity and I want to do that. So if you want to
10 Q Okay. Well, before the meeting then? 10 open it, you can follow along here. If you want to open
1l A Yes. 11 to page 24. /
12 Q And you went to that meeting with that 12 On page 23 at line 22 I asked you:
13 understanding; right? 13 Has Mr. Milsner ever told you anything that
14 A Yes. 14 was false, and your answer was yes.
15 Q And the meeting occurs and they ask you to 15 What has Mr. Milsner told you that was
16 get back to them within 10 days; right? 16 false, sir? Give me the list and we'll go through all of
17 A Yes. 17 them.
18 Q And during that period of time did you talk 18 And your answer is, well, the list is too
19 to Mr. Gunderson -- did you commmicate with Gunderson? 19 numerous, I think, to even try and come up with.
20 A About the meeting? 20 And I said to you, well, why don't you give
21 Q Yeah. 21 me the top five, let's start with the top five, can we do
22 A Yes, I did. 22 that?
23 Q Okay Did you ask him whether or not 23 And your answer was, okay.
24 Monjay's advice was correct? 24 Now, the first one was before a board of
25 A No. 25 directors' meeting. He told me that if I dropped the
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86 88
1 Q You just assumed it was? 1 lawsuit I could participate in ESOP.
2 A IT don't know what you're -- what you're 2 Do you see that answer that you gave?
3. trying to find out. 3 A Uh-huh.
4 Q What I'm trying to find out is what you did 4 Q Yes?
5 in that 10-day window after the meeting, Mr. Carstarphen, 5 A Yes.
6 to decide whether or not that was a deal that you wanted 6 Q Thank you.
7 to pursue. 7 What board of directors' meeting are you
8 A The deal was contingent upon me dropping 8 referring to?
9 the lawsuits to sell my stock, and I did not want to drop 9 A The December Sth, 2005 meeting.
10 the lawsuits. 10 Q And Milsner -- it was false? What Milsner
1. Q Okay. But you didn't want to sell your 11 told you was false?
12 stock because you knew that you'd lose the lawsuit -- the 12 He told me that if I dropped the lawsuit I
13. right to pursue the lawsuit, didn't you? 13. could participate in the ESOP. That's what he told you?
14 A Tt was conditioned upon it from the 14 A Yes.
15 get-go --~- 15 Q Okay. Was that statement false?
16 Q But you knew -- 16 A No, I believe that's what he told me.
17 A If I wanted to sell my stock, I was told by 7 Q So you want to change that testimony there
18 Milsner that I had to drop the lawsuit. It had nothing 18 to reflect what you just said?
19 to do with the fact that if I sold my stock to somebody 19 A Yes.
20 else, and that was what the discussion was with Monjay, 20 Q The next one: He told me that he would buy
21 that if I sold it to XyZ, I would lose my condition on 21 my stock back in 1999.
22 the lawsuits. Whether that's true or not true I don't 22 Now, we talked about that one last time; do
23 know. 23° you recall that?
24 -Q But that was your understanding of the 24 A Vaguely.
25 state of the law when you walked into the meeting on 25 Q Do you want to -- anything you want to tell

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1 me about that that was false? 1 A I believe so.
2 Well, he never bought it. 2 Q On page 25 I have down that the third thing
3 Q And you believe that he didn't intend to 3 that you gave me was --
4 buy it? 4 A Where are you here?
5 A I have no idea as to his intent. 5 Q Page 25, line 2.
6 Q Well, when I say to you something that was. 6 ; He told me, when I questioned him about the
7 false, that would mean that he said something he never 7 consulting fee, that he deserved it because of the risk
8 intended to live up to. Did you understand that question 6 he was taking. Is that a statement that Mr. Milsner made
9 to mean that? 9 to you, Mr. Carstarphen?
10 A No. 10 A Yes.
11 Q What did you understand that question to 11 Q When did he make that statement to you?
12 mean, sir? Has Mr. Milsner ever told you anything that 12 A Shortly after the 5,000 a month payments
13 was false? 13 were made, when I questioned it.
14 A He told me he would buy my stock, and he 14 Q And the explanation you were given was
15 did not buy my stock. 15 $5,000 a month was to go to Milsner?
16 Q And I want to know why you think that 16 A Was to go to Reno Flying Service.
17° statement was false. Just because he didn't buy the 17 Q And the reason for that was because of
18 stock? 18 risks Milsner was taking?
19 A We had terms and conditions, and he didn't 19 A Yes.
20 buy it. So what he told me was false. 20 Q What risks did Milaner tell you he was
21 Q All right. Can you distinguish in your 21 taking?
22 world, Mr. Carstarphen, between something being false 22 A He. didn't.
23 where Mr. Milsner lies to you, and where the transaction 23 Q Did you ask?
24 just doesn't happen for some reason? Can you distinguish 24 A No.
25 between the two? 25 Q Why not?
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90 92
1 A Yes. 1 A Why? There was no risk.
2 Q I want to know why you believe that was 2 Q Did anybody ever explain -- well, we
3 false as opposed to it just didn't happen. Do you have 3 covered if --
4 any facts? 4 Did I get an answer from him on how much
5 AU I have documents showing the terms and 5 AMF is paying for the building at Reno Flying Service on
6 -conditions that were never done, and then I was 6 South Rock? They're paying 50% of lease, aren't they?
7 terminated. 7 A AMF?
8 Q Okay. Is that why you were terminated, 8 Q Yeah.
9 because he didn't want to buy your stock? 9 A Qn the office space?
10 A I have no idea. 10 Q Yeah.
1 Q Why was Mr. Milsner's statement to you that 11 A I don't know, but it's probably -- 50% is
12° he would buy your stock in 1999, why was that statement 12 about right.
13 false, Mr. Carstarphen? What facts do you have? Any? 13 Q Is that fair to American MedFlight?
14 A I have documents showing terms and 14 A Yes.
15 conditions and it was not done. 1s Q Has American MedFlight paid that from the
16 Q Okay Those are the galaxy of facts that 16 day it opened its business forward?
17 support that statement; is that your testimony? 17 A I. believe so.
18 A I believe go. 18 Q Did it pay all the rest of its expenses,
19 Q Fair enough. 19 its share of expenses from the day it opened forward?
20 Is there anything else you want to tell me 20 A Yes.
21 about that as to why you believe it was false as opposed 21 Q Have you gone back and looked to see if
22 to it just didn't happen? 22 that's true, or are you just assuming it's true?
23 A Tt was false, not just didn't happen. 23 A No, I was there then, and I believe we paid
24 Q Okay. But you've told me all the facts 24 our fair share.
25 that you have to believe that; is that right? 25

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Q Have you seen Mr. Thomas's report on that?

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1 A No. 1 A Yeah.
2 Q All right. Page 25, the next one that I 2 Q Any other fact that you can recall on to
3. think you gave me is that, he admitted the fact -- page 3 support that, sir?
4 25, line 10 you gay, he admitted the fact that my stock 4 A No.
5 was going to go down 1.3 million dollars by the sale of 5 Q Okay. You've told me all the facts that
6 the ESOP to Mr. Milsner by Mr. Milsner. 6 you have to support that assertion; right?
7 Do you mean to say the sale of stock by 7 A I believe so.
8 Milsner to the ESOP? 8 Q The next one that I have that you gave me
9 A I'm not quite sure what you're asking me. 9 on page 25 is line 21.
10 Q Well, I asked you to give my the list of 10 He used my personal guarantee on a line of
11 things that Milsner told you that was false; right? 11 credit for his personal use in an amount of about
12 A I said that right there, that this is not 12 $140,000 without my knowledge.
13. false. 13 Do you want to change that testimony?
14 MR. RUSSO: I think the word "admitted" 14 A Yeo.
15 should be “omitted.” 15 Q Milsner used it for his personal use. This
16 BY MR. HILL: 16 is the guarantee that started the first lawsuit?
17 Q Well, tell me. I mean -- | 17 A He used it for Reno Flying Service, which
18 That word is wrong, that is correct. 18 he owned.
19 Q What is correct, sir? 19 Q And he owned it solely at that time?
20 A The word is wrong. 20 A I believe so.
21 Q Are you changing your testimony? 21 Q Didn't Dawson own it at that time? Didn't
22 MR. RUSSO: No, he's going to correct the 22 Dawson own half?
23 transcript. 23 A I don't believe so, but I'm not sure.
24 MR. HILL: You're going to coach him and 24 Q Mr. Carstarphen, let me show you Exhibit 6.
25 tell him that's what he should say, aren't you? 25 It's your verified complaint from the first lawsuit, Let
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94 96
1 MR. RUSSO: It's s0 apparent and I was 1 me show you paragraph 12. Why don't you read that to
2 there. , 2 yourself and tell me when you've read it.
3 MR. HILL: Is it? 3 , Have you been able to read 12 by now, sir?
4 MR. RUSSO: It is. 4 A Yes.
5 BY MR. HILL: 5 Q Okay. Can I have it back? Thank you.
6 Q So, what makes you believe -- 6 That says, on or before September 2000
7 MR. RUSSO: Nothing personal. Occasionally . 7 Dawson utilized the 1997 guarantee to obtain a loan for
8 it happens. 8 Reno Flying Service in various amounts from September
9 BY MR. HILL: 9 2000 to February 2003, the maximum of was which $281,800.
10 Q Mr. Carstarphen, do you believe that Mr. 10 Is that what you contend happened?
11 Milsner knew that? 11 A I don't have a recollection of these
12 A That he knew that? 12 amomts. This 287,000 doesn't jibe with 140,000 on the
13 Q Yes. 13 line of credit. So I don't know quite what this is. |
14 A He knows it now. I don't know when he knew 14 Q So you know that you swore this was true --
15 it. 15 Yes.
16 Q Do you have afty reason to believe that 16 Q -- Exhibit 6 this is true?
17 prior to the meeting -- at or prior to the meeting on 17 A Yes.
18 December 5, 2005, that Milsner knew? 18 Q And are you telling me now that it's not
19 Do you have any basis to believe that? 19 true?
20 A Well, he was in constant contact with Menke 20 A No, I'm telling you that I don't know what
21 and Daoro, I would assume that he would know it, but I 21 ‘that's in reference to. You're telling me it's in
22 don't know for sure. 22 reference to the line of credit, and I don't see that
23 Q So you assume because he talked to Menke 23 that has anything to do with the line of credit.
24 and because he talked to Dacro that he knew; is that your 24 Q You don't understand paragraph 12 of the
25 testimony? 25 amended complaint to be referring to the line of credit,

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1 Mr. Carstarphen; is that what you're telling me? 1 A I believe so. I'm not sure.

2 A Yeah. The amounts are not the same. 2 Q So tell me, when did this occur? We're

3 Q How many guarantees did you have? 3 talking about here on page 25, line 21 through 23 of your
4 A How many? 4 deposition, sir.

5 Q Yeah. You had one guarantee at Pioneer 5 A When did it occur?

6 Citizens -- 6 Q Yes.

7 A Maybe --probably a half a dozen. 7 A I don't know the dates.

8 Q Where? 8 Q Do you have arly documents to corroborate

9 A With Nevada State Bank. 9 what you're saying here, sir?

10 Q That's it? 10 A Yes.

il A I believe so. 11 Q Where are they?
12 Q Didn't Pioneer Citizens became Nevada State 12 A They're in my files.

13. Bank, Mr. Carstarphen? 13 Q What files are those?

14 A Yes, it did. 14 A I presented these files to you. You have
15 Q Isn't that what this is talking about here? 15 them as a part of the information that Gunderson has

16 A It could be. 16 presented. And it was on the Monday report.

17 Q Could be or is? 17 Q Before we move off, I just want to be
18 A Could be. I don't know what this is about 18 clear, that the incident that you're talking about on

Bh
\o

19 here in that paragraph 12. It does not jibe with the page 25 ig not the incident that's being referred to in

 

 

20 numbers of just the line of credit. 20 your first complaint; is that right?
21 Q Could it be possible, Mr. Carstarphen, that 21 A I don't believe it's the same thing.
22 you're confused? 22 Q Fair enough.
23 A No. 23 And you believe Gunderson's provided the
24 Q So the correct number is a hundred and 24 information on the $140,000 incident?
25 forty? 25 A In the first case.
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98 100
1 A The line of credit was more than a hundred 1 Q Then at the bottom of page 25, you might
2 and forty. I think it was at that time two hundred. 2 want to follow along, line 24 I said, what else?
3 Q So elther you're confused or this is wrong, 3 And you said, he wrote himself a personal
4 or we've got two incidents. Help me out here. 4 check for $100,000 without Jack or my knowledge.
5 A I think we got two different things. 5 Now it wasn't a personal check, it was an
6 Q Okay, here we go. 6 American MedPlight check, wasn't it?
7 So, go back to page 25 of your last 7 A Yes.
8 deposition, you said he, Milsner, used my personal 8 Q And I think we talked about that. Is there
9 guarantee on a line of credit for his personal use. 9 anything else you want to tell me about that incident?
10 Now we only talked about from the prior 10 A I don't believe so.
11 lawsuit. That was for Reno Flying Service, wasn't it? 12 Q The next one I show is line 3. He took
12 A Yes. 12 about another, and I'm not sure of the amount, but it's
13 Q So, this is a different one because it's 13 around a hundred thousand dollars as a fee for
14 for his personal use? : 14 guaranteeing the notes on the aircraft.
15 A It was really for Reno Flying Service. 15 Now, that was on the books and records,
16 Q So are we talking -- 16 wasn't it?
17 A When I use the word, "personal use," it 17 A I would assume it was.
18 means for Reno Flying Service that he owns a hundred 18 Q Now, did Milaner take that money without
19 percent of. 19 the directors' approval, do you know?
20 Q So we're talking a hundred and forty plus 20 A If I was a director then, I did not approve
21 the two eighty? 21 it. But I'm not sure when it was done.
22 A Those, I believe, are guarantees on 22 Q Do you know whether or not it was approved
23 airplanes, not line of credit. 23 by those who were directors at the time?
24 Q That you were referring to in the first 24 A I have no knowledge of that.
25 case? 25 Q One way or the other?

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1 A No. 1 your position?

2 Q The next one that I have that you gave me, 2 A Well, if you want to use it as that, you
3 nunber 8, is page 26, line 19. We specifically had in 3 can say that if you want. ‘They amended the bylaws.

4 the bylaws protection when we formed the corporation that 4 Q Why?

5 there would be no self-dealing. And I had a construction 5 A I have no idea.

6 company at that time and we all agreed that if American 6 Q Was it because Milsner manipulated them?

7 MedFlight was going to use my construction company for 7 A I have no idea.

8 anything, that one of the other partners would sign the 8 Q And then you go on and say on page 27, line

9 checks and watch the disbursements; and likewise, if any 9 4, and subsequently in 2008 that provision of the bylaws
10 money was going to Reno Flying Service that I was 10 was repealed against my vote.

11 ~=supposed to sign the checks and approve them, which was 11 So you were there for that vote apparently;
12 never done. 12 is that true?
13 Did I read the correctly? 13 A I don't believe so.
14 A Yes. 14 Q. So your testimony is in error? Do you want
15 Q Okay. You did sign some of the checks when 15 to change that testimony, too?
16 you were an officer, didn't you? 16 A I don't believe that I was in a board of
17 A Yes. 17 director's meeting where there was a vote on that, but
18 Q And there came a point in time when you 18 I'm not sure.
19 were no longer an officer? 19 Q So, do you want to change your testimony on
20 A Yes. 20 page 27, Mr. Carstarphen? It's an easy question. Yes or
21 Q Were you supposed to still sign all those 21 no?
22 checks? 22 A I don't want to change my testimony because
23 A That's what the bylaws says. 23 you're taking it out of context. My vote is just my --
24 Q And you've brought this to the attention of 24 my -- an expression of what I've wanted.
25 the board? 25 Q So you want to change your testimony from
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1 A Yes. 1 ‘the word "vote" to "what I wanted"?

2 Q We went over that earlier? 2 A You could change it to that.

3 A Yes. 3 Q Okay. Mr. Carstarphen, I don't care

4 Q We had the letter which you sent, it was 4 whether you change your testimony. But if you want to

5 undated, do you remerber that? 5 change it, just say so. Don't beat around the bush.

6 A Yes. 6 A I'm not beating around the bush.

7 Q And they've since rejected that, haven't 7 Q Do you want to change your testimony or

8 they? It's your understanding that they rejected -- 8 not? Yes or no?

9 A They've amended the bylaws. That's my 9 A I don't know whether I voted at a board of
10 understanding, but I have not seen the amendment. 10 directors’ meeting on this or not. I'd have to go back
1 Q It's your understanding that the board of 11 and research the records and the minutes.

12 directors has rejected your assertion; isn't that true? 12 MR. RUSSO: Let's take 5. It's 4 o'clock.
13 A Well, I don't assert it. I say they 13 MR. HILL: Well, I just want --

14 amended the bylaws. 14 MR. RUSSO: You're going to be going for a
15 Q And do you take that as a rejection of your 15 while longer anyway. Let's take 5.

16 position? 16 MR. HILL: All right.

17 A I don't know what you're trying to say 7 (A recess waa taken at 3:55 p.m.)

18 there. 18 -o00-

19 Q Well, you've come in and said, hey, you're 19

20 not abiding by the rules; isn't that what your said? 20

21 A Yes. 21

22 Q And what's their response? They changed 22

23 the rules? 23

24 A They changed the rules. 24

25 Q Did you not take that as a rejection of 25

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i RENO, NEVADA, THURSDAY, JUNE 3, 2010, 4:08 P.M. 1 "meeting on December Sth, 2005,
2 -o00- 2 did you believe that you had been
3 MR. HILL: Let's go back on the record. 3 given all of the information that
4 EXAMINATION 4 you needed to make an intelligent
5 (Resumed) 5 decision about the ESOP"?
6 BY MR. HILL: 6 MR. HILL: With regard to the ESOP. Do you
7 Q Mr. Carstarphen, were there any answers 7 understand that question, Mr. Carstarphen?
8 you've given me so far that you want change, correct or 8 THE WITNESS: Yes.
9 clarify? 9 BY MR. HILL:
10 A No. 10 Q Can you answer it, please?
11 Q Okay. Now, before we broke the question I 11 A No.
12 wanted to ask you was, have you told me now all of the 12 Q Did you ask during that meeting for
13 things that Mr. Milsner has told you that were false? 13 additional information?
14 A I believe so. 14 A I don't believe so. But I believe
15 Q Have you told me all of the things that you 15 additional information was to be forthcoming.
16 believe Mr. Milsner has done to loot American MedFlight? 16 Q What information did you believe at that
17 A I believe so. 17. time was forthcoming?
18 Q Thank you, sir. 18 A Texms and conditions of the sale, the
19 Do you understand that the cbligation -- 19 amount of the sale,
20 you do urderstand, don't you, that the cbligation of 20 Q The amount of the sale, you did not
21 American MedFlight has on the ESOP obligation to Milsner 21 understand that?
22 is contingent? 22 A No.
23 A Qn what? 23 Q That was not in the information that had
24 Q On the ESOP not paying Milsner, or paying 24 been provided to you?
25 the plan participants; do you understand that? 25 A No.
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106 108
1 A No. 1 Q You had been provided with a copy of same
2 Q Okay. You were involved in litigation with 2 data from Mr. Weinress, hadn't you, prior to that
3 Milsner as of the December 5, 2005 meeting; right? 3° meeting?
4 A Yes. 4 A No.
5 Q And in that litigation you contend that S Q You had not?
6 Milsner withheld information from you, didn't you? 6 A No.
7 A I don't know. 7 Q You don't recall any discussion at that
8 Q Don't you recall, Mr. Carstarphen, in that 8 meeting about page 40 of the Weinress appraisal?
9 litigation you complained that Milsner had refused to 9 A The appraisal of what date?
10 give you financial information? 10 Q Do you recall any discussion about any
11 A Yes. 11 appraisal that Weinress had done that had previously been
12 Q And did you believe that? 12 provided to you?
13 A Yes. 13 A On December the 5th there was no appraisal.
14 Q Did you believe it on December 4th, 2005? 14 Q You're sure?
15 A Yes. 15 A It was done subsequently.
16 Q When you went into the meeting on December 16 MR. HILL: Many, many trees have been put
17 «5th, 2005, did you believe that you had been given all of 17 to death needlessly.
18 the information that you needed to make an intelligent 18 (Exhibit 84 was marked for
19 decision about the ESOP? 19 identification.)
20 A The only information I was given was two 20 BY MR. HILL:
21 letters from two banks offering to do a leveraged buyout. 21 Q Mr. Carstarphen, I'm going to hand you
22 MR. HILL: Mr. Reporter, will you read that 22 Exhibit 84. Counsel, a copy for you.
23 last question back for Mr. Carstarphen? 23 Do you see this, Mr. Carstarphen, Exhibit
24 (The following question was read by the reporter.) 24 84 --
25 "QUESTION; When you went into the 25 A Yes.

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1 Q -- this purports to be a September 13, 2004 1 spelled out, page 40.

2 letter to Mr. Milsner on Sansome Street Appraisers, and 2 Then you say, these are the two prices, the

3 if you turn to the next page it's signed by Mr. Weinress, 3 62 and the 53.

4 that's page AMF-58355. Do you see that? 4 Does that refresh your recollection as to

5 A Yes. 5 whether or not you had that document, Mr. Carstarphen?

6 Q Turn to AMF-58356. This is a valuation 6 A 62 and 53.....

7 «report of the common stock of American MedFlight, Inc., 7 Q Look at page 40.

8 as of June 30, 2004, prepared by M.O. Weinress, September 8 A At that December the 5th meeting, I believe

9 13, 2004. Do you see that? 9 I was given page 40, but I do not believe I had any of —
10 A Yes. 10 the rest of the document.

11 Q Did you have this before the 12/5/05 rae Q Let's go to page 9 of Exhibit 28, Mr.
12 meeting, Mr. Carstarphen? 12 Carstarphen. Down at the bottan of page 9 Mr. Milsner
13 A I do not believe so. 13 says, I'll open that up because I'm the one that's done
14 Q Mr. Carstarphen, please tur to page 40 of 14 most of research on this. John, in your package I'm
15 the report. It is AMP-58397. Are you there, Mr. 15 going to give you the page that you have a copy of this
16 Carstarphen? 16 full appraisal.
17 A 58397? 17 And what's your answer? On page 10 do you
18 Q 58397, page 40 of the Sansome Street 18 see the answer on line --
19 Appraisers, Inc. report. 19 A Yes.
20 A Yes. 20 Q What's your answer?
21 Q You're there. 21 A Yes.
22 You had this before that meeting, didn't 22 Q Then Mr. Milsner says, you were given that.
23° you? 23. The principal page, in my opinion, is page 40, which
24 I doen't believe so, but I'm not sure. 24 tells you what in this appraiser's opinion is what the
25 Q If you did, did you read it? 25 company is worth. The ESOP rules are very strict. You

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1 A I'm sure I would have. 1 have to go to am ESOP-approved appraiser and he is the

2 Q Do you feel confident that you could 2 one that decides all the information about the company,

3 understand the data in this report? 3 and he did extensive research and came up with these

4 A No. 4 numbers.

5 Q Did you take any steps to have anybody 5 And you say, Okay. This comes right from

6 explain anything about ESOPs to you before you went to 6 that appraisal?

7 that meeting? 7 And Milaner says, I tock it right out of

8 A I doen't know that I had this report. 8 the appraisal, page 40. So you already have this.

9 Q Mr. Carstarphen, I'm going to hand you 9 Rather than make you page through it, I thought I'd just
10 Exhibit 28. This is the transcript of the meeting on 10 pull it out. This is the one that you'd end up looking
11 December 5th, 2005. You recall being there? 11 at.

12 A Yes. 12 And you say to him, I've already seen this.
13 Q You recall there was a court reporter 13 Do you see that?

14 there? 14 A Yeah.

415 A Yes. 15 Q Was that true or were you bullghittin’ him?
16 Q And have you read this transcript before? 16 A I believe that's correct.

17 A I've read parts of it. 17 Q Okay.

18 Q You and I went through it the last time you 18 A But this appraisal is a year and a half

19 were here, do you recall that? 19 before that date. It's basically not relevant to

20 A Yeah, I have a vague recollection that we 20 anything.

21 went through some of the things there. 21 Q You had Exhibit 84 in front of you, didn't
22 Q Let me show you page 20. On line 4 you 22 you, before that meeting?

23 say, what was the majority and the minority? This was 23 A Apparently I did.

24 the minority one, wasn't it? 24 Q Well, if you didn't, say so. If you did,
25 And Mr. Milener said, it's pretty well 25 say go?

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1 A I don't remerber having it, but I do 1 Milsner's sale, not to discuss whether or not the report
2 remember having Rich giving me that one page 40 at that 2 was accurate or wasn't accurate.
3° meeting. 3 Q So the answer to the question is, no,
4 Q You say in here you've already seen the 4 Mr. Hill, I did not say that to anyone at that meeting?
5 whole appraisal, don't you? 5 A I did not say anything to anybody at that
6 A That's what I said there. 6 meeting.
7 Q Now, did you get anybody to explain it to 7 Qa Thank you, sir. Why not?
8 you because you didn't understand it, or were you relying 8 A Why would I?
9 on Milsner? 9 Q Because there is about to be a transaction
10 A I was relying on Milsner. 10 that could affect you. Did you understand that?
i Q Why? 11 A I did not know it was going to affect me.
12 A Why not? 12 Q But you think that -- you trusted Milsner
13 Q You're suing him because he withheld 13 to tell you that it would?
14 information from you and he had lied to you, weren't you? 14 A No. I wanted to see the documents. This
15 A Yes. 15 was just a preliminary meeting as to whether or not the
16 Q What changed that made you feel you could 16 gale's going to go forward or wasn't going to go forward.
17 suddenly trust Mr. Milsner, Mr. Carstarphen? 17 There was no terms, no conditions, no
18 Can you answer the question? 18 notes, no nothing presented.
19 A Say it again. 19 Q Who told you it was preliminary?
20 Q What changed that you felt you could trust 20 A Preliminary? I didn't even have an agenda
21 Mr. Milsner? 21 of what the meeting basically was before the meeting.
22 A I felt that Mr. Milsner would give me 22 Q Your testimony under oath is that you
23 adequate information as to the sale of the ESOP. 23 didn't have an agenda for that meeting, sir?
24 Q You told me here today that you thought 24 A I don't believe I did.
25 that he was a liar and dishonest since 1998. Do you want 25 Q I'm not going to pull it out. You're
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114 116
1 to change that testimony? 1 wrong.
2 A No. 2 A Okay.
3 Q You've told me here today that you were 3 Q So I come back and I have to ask the
4 suing him for not giving you information before the ESOP 4 questions because I haven't gotten an answer.
5 subject even came up; right? 5 The day before you walked into that meeting
6 A Yes. 6 you don't trust Milsner, he's dishonest and you're suing
7 Q So why did you suddenly think you could 7 him because he withheld information from you; right?
8 trust Milsner? 8 A Yes.
9 A It wasn't a matter of trust. If I saw the 9 Q So why in the world do you think you can
10 documents, I could read the documents myself. 10 trust him when you walk in the door?
11 Q So you did read Exhibit 84 for yourself? 11 A It was not a matter of trust. I'm just
12 A Exhibit 84, yes. 12. coming to a meeting to find out what we're doing. That's
13 Q And is it your testimony that you read it 13 «it.
14 and understood it? 14 You know, if I thought that this meeting
15 A No. 15 was some big conclusion coming, I probably would have
16 Q Did you tell Milsner you didn't understand 1é brought an attomey with me.
17° «it? 17 Q But you elected not to get back to them
18 A No. 18 within the 10 days, didn't you?
19 Q Did you tell anybody at the meeting that 19 A Yes.
20 you didn't understand it? 20 Q You did net get back to them within 10
21 A What's the point of that? 21 days; correct?
22 Q Did you tell anybody at the meeting that 22 A I did not.
23 you did not understand any part of Weinress's work 23 Q That was your decision, wasn't it?
24 product that you have? 24 A Yes.
25 A The meeting on the 5th was to discuss 25 Q Did you tell Milsner during that 10-day

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1 period that you didn't have enough information? 1 business-related issues?
2 A No. 2 A Yes.
3 Q Did you tell Dawson? 3 Q Have you made any assertions to Mark
4 A No. 4 Gunderson that he comitted legal malpractice in that
5 Q Did you tell Henderson? 5 prior cage?
6 A No, because there's no way you could 6 MR. RUSSO: The state court case?
7 produce the information that I needed in 10 days. 7 MR. HILL: Yes.
8 Q What information did you need? 8 THE WITNESS: Ask that question again.
9 A The conditions of the sale. The contract. 9 BY MR. HILL:
10 The note. And none of that was done until almost the end 10 Q Have you or anyone on your behalf made an
11 of December. 11 assertion that Mr. Gunderson committed malpractice in the
12 Q Did you tell anybody that? 12 state court case?
13 A Why, when I know that you can't prepare 13 A Yes. :
14 legal decuments in 10 days. 14 Q And I know you're not a lawyer. Okay?
15 Q Did you ever tell anybody you weren't going 15 What do you understand that Milaner did or
16 to do the deal? 16 did not do?
17 A I think I said that in that meeting. 17 A Milsner?
18 Q You do? 18 MR. RUSSO: Gunderson.
1s A I believe so. 19 MR. HILL: Thank you. It's late for both
20 Q You'll stand by whatever's in the 20 of us, sir.
21 transcript? 21 BY MR. HILL:
22 A Yes. 22 Q ~~ What do you think Gunderson did --
23 Q I asked you last time whether or not the 23 MR. RUSSO: The case is on appeal for that
24 ESOP was damage, you were damaged, right, by Milsner's 24 reason.
25 sale? 25 MR. HILL: Well, I want to talk with Mr.
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118 120
1 A Yes. 1 Carstarphen about what he understands.
2 Q And you own a third of the company? 2 BY MR. HILL:
3 A Yes. 3 Q Can you answer my question?
4 Q Did the ESOP suffer twice as much damage as 4 A Yes. The fact that he let it go past the
5 you as a result of that transaction, do you know? 5 five-year rule. And he got the case dismissed.
6 A I don't know. 6 Q And do you believe that Mr. King and Mr.
7 Q Did the ESOP overpay? 7 Russo had any hand in that?
8 A I don't know, 8 A Do I think that they -- Mr. King and Mr.
9 Q Has Milasner ever struck you? 9 Russo were not involved during that time period.
10 A What? 40 Q Did they have any culpability in that?
11 Q Did Milener ever hit you? 11 A No. :
12 A No. 12 MR. HILL: Just a second, sir. I'm sorry.
13 Q Did he ever threaten to hit you? 13 (Exhibit 85 was marked for
14 A No. 14 identification.)
15 Q Did he ever threaten you with bodily harm? 15° BY MR. HILL:
16 A No. 16 Q Exhibit 85, Mr. Carstarphen, is what
17 Q Had he ever gone around town telling people 17 purports to be your declaration. Have you seen this
18 he'd survive without you? 18 document before?
19 A I have no idea. 19 A Most likely.
20 Q So, the galaxy of bad things that Milsner 20 Q Well, tum to -- tur to the last page --
21 did is pertaining to the ESOP sale, what you've called 21 or page 5 rather. Is that your signature?
22 the self-dealing, the consulting fee, the lease rental 22 A Yes.
23 and not doing the work in-house; is that right? 23 Q Did you understand when you signed this
24 A That's about it. 24 document that you were swearing that everything in it was
25 Q And would you agree with me, sir, those are 25 true?

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1 A Yes. 1 A $2500 check.
2 Q Is everything that is in Exhibit 85 true? 2 Q If any check over $2500 is written. Do you
3 A I believe so. 3 recall that?
4 Q Was it true when you signed it? 4 A Yes.
5 A I believe so. 5 Q That's part of the bylaws?
6 Q Do you think it's still true today? 6 A I believe that's part of board of
7 A I haven't read it right now so I don't 7 directors! minutes, but not of the bylaws.
8 know, but I believe go. 8 Q But your declaration says bylaws, doesn't
9 Q Page 1, line 27, 28. When American 9 it?
10 MedFlight, Inc. was formed, I was not and never intended 10 A Yes.
11 to be a minority shareholder. 11 Q Is that correct?
12 You were always a one-third shareholder, 12 A Yes.
13. weren't you? 13 Q That's the same thing, the directors'
14 A We were all equal shareholders. 14 yesolutions and the bylaws are the same thing?
15 Q Right. And you were a one-third 15 A No.
16 shareholder? 16 Q Okay. Is your declaration correct?
17 A Yes. 17 A Yes, it is. This declaration doesn't say
18 Q So you were always -- you've always been a 18 anything about a $2500 signature.
19 one-third shareholder and that's never changed? 19 Q Let me ask the question this way then.
20 A Yes. 20 You say on line 23, the bylaws of American
21 Q Page 2, line 23. Mandatory meetings of the 21 MedFlight were not followed. That's what you swore under
22 shareholders were not held. 22 oath? Right?
23 What period of time are you referring to, 23 A Yes.
24 Mr. Carstarphen? 24 Q What are you referring to, six?
25 A I believe this is after 2005. 25 A The transactions between American MedFlight
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122 124
1 Q Okay. Then you say, the bylaws of American 1 and Reno Flying Service.
2 MedFlight were not followed. That's the second meeting 2 Q Okay. And what about the transactions?
3 Of the board of -- well, you say the bylaws of American’ 3 A They were not followed by the bylaws.
4 MedFlight were not followed. 4 Q The bylaws were not complied with?
Ss What bylaws were not followed? 5 A Correct.
6 A The transactions between American MedFlight 6 Q What part of the bylaws?
7 and Reno Flying Service. 7 A They required that any check to Reno Flying
8 MR. HILL: I'm sorry, sir. Can you read 8 Service were to be signed by me.
9 his answer back, Jerry. 9 Q And you stand by that testimony?
10 (The following answer was read by the reporter.) 10 A Yes.
11 "ANSWER: The transactions between 11 MR. RUSSO: We'll stipulate that his
12 American MedFlight and Reno Flying 12 angwers are to the bylaws and board resolutions.
13 Service." 13 MR. HILL: Well, maybe he doesn't know the
14 =BY MR. HILL: 14 difference, but somebody in your office ought to know the
45 Q That's not the bylaws, though, is it? 15 difference, Mr. Russo, because your declaration isn't
16 A Yes, it is. 16 correct, is it, sir? Do you still believe it's correct?
17 Q It is? 17 THE WITNESS: I believe it’s correct.
18 A Yes. 18 BY MR. HILL:
19 Q Okay. Do you distinguish between 19 Q Down on line 24 you say, and dividends were
20 directors' resolutions and the bylaws, or are they the 20 not paid to m.
21 same thing as far as you're concerned? 21 Do you have any reason to believe that
22 A Directors' resolutions? I don't understand 22 Dawson ever got a dividend when he was a shareholder that
23 your question. 23° you didn't get?
24 Q You believe that this business about the 24 A No.
25 $2500 check -- 25 Q Do you have any reason to believe that

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1 Milsner got a dividend that you didn't get? 1 showing him AMI-0041 to 0045, and AMI-0047 to 48, which
2 A I don't know. 2 are the minutes of the second meeting of the board of
3 Q So the fact -- okay. 3 directors and the minutes of the third meeting of the
4 AMF now controlled by Milsner disregarded 4 board of directors.
5 the 1995 board resolutions that a disinterested officer 5 BY MR. HILL:
6 must approve all transactions with RFS and that I mst 6 Q And that's what you're referring to, isn't
7 cosign any check to RFS. 7 it, Mr. Carstarphen?
8 Now that's true? 8 A I believe that's it.
9 A I believe so. 9 Q So it's not in the bylaws, is it?
10 Q Except that was never abided by, was it? 10 A Apparently not.
11 A No. 11 Q So you were mistaken?
12 Q So it didn't just start in 19 -- it just 12 A Yeah.
13 didn't start when Milgner took over and got control, it 13 Q Right?
14 was going on before that, wasn't it? 14 A Yes.
15 A Yes. 15 Q Okay. See how easy that was?
16 Q Now in here, in that sentence I just read 16 Don't put it away.
17 you talk about the board resolutions. Are you with me? au] You go on on line 26 to 27 and say, AMF
18 A Yes. 18 pays RFS approximately $1 million each year for plane
19 Q Is that the same thing as on line 23 where 19 rentals and maintenance.
20 you refer to the bylaws, or is that different? 20 And we've talked here today that none of
21 A I believe that's a board resolution, not a 21 those plane rentals were joyrides. Those were all planes
22 bylaw. 22 that AMF actually got from Reno Flying Service; right?
23 Q So your declaration is not correct? 23 A Yes.
24 It is correct. 24 Q And you can't tell me that the fare charged
25 Q Do we need to get the bylaws out, Mr. 25 by Reno Flying Service to AMF was unfair, can you?
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126 128
1 Carstarphen, and maybe look at them? 1 A No.
2 A I don't think we need to get the bylaws 2 Q And the maintenance was already talked
3 out. This refers to board resolutions, not bylaws. 3 about. We don't need to worry about that for right now.
4 Q And line 23 talks about the bylaws, doesn't 4 On the next page, page 3, line 7 in your
5 it? 5 declaration you say, however, the maximm --
6 A Yes. 6 A Wait. I'm lost.
7 Q I want to know what part of the bylaws 7 Q Page 3, line nunber 7.
8 you're talking about? 8 A Okay.
3 A I think it's 7.01. 9 Q Are you with me?
10 Q Okay. Here you go, Mr. Carstarphen, here 10 A Yes.
11 is 7.01 of Exhibit 15, it deals with indemification and 11 Q Let me read it for you. It says, however,
12 insurance, doesn't it? 12) the meccimam legal contribution that AMF could make
13 A That's not the right one. 13 annually to the AMF ESOP was less than the amount the AMF
14 Q Okay. Do you want to look through this or 14 ESOP would be obligated to pay annually to service the
15 do you want to finally agree with me that your 15 debt if my 800 shares of stock were purchased with the
16 declaration isn't correct? 16 1600 shares controlled by Milsner.
17 A No. 17 Is that a true statement?
18 Q Okay. I want you to tell me what part of 18 A I believe so.
19 those bylaws you're referring to in that declaration, 19 Q When did you figure that out? When did you
20 sir. 20 have this epiphany?
21 Now this document we're talking about, this 21 A What was the question?
22 declaration, this was prepared by your lawyers, wasn't 22 Q When did you figure that out?
23 it? You didn't prepare it, did you? 23 A I don't know.
24 A No. 24 Q How did you figure it out?
25 25 A I figured it out when American MedFlight

MR. RUSSO: Let the record reflect that I'm

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1 was unable to make the payments to -- the ESOP payments 1 right?
2 to Milsner and it went in default. 2 Yes.
3 Q So it was when the default notice was 3 Q Is that true?
4 issued by Milsner? 4 A Yes. On his balance sheet I'm sure it
5 A I believe so. Jack may have told me some 5 shows $3.6 million. ,
6 time sooner that they were having trouble making the 6 Q And how much of that has he gotten, Mr.
7 payments. 7 Carstarphen?
8 Q But you figured this out when the default 8 A I have no idea.
9 occurred? 9 Q So how could you say it has netted him
10 A I don't know when I figured it out. 10 millions of dollars if you have no idea?
11 Q Well, can you remember the event, I mean, 11 A Because I saw the contract that said it was
12 how this epiphany came to you? 12 $3.6 million.
13 A No. 13 Q And it's a contract that hasn't been
14 Q What does this mean? So what? 14 honored; right?
15 A What do you mean "so what"? 15 A It's been partially honored.
16 Q What does this sentence mean, Mr. 16 Q But you can't tell us to what extent?
17. Carstarphen? 17 A No.
18 A It says that I don't think that American 18 Q Let's go to page 4, line 1.
19 MedFlight could make the payments to me. 19 At the AMF annual stockholders' meeting on
20 Q But you didn't know that at the time of the 20 February 10, 2009, Dawson acknowledged that he was
21 meeting, did you? 21 present on behalf of and represented the AMF ESOP
22 A The December 5th meeting? 22 shareholders.
23 Q Yeah. 23 Who are the trustees of the AMF ESOP, Mr.
24 A No. 24 Carstarphen, do you know?
25 Q Okay. Now, on line 14 you say, the sale of 25 A At what time?
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130 132
1 his stock to the ESOP netted Milener $1 million. Do you 1 Q As of February 10, 2009.
2 see that? 2 A I'm not real sure. I think Jack Dawson,
3 A I didn't say one million. 3 and I'm not sure who else. I think Rich Milsner might
4 Q Excuse me, you're right. 4 have been.
5 The sale of his stock to the ESOP netted 5 Q AS of November 2007 when this lawsuit was
6 Milsner millions of dollars. I stand corrected, sir. 6 filed do you know who the trustees of the AMF ESOP were?
7 On what basis do you believe that the sale 7 A I'm not sure.
8 of the stock to Milsner netted him millions of dollars? 8 Q Do you have any data at your disposal that
9 A The contract says that under the condition 9 you can point me to that says that Milsner on the date
10 of sale he was to get 3.6 million, I believe. 10 you filed this lawsuit was a trustee of the AMF ESOP?
11 Q Were you done? 1 A No.
12 A Yes. 12 Q But you told the court that you believe
13 Q Do you understand in the English language 13 that he's controlling the AMF ESOP, haven't you?
14 the difference between present tense, past tense and 14 A I don't know.
15 future tense? 15 Q You don't know if you made that assertion
16 A Yes. 16 to the court?
17 Q The sale of his stock to the ESOP netted. 17 A No.
18 Is that past tense, present tense or future tense? 18 Q Do you believe it to be true, that Milsner
19 A I don't think it has any of those. 19 controlled the AMF ESOP?
20 Q Netted is past tense, isn't it? Today I 20 A I believe Milsner controls the whole
21) net; tororrow I will net; and I have netted many times in 21 company.
22 the past. Does that sound right to you? 22 Q So that includes the AMF ESOP?
23 A Yes. 23 A Yes.
24 Q So you're telling the court here that 24 Q And so you believe that if Dawson's signing
25 Milsner has gotten millions of dollars for his stock; 25 and saying he's the only one, that Dawson's being

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1 untruthful when he says that? 1 Q Because if he could get the money to Reno
2 A That he is the only one of what? 2 Flying Service, it goes to him; right?
3 Q The only trustee for the ESOP? 3 A Yes.
4 A I believe now he is the only trustee of the 4 Q And that was of that date of March 31,
5 ESOP. 5 20097 ,
6 Q Do you believe that Milsner still controls 6 LA Yes.
7 the AMF ESOP? 7 Q Then the next page. At the same 2009 board
a A I don't know. 8 meeting it was proposed by Milener that the requirement
9 Q You've told the court that you believe 9 that the president and a disinterested party approve
10 «that, haven't you? 10 agreements with third-party entities, again including RFS
11 A I don't know that I have. 11 be removed. This would allow Milsner, who's currently
12 Q Let's go down to paragraph 10 on line 12, 12 the president of AMF to sign any contract he wanted with
13 let me read it for you. 13 RFS, and you objected to that because Milsner, as of that
14 At a special meeting of the board of 14 time, he is part of RFS; right?
15 directors that AMF held March 31, 2009, I complained that 15 Yes.
16 the checks and balances established in 1995 have not been 16 Q Doing okay, Mr. Carstarphen?
17 followed. 17 A Yes.
18 Did you complain at that meeting, Mr. 18 (Exhibit 86 was marked for
19 Carstarphen? 19 identification.)
20 A I believe so. 20 BY MR. HILL:
21 Q Milsner then brought a motion to ratify all 21 Q I'm going to hand you Exhibit 86. I'm
22 of AMF's prior business dealings with outside contractors 22 going to ask you to turn to page -- up at the top it says
23 or suppliers, including RFS. Is that a true statement? 23 page 29 of 31.
24 A I believe that is. 24 Mr. Carstarphen, let's start on page 28 of
25 Q Was that motion seconded? 25 31, please.
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134 136
1 A I have no idea. 1 Interrogatory number 2. State each and
2 Q This included all of the tortuous conduct 2 every error or omission, provision, term, or other factor
3 alleged in the state court action as well as a portion of 3 about the structure, organization, operation or any other
4 the conduct alleged in the current lawsuit. 4 aspect of the AMF ESOP that you contend has not been
5 . Ig that true? 5 appropriate in any way or to any extent. Okay? And
6 A I believe so. 6 let's go to page 29 of 31.
7 Q Milsner and James Brown, who worked for RFS 7 This is the answer that your lawyers have
8 and is controlled by Milsner voted for ratification and I 8 prepared and given to us. Okay?
9 voted against it. 3 Carstarphen does not contend that was or is
10 Is that true? 10 an inappropriate error, omission, provision or term --
11 I believe so. 11 Can you help me out, Scott?
12 Q Then on to the next page. 12 Carstarphen does not contend that there are
13 At the same 2009 board meeting it was 13 or there was? It's missing a verb. There was?
14 proposed by Milsner that the requirement -- let me back 14 MR. RUSSO: ‘That there was.
15 up. 15 BY MR. HILL:
16 As of that meeting on March 31, 2009, was 16 Q Carstarphen contention in this case is as
17 Milsner trying to benefit Reno Flying Service? 17 follows. Prior to the December 5, 2005 board of
18 A I was in the wrong place. Go ahead read 18 directors! and stockholders' meeting, Carstarphen was
19 your -- 19 provided with an appraisal of AMF prepared by Menke and
20 Q This is the meeting that we just talked 20 Associates. Is that true?
21 about, the board meeting. 21 A I think that's true.
22 A Yeah. 22 Q You swore this was true, didn't you?
23 Q Milsner was trying to benefit Reno Flying 23 A Yes,
24 Service and therefore himself; right? 24 Q Now, this document on here, this
25 A Yes. 25 verification -- have you signed a bunch of these or just

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1 one? 1 to do the transaction?
2 A A bunch of them. 2 A ‘I didn't know about that until just before
3 Q Were the dates blank? 3 the meeting.
4 A I don't know. 4 Q No, Mr. Monjay told you a year before that
5 Q I mean, you signed a stack of them for your 5 you'd lose your lawsuit if you sold the stock, didn't he?
6 lawyer? 6 A Yes, he did.
7 MR. RUSSO: I can tell you that's never 7 Q So, even though Mr. Monjay had told you
8 happened. 8 that, you were very much considering selling your stock
9 MR. HILL: Well, that may be your 9 to the ESOP?
10 testimony. . 10 A Yes, I wag.
11 THE WITNESS: A stack of them? 11 Q What were the terms?
12 BY MR. HILL: 12 A We never got to the terms.
13 Q Yeah. 13 Q Well, you're telling the judge here -- or
14 A No. 14 you're telling us in this answer on the terms discussed
15 Q So, every time that you need to sign a 15 at the meeting. I want to know what those terms were
16 verification, what do you do? 16 that you were very much considering, Mr. Carstarghen?
17 A They usually fax them to me for signature 17 A The terms were my one-third interest.
18 and I fax them back. And then I mail them the original. 18 Q What was the price?
19 Q All right. So, you're swearing that the 19 A The price was one-third of the 5.5.
20 statements on that page 29 of 31 are true, aren't you? 20 Q And were you going to get cash?
21 A Yes. 21 A No.
22 Q So you did get an appraisal by AMF prepared 22 Q What were the terms?
23 by Menke and Associates? 23 A I didn't know what were the terms.
24 A Yes, it was a year and a half earlier. 24 Q So how did you know you were going to --
25 Q Did you complain about that at the meeting, 25 how come you were considering -- very much considering
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138 140
1 Mr. Carstarphen? 1 selling them?
2 A Why would I complaint about it? 2 A I was considering it. I didn't say I was.
3 Q Well, it seems to be a big point to you 3 Q Okay. Prior to entering the meeting,
4 now. You're a sharp guy, you picked up on that, didn't 4 Milsner told Carstarphen that he could not participate in
5 you? You knew that. 5 the sale to the ESOP miess he dismissed his state court
6 A It's not a big point to me now. 6 lawsuit. Now we talked about that?
7 Q So it didn't matter? 7 A Yes.
8 A I mean, it's an outdated report. 8 Q And there were no witnesses to that? -
9 Q Did you gay that to anybody? 9 A No.
10 A Why? Everybody knew what the date of the 10 Q In the lawsuit Carstarphen contended, among
11. thing was. 11 other things, that Milener had wrongfully diverted
12 Q Well, here this afterncon you didn't even 12 millions of dollars from AMF for the benefit of Reno
13 know you got it. 13 Flying Service.
14 A Okay. 14 Now we've talked about the consulting fee.
15 Q So you got the appraisal stating that the 15 We've talked about the repair and the maintenance. We've
16 fair market value of AMF was approximately $5.5 million 16 talked about the rental and we've talked about the lease.
17° at that time. Do you understand that that's what that 417 é Does that cover the waterfront? Is that
18 xeport said? 18 everything?
19 A Yes. 19 , A The line of credit.
20 Q The regponding party, that's you, very much 20 Q And the line of credit. He stole money
21 was considering selling his stock to the ESOP upon the 21 from you?
22 terms discussed at the meeting. 22 A Yeah.
23 Is that true? 23 Q So he was not only dishonest and had
24 A Yes, I was interested in selling my stock. 24 withheld information from you, he had stolen from you?
25 Q So you were prepared to tank your lawsuits 25 A Yes.

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141 143
1 Q And you still trusted him when you went 1 Q Well, is “very much" too strong a word
2 into this meeting? 2 here? That's what it says, doesn't it? It says, very
3 A There was no trust. We were having a 3 much considering. Line 8. Do you want to read it?
4 meeting. 4 A I've read it.
5 Q Did you trust Milsner at that meeting, yes 5 Q So is that true, very much considering?
6 or no? 6 A Very much considering; I dan't know the
7 A There was nothing to trust. We were having 7 difference.
8 a meeting to discuss what we were going to do with the 8 Q These are your answers, Mr. Carstarphen.
9 ESOP. It had nothing to do with trust. 9 A What's the difference?
10 Q So it didn't pertain one way or the other 10 Q Well, you tell me. They're your words,
11 whether you could believe what he said? 11 Mr. Carstarphen, what is the difference?
12 A When I see a final document I could believe 12 A I don't see any difference.
13 «that. 13 Q Good enough.
14 Q Did you get back to them and tell them, 14 Now, did you think that it was unfair for
15. please prepare a final document for me to look at? 15 Milsner to put that condition on?
16 A No. He said he would do that. He would 16 A I don't know.
17 prepare all the documents. 17 Q Okay. You don't know.
18 Q Milsner told you that he would prepare all 18 Then you go on on line 13. The condition
19 the documents? 19 to participation in the sale, dismissal of the lawsuit
20 A Yes. I believe he was with Daoro preparing 20 was the only reason at that time that Carstarphen did not
21 +the final documents. 21 agree to sell his stock to the ESOP at that time.
22 Q Didn't he ask you to get back to him within 22 Have there been subsequent reasons that you
23° 10 days to let him know whether or not you were going to 23 found that you shouldn't do the deal?
24 participate? 24 A No.
25 A Yes. 25 Q Continuing on on line 15, sir, please
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142 144
1 Q And you've told us already that you did not 1 follow along. As of the December 5, 2005 meeting,
2 get back to them? 2 Carstarphen was aware that the AMF ESOP does not have
3 A I did not get back to them. 3 cash to pay Milsner for his stock and that a note from
4 Q You didn't tell them, yes, I'm going to 4 AMF would be required.
5 participate, no I'm not, you just wouldn't sign them; 5 So you understood that there were going to
6 right? 6 be long-term payments coming out to Milsner, didn't you?
7 A No. The condition was that if I wanted to 7 A Yes.
8 participate, I had to drop the state lawsuit, and I 8 Q And does that to you in your mind signify
9 didn't think that needed a response. 9 that there's debt owed to Milsner?
10 ~  @ So you just went silent? 10 A ‘I didn't understand that part of the
11 A I gaid I didn't think -- yes, it didn't 11 transaction at all --
12 need a response. , 12 Q Did you make --
13 Q So you give them no response at all? 13 A -- at that time.
14 A No response. 14 Q Well, when did you come to understand that
15 Q And you were silent? 15 part of this transaction, sir?
16 A I gave them no response. 16 A When I got the December 31, 2005 appraisal.
17 Q Did you tell Jack Dawson that Milsner had 17 And at that time I still didn't understand it.
18 made this condition? 18 Q Well, my question to you was, do you
19 A I don't know if I did or I didn'c. 19 understand it today?
20 Q Did you think it was unfair? 20 A Yes, I do.
23 A I don't think -- you use the word "unfair, " 21 Q When did you come to understand it and how?
22 that was the condition he put on there. 22 A Jack and I discussed it a number of times,
23 Q Well, you were very much considering 23° and we could not figure out why there was -- why this was
24 selling your stock to the ESOP, weren't you? 24 occurring.
25 A I was considering it. 25 It wasn't until some time later, I don't
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1 Jmow, six months, a year, that Jack figured it out, but 1 17, sir.
2 he couldn't explain it to me. And then all of a sudden 2 Carstarphen had no knowledge that the AMF
3 at ome point the light came on and then I fiqured it out. 3 ESOP executing a note would cause a liability by AMF.
4 Q What did you understand when the light came 4 You voted to establish the ESOP in 2003,
5 on, sir? 5 didn't you?
6 A That my stock was devalued due to this sale 6 A Yes.
7 by 1.3 million. 7 Q Did you take any steps between 2003,
8 Q But you knew that when you got the Decerber 8 December 2003 and December 2005 to educate yourself about
9 31 appraisal. 9 ESOPs?
10 A I knew that, but I didn't know why. You're 10 A Yes.
11 asking me the difference between Imowing and why. 11 Q What did you do?
12 Q Why was your stock devalued? 12 A Extensively. I mean --
13 A Because American MedFlight took on the 13 Q Okay. What did you do?
14 debt. And the appraisers feel that because of the 14 A The education that I learned witha
15 additional debt the company isn't worth as much money. 15 government-run program is horrendous. And I'm not sure I
16 And I’m still not sure why that is, but I 16 would have done the ESOP if I had known how horrendous
17 understand that that's what they're doing. 17 the reporting and everything is.
18 Q Okay. You have questions about that? 18 Q What steps did you take to educate yourself
19 A I have questions about that, yes. 19 about ESOPs between Decenber of 2003 and December of
20 Q What are the questions you have, sir? 20 2005?
21 A I mean, if I own a house that's worth 21 A That's an ongoing, day-to-day education.
22 $200,000, and then I take a note on it for a hundred 22 Learn by hard knocks.
23 thousand, I don't think the house is worth a hundred 23 Q Can you tell me one thing that you did to
24 thousand. I think it's still worth two hundred thousand. 24 educate yourself about ESOPs during that time frame, sir?
25 Q Makes sense, doesn't it? 25 A I read as moch as I could. I talked with
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146 148
1 A Makes sense. But the sense that they have 1 Menke, I talked with their attorneys, I talked with the
2 in this appraisal in their logic doesn't make sense to 2 people doing the administration on how the whole thing
3 me. I understand what they're doing, but it doesn't make 3 was structured.
4 any sense to me. 4 And we did a lot of research in how we were
5 Q It's goes against your comron sense? S going to structure the ESOP when we started it.
6 A Yes. 6 Q You had at one point established an ESOP
7 MR. RUSSO: The seller doesn't pay off the 7 for both of your companies, didn't you?
8 debt at the time of the transaction it makes sense. 8 A No.
9 MR. HILL: But if it's a contingent debt, 9 Q Did you establish an ESOP for one of your
10 if I quarantee your obligation to buy a car and you sell 10 companies?
11 the car, you don't get to keep the money; you pay off the 11 A Yes.
12 debt to the bank on the car before you get the net. 12 Q Which company, sir?
13 That's where your falling dow. 13 A American Home Companion.
14 BY MR. HILL: 14 Q And was that during that period of time,
15 Q Mr. Carstarphen, did you ever have a 15 was that part of the educational process?
16 discussion with Dawson where you told him that you 16 A Yes.
17 xecognize -- well, do you understand that the ESOP 17 Q Now the American Home Companion ESOP has
18 appraisal is a specialized appraisal? 18 never gone to fruition, has it, you never sold any stock
19 A Yes. 19 to the ESOP, have you?
20 Q And have you ever had a discussion with 20 A No.
21 Dawson where you told him that you understood that the -- 21 Q Why not?
22 that it was a specialized appraisal and that the value of 22 A Why?
23 the company as a whole really had not been damaged? 23 Q You paid money to get it established.
24 A I don't know. 24 A That's fine. That doesn't require that I
25 Q Carstarphen had no knowledge -- I'm on line 25 sell the stock.

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1 Q Okay. So have you made a decision that 1 Q Didn't have any knowledge?
2 you're not going to sell it to the ESOP? 2 No. I never saw any guarantees.
3 A No. 3 Q Did you read all the materials you got from
4 Q So it's out there, maybe yes, maybe no? 4 Menke?
5 A There is an existing ESOP. 5 Menke didn't give me any materials.
6 Q And as of this time there's been no stock 6 Q I believe the correct flow of the material
7 sold to the ESOP? 7 was they came from Menke to Milsner, they went to
8 A That's correct. 8 cCashill, and from Cashill they went to Gunderson, from
9 Q Has the ESOP been provided any moneys in 9 Gunderson they went to you.
10 anticipation of such an event? 10 Now, did Gunderson give you brochures and
11 A Yes. 11 data from Menke?
12 Q Do you plan to sell the stock to the ESOP? 12 A Brochures. Like what?
13 A I think so, but I'm not sure. 13 Q Any information about the ESOP.
14 Q Okay. Let me continue here. It was only 14 A I had brochures from Menke back in '93.
15 when -- oh, let me back up. Line 18. 15 Q '93?
16 Carstarphen did not know that Milsner's 16 A Yes.
17. gale to the AMF ESOP would have any adverse effect on the 17 Q Did you get any updates?
18 fair market value of AMF. 18 A Well, I'm sure he sent me notices of
19 You believe today that the -- you 19 seminars and different things.
20 understand the difference between -- you heard me talking 20 Q The materials that were provided by
21 with Mr. Proctor about the difference between enterprise 21 Menke -- we covered that. I'm not going to ask about it.
22 value and equity value? 22 Carstarphen contends that, had he been
23 A Yes. 23 aware on December 5, 2005, that the AMF ESOP's obligation
24 Q Do you understand -- do you have a grasp an 24 would correspondingly devalue AMF, he would have had to
25 those concepts, do you think? 25 balance the reasonable value of his lawsuit versus the
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150 152
1 A Slightly. 1 loss in value of his stock, and may very well have
2 Q Well, you've given me here the example of 2 decided to sell his stock to the ESOP at that time.
3 the house? 3 Now, last time we talked about the value of
4 A Yes. 4 your lawsuit, you recall what that was, don't you?
5 Q In the example you've given, two hundred 5 A No. .
6 thousand dollars, that would be the enterprise value of 6 Q Two million dollars, don't you remenber?
7 that house, that's the value on the hoof? 7 A I don't remember.
8 A Uh-huh. 8 Q Did Milsner give you documents fron Menke?
9 Q And your equity in that house in you 9 A What kind of documents?
10 example would be one hundred thousand dollars? 10 Q Any document.
11 A Yes. 11 A I don't know what kind of documents you're
12 Q Applying those same analytical terms to 12 referring to.
13. American MedFlight, it is your opinion that the 13 Q Did Mr. Milsner at a meeting at Harrah's in
14 enterprise value of American MedFlight has been damaged; 14 Reno ever give you any documents pertaining to the AMF
15 is that right? 15 ESOP from Menke?
16 A I don't know. 16 A Probably.
7 Q Line 20. It was only when Carstarphen was 17 Q Okay. Do you recall what those were?
18 first provided with the year-end appraisal of AMF, 18 A No.
19 December 31, 2005, that he first learned that the AMF 19 Q Do you still have them?
20 ESOP liability to Milsner would devalue AMF and therefore 20 A More than likely, but I don't know what
21 Carstarphen's stock. 21 they are, so I can't tell you.
22 You knew that there was a guarantee 22 Q Did you read them?
23 proposed by Menke that AMF was going to guarantee the 23 A I'm sure I did.
24 obligation to the ESOP, didn't you? 24 Q What was in them?
25 A No. 25 A I don't know. I don't remenber.
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153 155
1 MR. HILL: Let's take a break. 1 complaint, ien't it?
2 (A recess was taken at 5:15 p.m.) 2 A Yes.
3 -o00- 3 Q So, when you say, we did some, explain,
4 4 please.
5 5 A Reno Flying Service did some and sane we
6 6 subbed out.
7 7 Q Any other answers you want to change that
8 8 ‘you've given me today?
9 9 A Not right now.
10 10 MR. HILL: Okay. That's all I have for
aay 11 this witness.
12 12 (The deposition was adjourned at 5:28 p.m.)
13 13 -o00-
14 14
15 15
16 16
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SILVER STATE COURT REPORTERS (775) 329-6323 SILVER STATE COURT REFORTERS (775) 329-6323
154 156
1 RENO, NEVADA, THURSDAY, JUNE 3, 2010, 5:25 P.M. 1 I, JOHN CARSTARPHEN, deponent herein, do hereby
2 -o00- 2 certify and declare under penalty of perjury, the within
3 MR. HITG: Let's go back on the record. 3 and foregoing transcription to be my deposition in said
4 EXAMINATION 4 action, subject to any corrections I have heretofore
5 (Resumed) 5 submitted, and that I have read, corrected, and do hereby
6 BY MR. HILL: 6 affix my signature to said deposition.
7 Q Mr. Carstarphen, the maintenance and repair 7
8 work that you contend should have been brought in-house, 8
9 was that everything? 9 John Carstarpien
10 I don't understand the question. 10
a1 Q Was that everything to be done on the 11
12 planes? 12
13 A No. 13
14 Q What was excluded? 14
15 A Like avionics work. 15
16 Q What else? Anything else? How about 16
17 painting? 17 STATE OF NEVADA j 88:
18 A Painting. 18 COUNTS OF WASHOE )
19 Q Upholstery? 19 Subscribed and sworm to before me this day of
20 A Probably upholstery. 20 , 2010.
21 Q Engine work? 21
22 A Some engine work we did. Some we had 22
23 outside sources do it. 23 Otay PLS ————-—
24 Q You're using past tense here. AMF had 24
25 never done the work in-house, has it? That's your whole 25
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CERTIFICATE OF REPORTER

STATE OF NEVADA )

) sg:
COUNTY OF WASHOE )

 

I, JERRY J. SILVEN, a duly commissioned Notary
Public, Washoe County, State of Nevada, do hereby
certify:

That I reported the deposition of the witness,
JOHN CARSTARPHEN, commencing on Thursday, June 3, 2010,
at the hour of 1:33 p.m.;

__, That prior to being examined, the witness was by
me first duly sworn to testify to the truth, the whole
truth, and nothing but the truth; that I thereafter
transcribed my said shorthand notes into typewriting and
11 that the written transcript of said deposition is a

complete, true and accurate record of testimony provided
12 by the witness at said tim.

13 I further certify (1) that I am not a relative or
employee of an attorney or counsel of any of the parties,

14 nor a relative or employee of any attomey or counsel
involved in said action, nor a person financially

15 interested in the action, and (2) that pursuant to NRCP
30 (e), transcript review by the witness was requested.

16

IN WITNESS WHEREOF, I have hereunto set my hand
17 in my office in the County of Washoe, State of Nevada,
3 this 15th day of June, 2010.
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21 ' Jerry U. Silver, (RSS
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